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7    2BCOM, LLC
8
                               UNITED STATES DISTRICT COURT
9
                          CENTRAL DISTRICT OF CALIFORNIA
10
                                                       Case No. 2:20-cv-03537
11   2BCOM, LLC,
12                                                         COMPLAINT FOR PATENT
                                 Plaintiff,                INFRINGEMENT
13

14         vs.                                         JURY TRIAL DEMANDED
15
     BAYERISCHE MOTOREN WERKE AG,
16
     BMW OF NORTH AMERICA, LLC,
17   BMW MANUFACTURING CO., LLC,

18
                                 Defendants.
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                                               COMPLAINT
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1                      COMPLAINT FOR PATENT INFRINGEMENT
2          Plaintiff 2BCom, LLC (“Plaintiff” or “2BCom”) files this Complaint against
3    Defendants Bayerische Motoren Werke AG, BMW of North America, LLC and
4    BMW Manufacturing Co., LLC (collectively, “BMW” or “Defendants”) for patent
5    infringement and by and through its undersigned attorneys, hereby prays to this
6    honorable Court for relief and remedy based on the following:
7                                   NATURE OF THE CASE
8          1.     This is an action for patent infringement arising under the patent laws of
9    the United States, 2BCom holds the rights in U.S. Patent Nos. 6,885,643 (“the ‘643
10   patent”), 6,928,166 (“the ‘166 patent”), 7,127,210 (“the ‘210 patent”), and 7,184,707
11   (“the ‘707 patent”). The United States patent laws grant the holder of a patent the right
12   to exclude infringers from making, using, selling or importing the invention claimed
13   in a patent, and to recover damages for the infringer’s violations of these rights, and to
14   recover treble damages where the infringer willingly infringed the patent. Under 35
15   U.S.C. § 282(a), the ‘643 patent, the ‘166 patent, the ‘210 patent, and the ‘707 patent
16   (“patents-in-suit”) are entitled to a presumption of validity.           2BCom is suing
17   Defendants for infringing its patents and doing so willfully. 2BCom seeks to recover
18   damages from Defendants, including treble damages for willful infringement.
19                                        THE PARTIES
20         2.     2BCom, LLC is a company, organized and existing under the laws of
21   Delaware, having a place of business at 1603 Orrington Ave, Suite 600, Evanston,
22   Illinois 60201.
23         3.     Upon information and belief, Defendant Bayerische Motoren Werke AG
24   (“BMWAG”) is a corporation organized and existing under the laws of Germany, with
25   its principal place of business at Petuelring 130, D-80788, Munich, Germany. Upon
26   information and belief, BMWAG does business itself, or through its subsidiaries and
27   affiliates, in the State of California and the Central District of California.
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                                             COMPLAINT
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1          4.      Upon information and belief, BMW Manufacturing Co., LLC is a
2    Delaware limited liability company with a principal place of business at 1400 Hwy.
3    101S, Greer, South Carolina 29651.
4          5.      Upon information and belief, Defendant BMW of North America, LLC
5    (“BMWNA”) is a Delaware corporation with a place of business at 300 Chestnut
6    Ridge Road, Woodcliff Lake, NJ 07675. Upon information and belief, BMWNA is
7    the exclusive importer and distributor of BMW and MINI branded vehicles. BMWNA
8    acquires these vehicles from BMWAG, imports them into the United States, and
9    distributes them through BMW dealers throughout the United States. Upon
10   information and belief, BMW maintains a Vehicle Distribution Center in Oxnard,
11   California.
12         6.      Upon information and belief, BMWNA engages in sales of products that
13   infringe the patents-in-suit to numerous BMW and MINI dealerships in the Central
14   District of California.
15         7.      Upon information and belief, BMWNA engages in marketing activities
16   that promote the sale of BMW and MINI-branded products to customers and/or
17   potential customers located in California and in the judicial Central District of
18   California.
19         8.      Upon information and belief, the BMW and MINI dealers located within
20   the Central District of California have executed dealer agreements with BMWNA.
21   Upon information and belief, these dealer agreements set forth standards and
22   requirements enumerated by Defendants that dealers are required to comply with.
23   Upon information and belief, these standards and requirements are directed to at least
24   the dealership facility, space, appearance, layout, and equipment.
25         9.      Upon    information    and   belief,   through   its   exclusive   agents,
26   instrumentalities and representatives, BMWNA provides new car warranty service
27   within the district on the infringing products. Upon information and belief, BMWNA
28   warrants to the original and each subsequent owner of new BMW and MINI vehicles

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                                           COMPLAINT
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1    that any authorized BMW or MINI dealer will make any repairs or replacements
2    necessary to correct defects in material or workmanship arising during the warranty
3    period. Upon information and belief, all such warranty work is paid for by BMWNA.
4    Upon information and belief, there are numerous authorized dealers and service
5    departments at those locations in the Central District of California. Upon information
6    and belief, service technicians employed at these dealerships participate in BMWNA-
7    sponsored training programs, schools, and events.
8          10.    Upon information and belief, BMWNA provides Service and Warranty
9    Information Booklets (“Booklets”) to BMW and MINI customers, including those
10   customers that purchase BMW and MINI vehicles in the Central District of California.
11   The Booklets direct questions regarding warranty rights and responsibilities to
12   BMWNA’s Customer Relations and Services Department. Upon information and
13   belief, the Booklets direct customers, including those customers that purchase BMW
14   and MINI vehicles in the Central District of California, to provide direct, written
15   notification of any alleged unrepaired defects or malfunctions and service difficulties
16   to BMWNA’s Customer Relations and Services Department, including notifications
17   under applicable state laws.
18         11.    Upon information and belief, the BMW and MINI dealerships located
19   within this district are BMWNA’s exclusive agents, instrumentalities, and
20   representatives within this judicial district for the provision within this District of all
21   new warranty service for BMW and MINI vehicles sold both within the district and
22   outside the district. Upon information and belief, if a BMW or MINI customer located
23   within the district needs to have new car warranty repairs performed within the
24   district, Defendants require the BMW or MINI customer to have the work performed
25   at one of their authorized BMW dealers within the District.
26         12.    Upon information and belief, the technicians employed by BMWNA
27   including those that reside in the District, provide direct supervision and assistance
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                                            COMPLAINT
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1    within the District on a regular, ongoing, and continuous basis in connection with
2    warranty repairs being performed within the district.
3           13.      Upon information and belief, one or more Defendants regularly engage in
4    marketing activities that promote the sale of BMW and MINI-branded products to
5    customers and/or potential customers located in California and in the judicial Central
6    District of California. Upon information and belief, Defendants maintain interactive
7    commercial websites, accessible to residents of California and the Central District of
8    California, through which Defendants promote their products that infringe the patents-
9    in-suit. Upon information and belief, these interactive commercial websites direct
10   customers as to where to buy BMW and MINI-branded vehicles with accused
11   products, including the BMW and MINI dealerships within the Central District of
12   California. Defendants’ interactive commercial websites have submission forms that
13   allow customers to schedule test drives with dealers in this District and view inventory
14   at the dealers in this District. Defendants’ interactive websites also provide service
15   and care information, and materials about Defendants’ products, including the accused
16   products, such as “how to videos.” Upon information and belief, Defendants attempt
17   to sell their branded vehicles within the District, which include the infringing
18   products, by causing advertisements for their vehicles to appear on television and
19   radio programs broadcast into the District and in local newspapers distributed within
20   the District.
21          14.      Upon information and belief, BMW is the exclusive manufacturer,
22   importer and distributor of BMW X1, X2, X3, X4, X5, X6, X7, 2-series, 3-series, 4-
23   series, 5-series, 6-series, 7-series, 8-series, Z4, M-models, i3 and i8 vehicles
24   (collectively “BMW Vehicles”). Upon information and belief, BMW manufactures
25   and assembles, both in the United States and internationally, BMW Vehicles.
26          15.      Upon information and belief, Defendants manufacture, import, and/or
27   sell audio and multimedia integration systems which have been installed in all BMW
28   Vehicles, including the “ConnectedDrive” system (“Accused Products”).

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1                                           JURISDICTION
2          16.    This is an action for patent infringement arising under the patent laws of
3    the United States of America, more specifically under 35 U.S.C. § 100, et seq.,
4    including 35 U.S.C. §271. Subject matter jurisdiction is proper in this Court pursuant
5    to 28 U.S.C. §§ 1331 and 1338.
6          17.    The Court has personal jurisdiction over Defendants because Defendants,
7    among other things, conduct business in, and avail themselves of the laws of the State
8    of California. Upon information and belief, Defendants through their own acts and/or
9    through the acts of its affiliated companies (acting as its agents or alter egos) make,
10   use, offer to sell, sell (directly or through intermediaries), import, license and/or
11   supply, in this District and elsewhere in the United States, products, through regular
12   distribution channels, knowing such products would be used, offered for sale and/or
13   sold in this District. Plaintiff’s cause of action arises directly from Defendants’
14   business contacts and other activities in the State of California and in this District.
15                                            VENUE
16         18.    Venue properly lies within this judicial district and division, pursuant to
17   28 U.S.C. §§ 1391(b), (c), and (d), and 1400(b).
18         19.    Upon information and belief, each of the Defendants has a regular and
19   established place of business in California and in this judicial district, including, in
20   particular, upon information and belief, Defendants jointly operate a vehicle
21   distribution center located at 5650 Arcturus Ave, Oxnard, CA 93033, Defendants have
22   purposely transacted business involving the accused products in this judicial district,
23   including sales to one or more customers in California, and certain of the acts
24   complained of herein occurred in this judicial district.
25                   INFRINGEMENT OF U.S. PATENT NO. 6,885,643
26         20.    2BCom incorporates by reference the allegations set forth in the
27   preceding paragraphs.
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                                             COMPLAINT
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1          21.    On April 26, 2005, the ‘643 patent, entitled “Method And Device For
2    Facilitating Efficient Data Transfer Via A Wireless Communication Network,” was
3    duly and lawfully issued based upon an application filed by the inventors, Keiichi
4    Teramoto, Yoshiaki Takabatake, Junko Ami and Kensaku Fujimoto. A true and
5    correct copy of the ‘643 Patent is attached hereto as Exhibit 1.
6          22.    2BCom is the assignee and the owner of all right, title and interest in and
7    to the ‘643 patent and has the right to sue and recover damages for infringement
8    thereof.
9          23.    Upon information and belief, Defendants have been and continue to be
10   engaged in making, using, importing, selling and/or offering for sale infringing
11   products, including, but not limited to, the Accused Products in the United States
12   generally, and in the Central District of California specifically. The Accused Products
13   are available for retail purchase through the www.bmwusa.com website, as well as
14   BMW retailers in the United States.
15         24.    Upon information and belief, by acts including, but not limited to use,
16   making, importation, offers to sell, sales and marketing of products that fall within the
17   scope of at least claim 1 of the ‘643 patent, Defendants have directly infringed
18   literally and/or upon information and belief, equivalently, and are continuing to
19   infringe the ‘643 patent and are thus liable to 2BCom pursuant to 35 U.S.C. § 271.
20         25.    As a non-limiting example of Defendants’ infringement of the ‘643
21   patent, set forth in Exhibit 2, is a preliminary claim chart showing Defendants’
22   infringement of exemplary claim 1 of the ‘643 patent by the ConnectedDrive system
23   installed in the BMW vehicles.
24         26.    Defendants have indirectly infringed and continue to infringe at least
25   claim 1 of the ‘643 patent by inducement under 35 U.S.C. § 271(b). Defendants have
26   induced and continue to induce users and retailers of the Accused Products to directly
27   infringe at least claim 1 of the ‘643 patent.
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                                             COMPLAINT
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1          27.    Upon information and belief, Defendants knowingly induced customers
2    to use their Accused Products, including, for example, by promoting such products
3    online (e.g., www.bmwusa.com) and/or providing customers with instructions and/or
4    manuals     for    using   the   Accused    Products   through     websites   such   as
5    https://connecteddrive.bmwusa.com.         Likewise, Defendants knowingly induced
6    retailers to market and sell the Accused Products.
7          28.    Defendants have been on notice of the ‘643 patent and Defendants’
8    respective infringement of the ‘643 patent, since, at least, February 7, 2020 via letter
9    sent to Mr. Howard Steven Harris, VP of Legal Affairs and General Counsel,
10   notifying of the ‘643 patent and its infringement.
11         29.    Defendants’ infringement of the ‘643 patent is without consent of,
12   authority of, or license from 2BCom.
13         30.    Upon information and belief, Defendants’ infringement of the ‘643 patent
14   is willful. This action, therefore, is “exceptional” within the meaning of 35 U.S.C. §
15   285 entitling 2BCom to its attorneys’ fees and expenses.
16         31.    As a result of Defendants’ acts of infringement, 2BCom has suffered and
17   will continue to suffer damages in an amount to be proven at trial.
18                     INFRINGEMENT OF U.S. PATENT NO. 6,928,166
19         32.    2BCom incorporates by reference the allegations set forth in the
20   preceding paragraphs.
21         33.    On August 9, 2005 the ‘166 patent, entitled “Radio Communication
22   Device And User Authentication Method For Use Therewith,” was duly and lawfully
23   issued based upon an application filed by the inventor Junichi Yoshizawa. A true and
24   correct copy of the ‘166 Patent is attached hereto as Exhibit 3.
25         34.    2BCom is the assignee and the owner of all right, title and interest in and
26   to the ‘166 patent and has the right to sue and recover damages for infringement
27   thereof.
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                                            COMPLAINT
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1          35.    Upon information and belief, Defendants have been and continue to be
2    engaged in making, using, importing, selling and/or offering for sale infringing
3    products, including, but not limited to, the Accused Products in the United States
4    generally, and in the Central District of California specifically. The Accused Products
5    are available for retail purchase through the www.bmwusa.com website, as well as
6    BMW retailers in the United States.
7          36.    Upon information and belief, by acts including, but not limited to use,
8    making, importation, offers to sell, sales and marketing of products that fall within the
9    scope of at least claim 1 of the ‘166 patent, Defendants have directly infringed
10   literally and/or upon information and belief, equivalently, and are continuing to
11   infringe the ‘166 patent and are thus liable to 2BCom pursuant to 35 U.S.C. § 271.
12         37.    As a non-limiting example of Defendants’ infringement of the ‘166
13   patent, set forth in Exhibit 4, is a preliminary claim chart showing Defendants’
14   infringement of exemplary claim 1 of the ‘166 patent by the ConnectedDrive system
15   installed in the BMW vehicles.
16         38.    Defendants have indirectly infringed and continue to infringe at least
17   claim 1 of the ‘166 patent by inducement under 35 U.S.C. 271(b). Defendants have
18   induced and continue to induce users and retailers of the Accused Products to directly
19   infringe at least claim 1 of the ‘166 patent.
20         39.    Upon information and belief, Defendants knowingly induced customers
21   to use their Accused Products, including, for example, by promoting such products
22   online (e.g., www.bmwusa.com) and/or providing customers with instructions and/or
23   manuals     for   using    the   Accused        Products   through   websites   such   as
24   https://connecteddrive.bmwusa.com.         Likewise, Defendants knowingly induced
25   retailers to market and sell the Accused Products.
26         40.    Defendants have been on notice of the ‘166 patent and Defendants’
27   respective infringement of the ‘166 patent, since, at least, February 7, 2020 via letter
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                                             COMPLAINT
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 1   sent to Mr. Howard Steven Harris, VP of Legal Affairs and General Counsel,
 2   notifying of the ‘166 patent and its infringement.
 3         41.    Defendants’ infringement of the ‘166 patent is without consent of,
 4   authority of, or license from 2BCom.
 5         42.    Upon information and belief, Defendants’ infringement of the ‘166 patent
 6   is willful. This action, therefore, is “exceptional” within the meaning of 35 U.S.C. §
 7   285 entitling 2BCom to its attorneys’ fees and expenses.
 8         43.    As a result of Defendants’ acts of infringement, 2BCom has suffered and
 9   will continue to suffer damages in an amount to be proven at trial.
10                   INFRINGEMENT OF U.S. PATENT NO. 7,127,210
11         44.    2BCom incorporates by reference the allegations set forth in the
12   preceding paragraphs.
13         45.    On October 24, 2006 the ‘210 patent, entitled “Wireless Communication
14   Apparatus,” was duly and lawfully issued based upon an application filed by the
15   inventor Kazunori Aoyagi. A true and correct copy of the ‘210 Patent is attached
16   hereto as Exhibit 5.
17         46.    2BCom is the assignee and the owner of all right, title and interest in and
18   to the ‘210 patent and has the right to sue and recover damages for infringement
19   thereof.
20         47.    Upon information and belief, Defendants have been and continue to be
21   engaged in making, using, importing, selling and/or offering for sale infringing
22   products, including, but not limited to, the Accused Products in the United States
23   generally, and in the Central District of California specifically. The Accused Products
24   are available for retail purchase through the www.bmwusa.com website, as well as
25   BMW retailers in the United States.
26         48.    Upon information and belief, by acts including, but not limited to use,
27   making, importation, offers to sell, sales and marketing of products that fall within the
28   scope of at least claim 20 of the ‘210 patent, Defendants have directly infringed

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                                            COMPLAINT
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 1   literally and/or upon information and belief, equivalently, and are continuing to
 2   infringe the ‘210 patent and are thus liable to 2BCom pursuant to 35 U.S.C. § 271.
 3         49.    As a non-limiting example of Defendants’ infringement of the ‘210
 4   patent, set forth in Exhibit 6, is a preliminary claim chart showing Defendant’s
 5   infringement of exemplary claim 20 of the ‘210 patent by the ConnectedDrive system
 6   installed in the BMW vehicles.
 7         50.    Defendants have indirectly infringed and continue to infringe at least
 8   claim 20 of the ‘210 patent by inducement under 35 U.S.C. 271(b). Defendants have
 9   induced and continue to induce users and retailers of the Accused Products to directly
10   infringe at least claim 20 of the ‘210 patent.
11         51.    Upon information and belief, Defendants knowingly induced customers
12   to use their Accused Products, including, for example, by promoting such products
13   online (e.g., www.bmwusa.com) and/or providing customers with instructions and/or
14   manuals     for   using   the    Accused     Products   through   websites    such   as
15   https://connecteddrive.bmwusa.com.         Likewise, Defendants knowingly induced
16   retailers to market and sell the Accused Products.
17         52.    Defendants have been on notice of the ‘210 patent and Defendants’
18   respective infringement of the ‘210 patent, since, at least, February 7, 2020 via letter
19   sent to Mr. Howard Steven Harris, VP of Legal Affairs and General Counsel,
20   notifying of the ‘210 patent and its infringement.
21         53.    Defendants’ infringement of the ‘210 patent is without consent of,
22   authority of, or license from 2BCom.
23         54.    Upon information and belief, Defendants’ infringement of the ‘210 patent
24   is willful. This action, therefore, is “exceptional” within the meaning of 35 U.S.C. §
25   285 entitling 2BCom to its attorneys’ fees and expenses.
26         55.    As a result of Defendants’ acts of infringement, 2BCom has suffered and
27   will continue to suffer damages in an amount to be proven at trial.
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                                            COMPLAINT
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 1                   INFRINGEMENT OF U.S. PATENT NO. 7,184,707
 2         56.    2BCom incorporates by reference the allegations set forth in the
 3   preceding paragraphs.
 4         57.    On February 27, 2007 the ‘707 patent, entitled “Communication Device
 5   And A Method For Controlling The Communication Device,” was duly and lawfully
 6   issued based upon an application filed by the inventors, Masahiro Tada, Ikuo Sako,
 7   and Koichi Yata. A true and correct copy of the ‘707 Patent is attached hereto as
 8   Exhibit 7.
 9         58.    2BCom is the assignee and the owner of all right, title and interest in and
10   to the ‘707 patent and has the right to sue and recover damages for infringement
11   thereof.
12         59.    Upon information and belief, Defendants have been and continue to be
13   engaged in making, using, importing, selling and/or offering for sale infringing
14   products, including, but not limited to, the Accused Products in the United States
15   generally, and in the Central District of California specifically. The Accused Products
16   are available for retail purchase through the www.bmwusa.com website, as well as
17   BMW retailers in the United States.
18         60.    Upon information and belief, by acts including, but not limited to use,
19   making, importation, offers to sell, sales and marketing of products that fall within the
20   scope of at least claim 1 of the ‘707 patent, Defendants have directly infringed
21   literally and/or upon information and belief, equivalently, and are continuing to
22   infringe the ‘707 patent and are thus liable to 2BCom pursuant to 35 U.S.C. § 271.
23         61.    As a non-limiting example of Defendants’ infringement of the ‘707
24   patent, set forth in Exhibit 8, is a preliminary claim chart showing Defendants’
25   infringement of exemplary claim 1 of the ‘707 patent by the ConnectedDrive system
26   installed in the BMW vehicles.
27         62.    Defendants have indirectly infringed and continue to infringe at least
28   claim 1 of the ‘707 patent by inducement under 35 U.S.C. § 271(b). Defendants have

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                                           COMPLAINT
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 1   induced and continue to induce users and retailers of the Accused Products to directly
 2   infringe at least claim 1 of the ‘707 patent.
 3         63.    Upon information and belief, Defendants knowingly induced customers
 4   to use their Accused Products, including, for example, by promoting such products
 5   online (e.g., www.bmwusa.com) and/or providing customers with instructions and/or
 6   manuals     for   using    the   Accused        Products   through   websites    such       as
 7   https://connecteddrive.bmwusa.com.         Likewise, Defendants knowingly induced
 8   retailers to market and sell the Accused Products.
 9         64.    Defendants have been on notice of the ‘707 patent and Defendants’
10   respective infringement of the ‘707 patent, since, at least, February 7, 2020 via letter
11   sent to Mr. Howard Steven Harris, VP of Legal Affairs and General Counsel,
12   notifying of the ‘707 patent and its infringement.
13         65.    Defendants’ infringement of the ‘707 patent is without consent of,
14   authority of, or license from 2BCom.
15         66.    Upon information and belief, Defendants’ infringement of the ‘707 patent
16   is willful. This action, therefore, is “exceptional” within the meaning of 35 U.S.C. §
17   285 entitling 2BCom to its attorneys’ fees and expenses.
18         67.    As a result of Defendants’ acts of infringement, 2BCom has suffered and
19   will continue to suffer damages in an amount to be proven at trial.
20                                    PRAYER FOR RELIEF
21     WHEREFORE, 2BCom requests this Court enter judgment as follows:
22                A.     That the ‘643 patent, ‘166 patent, ‘210 patent, and the‘707 patents
23   are valid and enforceable;
24                B.     That Defendants have directly and indirectly infringed at least
25   claim 1 of the ‘643 patent, at least claim 1 of the ‘166 patent, at least claim 20 of the
26   ‘210 patent, and at least claim 1 of the ‘707 patent;
27                C.     That such infringement is willful;
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                                             COMPLAINT
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 1                D.     That Defendants account for and pay to 2BCom all damages
 2   pursuant to 35 U.S.C. § 284 to adequately compensate 2BCom for Defendants’
 3   infringement of the ‘643 patent, ‘166 patent, ‘210 patent, and the ‘707 patent, but in
 4   no event less than a reasonable royalty for the use made by Defendants of the
 5   invention set forth in the ‘643 patent, ‘166 patent, ‘210 patent, and the ‘707 patent;
 6                E.     That 2BCom receives enhanced damages, in the form of treble
 7   damages, pursuant to 35 U.S.C. § 284;
 8                F.     That this is an exceptional case under 35 U.S.C. § 285;
 9                G.     That Defendant pay 2BCom all of 2BCom’s reasonable attorneys’
10   fees and expenses pursuant to 35 U.S.C. § 285;
11                H.     That 2BCom be granted pre-judgment and post-judgment interest
12   in accordance with 35 U.S.C. § 284 on the damages caused to it by reason of
13   Defendants’ infringement of the ‘643 patent, ‘166 patent, ‘210 patent, and the ‘707
14   patent, including pre-judgment and post-judgment interest on any enhanced damages
15   or attorneys’ fees award;
16                I.     That costs be awarded in accordance with 35 U.S.C. § 284 to
17   2BCom; and
18                J.     That 2BCom be granted such other and further relief as the Court
19   may deem just and proper under the circumstances.
20                               DEMAND FOR JURY TRIAL
21         2BCom hereby demands a trial by jury on all issues so triable in this action.
22

23   Dated: April 16, 2020                 witkow | baskin
24

25                                         By: /s/ Brandon J. Witkow
                                                   Brandon J. Witkow
26                                                 Cory A. Baskin
27                                         Attorneys for Plaintiff 2BCOM, LLC
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                                            COMPLAINT
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                            EXHIBIT 1
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                                                                                                    USOO6885643B1

  (12) United States Patent                                                         (10) Patent No.:               US 6,885,643 B1
         Teram0t0 et al.                                                            (45) Date of Patent:                    Apr. 26, 2005

  (54) METHOD AND DEVICE FOR FACILITATING                                      JP                8-116424         5/1996
          EFFICIENT DATA TRANSFER WIAA                                         JP               10-154996          6/1998
          WIRELESS COMMUNICATION NETWORK                                       JP               10-164107          6/1998
                                                                               WO            WO95/35002           12/1995
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                        Junko Ami, Tokyo (JP); Kensaku
                        Fujimoto, Kanagawa (JP)                                U.S. Appl. No. 09/343,509.*
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                 (JP)
           -- -                     -                                          Primary Examiner       Dang Ton
  (*) Notice:    Subject to any disclaimer, the term of this
                 patent is extended or adjusted under 35                       ASSistant Examiner-Robert C Scheibel
                 U.S.C. 154(b) by 756 days                                     (74) Attorney, Agent, or Firm-Oblon, Spivak, McClelland,
                            a --                                               Maier & Neustadt, P.C.
  (21) Appl. No.: 09/671,012                                                   (57)                    ABSTRACT
  (22) Filed:        Sep. 28, 2000                                             A wireleSS network System capable of controlling highly
                             O O                                               efficient transfer of AV data by an upper application, using
  (30)         Foreign Application Priority Data                               information indicating a wireleSS link condition that varies
    Sep. 30, 1999 (JP) ........................................ P.11-280651    dynamically is disclosed. In this wireleSS network System, a
                   7                                                           wireleSS terminal and a wire gateway apparatus each Store
  (51) Int. Cl." ...................................... ...To H04L 1226        collected wireleSS link condition information in a descriptor.
  (52) U.S. Cl. ....................... 370/252; 370/338; 370/463;             An upper application on the wireleSS terminal reads the
                                                              370/469          descriptor at Said terminal device and obtains wireleSS LAN
  (58) Field of Search ................................. 370/252-253,          link condition information. The wireless gateway apparatus
                                   370/338,469, 231-236, 463,329               makes notification to a wireless terminal of a VTR, for
                                                                               example, that actually exists in a 1394 terminal as if it
  (56)                   References Cited                                      existed as a Sub-unit in the local terminal device. The
                   U.S. PATENT DOCUMENTS                                       wireleSS terminal accesses the collected wireleSS link con
                                                                               dition information and selects a AV/C command to be sent
         5,764,699 A : 6/1998 Needham et al.                                   to the VTR sub-unit of the wireless gateway apparatus. The
          2.
          24 12
                    R : s28; i. et al .. 38.i.
                              aKal el al. . . . . . . . . . . . . . . .
                                                                               wireleSS terminal transferS the play command for playback
         6,301,609 B1      10/2001 Aravamudan et al. ...... 709/207            to the wireleSS gateway apparatus. The wireleSS gateway
         6,480.889 B1 11/2002 Saito et al. ................. 702               apparatus transfers the play command to a VTR Sub-unit
         6.72s244 B1        4/2004 Takabatake ................. 370/392        within a terminal on the wired network. In accordance with
         6,845,090 B1        1/2005 Takabatake ................. 370/338       this action, the VTR Sub-unit within the terminal on the
                                                                               wired network starts transfer of AV data.
                  FOREIGN PATENT DOCUMENTS
  EP                O844. 769            5/1998                                                23 Claims, 16 Drawing Sheets

                                                                   508b.               s                    507
                                                            APPLICATION
                                                            PARAMETER
                                                            CONVERSION
                                                            SECTION
                                                                              AWAPPLICATION
                                                                              PROCESSOR
                                                                                                      e
                                                                                                      DISPLAY
                                                                                                      SECTION

                                                                                               505 || 506
                                         SDP
                                         NFORMATION        SDP       PARAMETER        AWAC
                                         STORAGE           PROCESSOR CONVERSION       PROCESSOR
                                         SECTION                     SECTION


                                               LINK
                                               MONOR
                                               PROCESSOR
                                               (IMP)

                                                                    ACL

                                                               BLUETOOTH INTERFACE PROCESSOR
                                                                       (RF/BASEBAND)
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                                          FIG.1
           BT TERMINAL 101                       7          BT TERMINAL 111
                                          WIRELESS
                Display                   LLNK                  VTR
                SubUnit                   (BLUETOOTH)           SubUnit


                      102                                            112
              SDP                                             SDP
              INFORMATION                                     INFORMATION

                      103                                           113
                    USER
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                                           FIG.2
                                                28


                                      A/V APPLICATION


                        23            24             25          26            27




         30s, t-z-z-z-z-z-z-z-z-z-z-z-z-za

         22
                             L2CAP PROCESSOR




                                  ACL                                -   SCO
                                                           211 212
          21
                                 BASEBAND PROCESSOR
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                                        FIG.4
                                                   S11

                               PUBLIC BROWSE ROOT



                         S21                        S22                    S23
            ENTERTAINMENT               NEWS(G)             REFERENCE
                  (G)                                              (G)


                                                           S25                S26

                                           DICTIONARY YT-LINK(G)
                                                  (S)                            /


                                                                                 S28


                                                                    59%
                                         S32                S3 3              S34
                        S31
       BANDWIDTH(S)
                     Z     5. CHANNEL(S)
                                                                 55  M           ^
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                                         FIG.5

                                508b.                     508              507

                           APPLICATION
                           PARAMETER           AV APPLICATION            DISPLAY
                           CONVERSION          PROCESSOR                 SECTION
                           SECTION


         SDP                            SDP
         INFORMATION                 PARAMETER            AV/C         AV DATA
         STORAGE           PROCESSOR CONVERSION           PROCESSOR    PROCESSOR
         SECTION                        SECTION


               LINK
               MONITOR                   L2CAP PROCESSOR
               PROCESSOR
               (LMP)


        V                    BLUETOOTH INTERFACE PROCESSOR
                                         (RF/BASEBAND)
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                                    FIG.6
                                                 28


                                      A/V APPLICATION


                         23               24                25                  27


                       Z2               2                  /.


         29
                    22222
              lar
              LMP
                               car processor -2.
                              L2CAP PROCESSOR




                              ACL                     -          212      SCO
                                                          211     1.
    21
                              BASEBAND PROCESSOR
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                                        FIG.9
                                                         908              907

                                                                        DISPLAY
                                        AV APPLICATION PROCESSOR        SECTION

                    909       905                               910    906

                    INFORMATION                      AV/C
                    CONVERSION                       INFORMATION || AV DATA
                                                     STORAGE          PROCESSOR
                    PROCESSOR                        SECTION
     902
            LINK
            MONITOR
            PROCESSOR                   L2CAP PROCESSOR
            (LMP)
      901                                               ? 901                9012
                                  ACL                                   SCO
     V7
                           BLUETOOTH INTERFACE PROCESSOR
                                        (RF/BASEBAND)
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                                 FIG. 12
                               1208b.                  1208

                           GATEWAY
                           PARAMETER             GATEWAY PROCESSOR
                           CONVERSION              (AV/C PROCESSOR)
                           SECTION


        SDP                          SDP
        INFORMATION                  PARAMETER         AV DATA
        STORAGE        PROCESSOR CONVERSION            PROCESSOR
        SECTION                  SECTION


                   LINK
                   MONITOR                 L2CAP               TRANSACTION
                   PROCESSOR               PROCESSOR           PROCESSOR
                   (LMP)


                                                               IEEE1394
                                                               INTERFACE
                  BLUETOOTH INTERFACE PROCESSOR                PROCESSOR
                             (RF/BASEBAND)                     (PHY/LINK)
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                                 FIG.16
           1609                              1608

       AV/C
       INFORMATION         GATEWAY PROCESSOR (AV/C PROCESSOR)
       STORAGE
       SECTION
                                                                1607
                       INFORMATION                    AV DATA
                       COLLECTION                     PROCESSOR
                        PROCESSOR
                                                                       1605

                                        MAC                      TRANSACTION
                                        PROCESSOR                PROCESSOR

                   16011                                                  16O2

                  FALL BACK
      N/          PROCESSOR                                      IEEE 394
                                                                 INTERFACE
                                                                 PROCESSOR
                    IEEE 802.11 INTERFACE PROCESSOR              (PHY/LINK)
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                                                       US 6,885,643 B1
                                1                                                                    2
     METHOD AND DEVICE FOR FACILITATING                                     In current wireless LAN specifications (Such as
         EFFICIENT DATA TRANSFER WIAA                                    Bluetooth), however, there are no functions for “acquiring
      WIRELESS COMMUNICATION NETWORK                                     condition information of the wireless link” or “notify an
                                                                         upper application of the condition of the wireleSS link.”
           BACKGROUND OF THE INVENTION                                   Additionally, because upper applications on the IEEE 1394
    1. Field of the Invention                                            (such as the AV/C Protocol) were devised with the assump
    The present invention relates to a wireleSS terminal                 tion of execution in a wired network, these upper applica
  device, a gateway device, and a wireleSS data transfer                 tions also lack an “information element for holding link
  control method. In particular, it relates to technology in a           condition information' and a function for “acquiring link
                                                                         condition information.”
  data communication System which executes an upper appli                  In the case in which AV data is transferred on a medium
  cation Such as an AV (audio/video) protocol as to a wireless
  network exhibiting dynamic variations in the condition of              in which the link condition (Such as usable transmission
  the wireleSS link or in an integrated network System encom             bandwidth) varies, such as in a wireless network, when an
  passing a wireleSS network and wired network So as to                  upper layer protocol (upper application) Such as AV/C is
                                                                    15   executed, it was not possible to ascertain the condition of the
  perform efficient transfer of content data.
    2. Related Art                                                       link, which represents a downstream layer. For this reason,
     With the recent increase in the use of digital equipment,           it was difficult to select the AV data type and transfer rate
  the implementation of networks in the home has gained                  uSable on the linked to be used and to perform Smooth,
                                                                         efficient AV data transfer.
  attention. At present, the IEEE Std 1394 (hereinafter abbre
  viated IEEE 1394), which was devised as a connecting wired                         SUMMARY OF THE INVENTION
  for connection between AV equipment, has gained attention                Accordingly, it is an object of the present invention to
  as a home-use network media. The IEEE 1394 is a high                   provide a wireleSS terminal device, a gateway device, and a
  Speed bus capable of connection between a plurality of                 wireleSS data transfer control method in an environment
  terminals by a daisy chain or Star-configured connection,         25   exhibiting dynamic variations, Such as a wireless
  with transfer of broad bank data performed at speeds                   environment, or an environment in which there is connec
  exceeding 100 Mbps. It is possible on a single wired to
  perform transfer both asynchronous data and isochronous                tion between a wired network and a wireleSS network, which
  data.                                                                  enable efficient data transfer processing, giving consider
                                                                         ation to variation in the condition of the wireleSS link.
    The achievement of high Speeds in wireleSS networks                     A feature of the present invention is that the condition of
  (wireless LANs) is also gaining attention, and wireless LAN            a dynamically varying wireleSS link condition information is
  products conforming to IEEE Std 802.11 have already
  appeared and are going through a process of price reduction.           disclosed to an upper application, and that a determination
  Along with advancing Speeds and price reductions for Such              of whether or not data transfer is possible is made, and the
  wireleSS technology, there are active efforts being made to       35
                                                                         transfer parameters for AV (audio/video) content data being
                                                                         established in accordance with the wireleSS link condition.
  apply this wireleSS technology in the home network as well.
  In the US, such industry groups as Home RF and Bluetooth                 An aspect of the present invention is a terminal device for
  have been established, and great advances are expected in              control of data between communicating entities on a net
  the future.                                                            work via a wireleSS link comprising
    A high-Speed, low-cost wireleSS network is thought to be        40     an interface Section for performing Sending and receiving
  highly acceptable for use in the home network. For this                     of packets with a remote communicating entity,
  reason, a System that combines a high-Speed, low-cost                    a link Setting Section for Setting a link for control and for
  wireless LAN and the IEEE 1394 is expected to form the                      data transfer with the remote communicating entity,
  core of home networks in the future.                                     a wireleSS link information acquisition Section for acquir
    However, in an environment in which the IEEE 1394 bus           45        ing wireleSS link information indicating the condition
  is integrated with a wireleSS LAN, there are a number of                    of a wireleSS link between said terminal device and a
  problems.                                                                   remote communicating entity in the network t the time
     The first problem is that protocols executed on the IEEE                 of Setting the link, and for updating the wireleSS link
  1394 bus (for example, the AV/C Digital Interface Com                       information acquired at the time of Setting the link by
  mand Set General Specification, IEEE 1394-1995), were             50        the current dynamically acquired wireless link
  originally developed with the assumption of execution on a                  information,
  wired medium, and did not envision execution in a wireleSS               a wireleSS link information Storage Section for Storing the
  environment. However, in contrast to a wired network, it is                 above-noted acquired or updated wireless link
  known that there are changes related to the condition of the                information, and
  wireless link (for example, the bandwidth that can be used        55     an application Section for, based on the wireleSS link
  for transmission). To accommodate Such wireless link con                    information stored in the wireless link information
  dition changes, a method (Such as fallback) is employed,                    Storage Section, for determining whether or not data can
  wherein the wireless transfer speed (or type of modulation to               be transferred and, if data transfer is possible, optimiz
  be used) is established, for example, when the wireless LAN                 ing a transfer parameter for transfer of data with the
  is started up, So as to Start data communication at transfer      60        remote communicating entity, in accordance with the
  Speed Suited to the wireleSS link condition. For this reason,               wireleSS link information, this transfer parameter being
  when executing an upper layer protocol Such as AV/C in a                    used to receive data from or Send data to the remote
  wireleSS environment, unless the condition of the lower                       communicating entity, via the interface Section.
  layerS is known, a problem can be envisioned Such as when                 It is possible to use the Descriptor in the SDP Protocol, for
  a request is made of a lower layer for transfer of content data   65   example, as a wireleSS link information Storage means.
  (Such as AV (audiovisual) data) which in reality cannot be                It is preferable that the wireless link information stored in
  transferred.                                                           the wireleSS link information Storage Section includes wire
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                                                       US 6,885,643 B1
                                 3                                                                     4
  leSS link information with regard to Said terminal device and             a wireleSS link information Storage Section for Storing the
  wireleSS link information with regard to the remote com                      above-noted acquired or updated wireless link
  municating entity.                                                           information, and
     It is preferable that the wireleSS link information acqui              a local wireleSS link information notification Section for
  Sition Section includes                                                      receiving from the remote communicating entity a
     a remote wireleSS link information requesting Section for                 request for the local wireleSS link information of Said
        requesting notification of wireleSS link information                   terminal and for Sending the local wireleSS link infor
        with regard to the remote communicating entity that the                mation to the remote party.
        remote communicating entity has, at the time of Startup             Another aspect of the present invention is a gateway
        by the application Section, and                                   device for controlling transfer of data between a first termi
     a remote wireleSS link information receiving Section for             nal device on a wired network and a Second terminal device
        receiving wireleSS link information of the remote com             on a wireleSS network, this gate device comprising,
        municating entity, notification of which is made from               a first interface Section for Sending and receiving packets
        the remote communicating entity.                                       via the wireleSS network,
     It is preferable that the terminal device further has a         15     a Second interface Section for Sending and receiving
  wireleSS link information updating Section for changing
  wireless link information stored in the wireless link infor                  packets via the wired network,
  mation Storage Section to a format interpretable by the                   a first link Setting Section for Setting a link for control and
  application Section and for passing this wireleSS link infor                 for data transfer with the Second terminal device,
  mation to the application Section.                                        a Second link Setting Section for Setting a link data transfer
     It is preferable that the wireleSS link Storage information               with the first terminal device,
  Section Store wireleSS link information as information relat              a wireleSS link information acquisition Section for acquir
  ing to a constituent element of Said terminal device.                        ing wireleSS link information indicating the condition
    It is preferable that the SubUnit defined in the AV/C                      of a wireless link between said terminal device and the
  Protocol be used as the constituent element.                                 Second terminal device on the wireleSS network at the
     It is preferable in the present invention further have a        25
                                                                               time of Setting the link, and for updating the wireleSS
  wireleSS link monitoring Section for monitoring the condi                    link information acquired at the time of Setting the link
  tion of a wireleSS link in the network, for outputting wireleSS              by the current dynamically acquired wireleSS link
  link information acquired by the monitoring to the wireleSS
  link information acquisition Section. It is possible to use HCI              information,
  as a wireleSS link condition monitoring means.                            a wireleSS link information Storage Section for Storing the
     It is preferable that the terminal device further has a local             above-noted acquired or updated wireless link
  wireless link information sending Section for Sending wire                   information, and
  leSS link information of Said terminal device to the remote               a network connection processor for, based on wireleSS
  communicating entity, in response to a request from the                      link information stored in the wireless link information
  remote communicating entity.                                       35        Storage Section, performing receiving or Sending of
    It is preferable that the terminal device further has a user               data between the first terminal device and the Second
  interface Section for, based on wireleSS link information                    terminal device via the first interface Section and Sec
  Stored in the wireleSS link Information Storage Section,                     ond interface Section.
  providing to a user a list of data candidates for transfer, and           This gateway device further has a proxy means which
  waiting for input from the user of data Selected from the list.    40   uses a device on the wired network, or a Service or Sub-unit
     It is preferable that the wireless link information includes         on Such a device as belonging to Said device, disclosing this
  at least one of the packet discard rate, the uSable bandwidth,          to the wireless network side. The wireless network is, for
  the number of usable channels, the uSable transfer rate, or             example, Bluetooth, IEEE Std 802.11 or the like. The wired
  observable information on which these are based.                        network is, for example, the IEEE 1394 bus.
    It is preferable that the transfer parameter be at least one     45     It is preferable that this gateway device further comprises
  of an AV/C command or content data to be transferred.                   a local wireleSS link information Sending Section for, in
     By doing the above, it is possible for an upper application          response to a request from the first terminal device on the
  to consider, for example, a dynamically varying network                 wired network or from the second terminal device on the
  condition, in making a Selection of a type of operation                 wireleSS network, Sending the local terminal wireleSS link
  (command) with respect to AV data (content data), and is           50
                                                                          information to the first terminal device or the Second termi
  also possible to make Selection of AV data to be accessed               nal device, respectively.
  from a plurality of AV data.                                               It is preferable that the wireleSS link information acqui
    Another aspect of the present invention is a terminal                 Sition Section of this gateway device includes
  device for transfer of data between communicating entities                 a remote link information requesting Section for request
  over a network via a wireleSS link, this device having:            55         ing notification of remote link information of the first
     an interface Section for performing Sending and receiving                 terminal device to the first terminal device on the wired
        of packets with a remote party,                                        network, and
     a link Setting Section for Setting a link for control and for          a remote link information receiving Section for receiving
        data transfer with the remote communicating entity,                    remote link information, notification of which is made
     a wireleSS link information acquisition Section for acquir      60         by the first terminal device.
        ing wireleSS link information indicating the condition              Another aspect of the present invention is a method for
       of a wireleSS link between said terminal device and a              controlling transfer of data via a wireleSS link with a remote
       remote communicating entity in the network at the time             communicating entities on a network, this method having
       of Setting the link, and for updating the wireleSS link               a step of Setting a link for control with a remote commu
       information acquired at the time of Setting the link by       65         nicating entity,
       the current dynamically acquired wireless link                        a step of acquiring wireleSS link information indicating
       information,                                                            the condition of a wireless link between said terminal
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                                 S                                                                          6
       device and a remote communicating entity on the                       a step of Setting a link with the first terminal device, and
       network at the time of Setting the link,                              a step of performing receiving or Sending of data between
    a step of Setting a link for data transfer with the remote                     the first terminal device and the Second terminal device,
       communicating entity,                                                       based on the wireless link information.
    a step of updating wireleSS link information acquired at          5       Other features and advantages of the present invention
       the time of Setting of the link with current dynamically            will become apparent from the following descriptions, taken
       acquired wireleSS link information acquired after the               in conjunction with the accompanying drawings.
       Setting of the link for data transfer,
    a step of determining whether or not transfer of data is                         BRIEF DESCRIPTION OF THE DRAWING
       possible, based on the updated wireless link                          The accompanying drawings, which are incorporated in
       information, and                                                    and constitute a part of the Specification, illustrate presently
    a step of optimizing a parameter for transfer of data with             preferred embodiments of the present invention, and
       the remote communicating entity, in accordance with                 together with the general description given above and the
       the wireleSS link information in the case in which data             detailed description of the preferred embodiments given
         transfer is possible and performing receiving or Sending     15   below, Serve to explain the principles of the present inven
         of data with the remote communicating entity, using the           tion.
         optimized parameter for transfer.                                   FIG. 1 is a block diagram showing an example a home
     It is preferable in this control method that the wireless link        use wireleSS AV network System using a terminal device
  information include wireleSS link information with regard to             according to a first embodiment of the present invention;
  Said terminal device and information with regard the remote                FIG. 2 is a drawing showing an example of a protocol
  communicating entity.                                                    Stack within a wireleSS terminal device for the case of
     It is preferable in this control method that the wireless link        performing AV data transfer using Bluetooth;
  information updating Step includes a step of requesting                     FIG. 3 is a drawing showing an example of a packet
  notification of remote link information of the remote com
  municating entity to the remote communicating entity at the         25   transfer processing Sequence between wireleSS terminals in
  time of the Startup by an application, and a step of receiving           the first embodiment of the present invention;
  wireleSS link information of the remote communicating                       FIG. 4 is a drawing showing an example of means for
  entity, notification of which is made by the remote commu                holding wireless link condition information using SDP, in a
  nicating entity.                                                         wireless terminal in the first embodiment of the present
     Another aspect of the present invention is a method for               invention;
  transfer of data via a wireleSS link with a remote commu                    FIG. 5 is a block diagram showing an example of the
  nicating entity on a network, this method having                         internal configuration of a wireless terminal in the first
     a step of Setting a link for control with the remote                  embodiment of the present invention;
       communicating entity,                                                  FIG. 6 is a drawing showing another example of a
     a step of acquiring wireleSS link information indicating         35   protocol Stack within a wireleSS terminal according to a
       the condition of a wireless link between said terminal              Second embodiment of the present invention, for the case of
       device and the remote communicating entity on the                   performing AV data transfer using Bluetooth;
       network at the time of Setting the link,                               FIG. 7 is a drawing showing another example of a packet
    a step of Setting a link for data transfer with the remote             transfer processing Sequence between wireleSS terminals in
                                                                      40
       communicating entity,                                               the Second embodiment of the present invention;
    a step of updating the wireleSS link information acquired                 FIG. 8 is a drawing showing an example of a method for
       at the time of Setting of the link with current dynami              holding condition information of a wireleSS link using AC/V
       cally acquired wireleSS link information acquired after             in the Second embodiment of the present invention;
       the Setting of the link, and                                   45
                                                                              FIG. 9 is a block diagram showing another example of the
    a step of receiving a notification request Sent from the               internal configuration of a wireleSS terminal in the Second
       remote communicating party for Said terminal device                 embodiment of the present invention;
       wireleSS link information of Said terminal device, and                 FIG. 10 is a drawing showing an example of a home-use
       Sending wireleSS link information of Said terminal                  AV network System using a gateway device according to a
       device to the remote communicating entity in response          50   third embodiment of the present invention;
       to this request.                                                       FIG. 11 is a drawing showing an example of a packet
    Another aspect of the present invention is a method of                 transfer processing Sequence via the gateway device accord
  controlling transfer of data between a first terminal device             ing to the third embodiment of the present invention;
  on a wired network and a Second terminal device on a                        FIG. 12 is a block diagram Showing an example of the
  wireleSS network, this method having                                55   internal configuration of a gateway device according to the
     a step of Setting a link for control with the Second terminal         third embodiment of the present invention;
       device,                                                                FIG. 13 is a drawing showing another example of a
    a step of acquiring, at the time of Setting of the link,               home-use wireleSS AV network System using a gateway
      wireleSS link information indicating the condition of a              device according to a fourth embodiment of the present
       wireless link between said terminal device and the             60   invention;
       Second terminal device on the wireleSS network,                        FIG. 14 is a drawing showing another example of a packet
    a step of Setting a link for data transfer with the Second             transfer processing Sequence Via a gateway device according
       terminal device,                                                    to the fourth embodiment of the present invention;
    a step of updating the wireleSS link information acquired                 FIG. 15 is a drawing showing an example of a method for
       at the time of Setting the link with current dynamically       65   holding wireleSS link information using AV/C in a gateway
       acquired wireleSS link information acquired after the               device according to the fourth embodiment of the present
       Setting of the link for data transfer,                              invention; and
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     FIG. 16 is a drawing showing another example of the                 Vender types and corresponding Service types for each
  internal configuration of a gateway device according to the            terminal, and an executable protocol Stack that can be stored,
  fourth embodiment of the present invention.                            and a protocol for exchange of this information (Service
             DETAILED DESCRIPTION OF THE
                                                                         information) between each of the terminals. The assumption
                                                                         is that means for Storing this Service information is that of a
               PREFERRED EMBODIMENTS                                     DescriptorS defining databases into which hierarchal Storage
    Preferred embodiments of a wireless terminal device, a               is made of each service. In the SDP, hierarchal Service
  gateway device, and a method for data transfer control                 classes are defined, services handled by the SDP being
  according to the present invention are described in detail             assigned to each class.
  below, with reference being made to relevant accompanying                 FIG. 1 shows an example of the basic configuration for
  drawings.                                                              transfer of AV data between wireless terminals (101 and 111)
  First Embodiment                                                       connected by a wireless link.
    A wireleSS network System according to the first embodi                In this case, Bluetooth will be taken as the example of the
                                                                         wireleSS link. Therefore, the wireleSS terminal in this case is
  ment of the present invention is described in detail below,            a Bluetooth terminal (the BT terminals 101 and 111).
  with reference made to FIG. 1 to FIG. 5.                          15
                                                                           As shown in FIG. 1, the BT terminal 101 has a display
    In the first embodiment, a wireleSS terminal performing              function, this display function existing as a Display
  communication using a wireleSS LAN Such as Bluetooth, for              SubUnit 102, which is one functional unit (SubUnit) in the
  example, has function for obtaining wireleSS link condition            AV/C Protocol. In the BT terminal 101, SDP information
  information from a local terminal or collected it from                 103, which is acquired, collected and stored service infor
  another terminal and Storing this information. Additionally,           mation or the like on the Bluetooth in accordance with an
  the first embodiment has function for giving notification of           SDP protocol, which constitutes an information acquiring
  or disclosing to an upper application (for example AC/V                  CS.
  protocol) wireless link condition information collected by               The BT terminal 111 has a VTR function, and a VTR
  the above-noted information collection function, function              SubUnit 112 as a functional element in the AV/C Protocol.
  for Storing this notified information, and function for using     25   There is also an SDP information 113 in accordance with the
  this wireleSS link condition information to control the execu          SDP protocol, which is a collection means for service
  tion of the upper application. By doing this, it is possible to        information and the like in Bluetooth.
  use the wireleSS link condition information to control the               This AV/C Protocol recognizes each node in terms of
  execution of an upper application.                                     Units, and recognizes constituent elements within each node
    More specifically, the above-noted “wireless link condi              (such as the Display of the BT terminal 101 and the VTR of
  tion information' includes the type of transfer System (link           the BT terminal 111) as sub-units. In the transfer protocol for
  type) usable, the condition of the transfer system (usable             AV/C control commands (for example, commands such as
  bandwidth and usable number of channels), the packet                   “play”, “stop” and “fast forward”), the sending of a com
  discard rate, the version information of the wireleSS link, the        mand and the receiving of the response thereto are treated as
  electrical power mode, the data compression ratio, the data       35 One Set.
  encoding method, or observable information forming the                   Because the BT terminal 101 and the BT terminal 111 are
  basis of these types of information on the wireleSS link.              connected by means of a wireless link (Bluetooth), at what
     For example, this wireleSS link condition information is            rate AV data existing within the VTR SubUnit of the BT
  held as Descriptor information defined in the SDP Protocol             terminal 111 can be transferred to the BT terminal 101 is
  of Bluetooth, and Descriptor information defined in the           40   established by the condition of the wireless link.
  AV/C Protocol, thereby enabling an upper AV application to             Specifically, this transfer rate is established by (1) what type
  efficiently execute AV data transfer using this wireleSS link          of link is used to transfer AV data (for example, ACL
  condition information. If this type of wireless link condition         (Asynchronous Connectionless) or SCO (Synchronous
  information is held as Descriptor information, because it is           Connection-Oriented)) on the wireless link (Bluetooth) and
  possible to acceSS not only wireleSS link condition informa       45   (2) the condition of the wireless link, such as how much
  tion in the local terminal device but also Such information            noise there is on the wireless link (this noise condition
  from another terminal, it becomes possible to easily execute           affecting the rate at which data can be transferred). For this
  an AV application with consideration given to this dynami              reason, in the case in which an AV application at upper layer
  cally changing wireleSS link information.                              executeS AV data transfer via a wireleSS link Such as
     According to the first embodiment, it is possible to easily    50   Bluetooth, it is necessary for the AV application to obtain the
  achieve data transfer Such as transfer of AV data (content             condition information of Bluetooth via Some means Such as
  data) using a medium Such as a wireless environment, in                the SDP and to execute a data transfer related protocol such
  which the link condition constantly changes. Additionally,             as the AV/C Protocol based on this condition information.
  even in a network environment Such as the IEEE 1394, in                  FIG. 2 shows an example of a protocol stacking BT
  which a connection is made between a wired network and a          55   terminal having a function that collects and Stores condition
  wireless network, it is possible to perform AV data transfer           information with regard to a wireleSS link.
  while consideration is given to the link condition in the                In FIG. 2, an L2CAP processor 22 that executes a data
  wireleSS network.                                                      link layer specification (L2CAP) using an ACL transfer
    In the description that follows, the assumptions are those           mode 211 of Baseband processor resides on a Baseband
  of a wireleSS LAN System having means for collecting              60   processor 21, which is the physical layer Specification of
  Service information of each wireless terminal (such as the             Bluetooth. An Audio 27 executing processing Such as pro
  SDP (Service Discovery Protocol) of Bluetooth), and of the             cessing for voice telephone resides as an upper protocol that
  case in which execution of the AV/C Protocol application as            uses the SCO transfer mode 212 of the Baseband processing.
  an upper application, which is a transfer control method for           Additionally, an AV/C protocol 23 is defined, along with AV
  AV data on the IEEE 1394 bus.                                     65   data protocol such as an Audio 25 and Video 24 and the like,
    The SDP in Bluetooth assumes, at a terminal in a Blue                as an upstream protocol using the above-noted L2CAP
  tooth network, a method of Storing information Such as                 processor 22.
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     Additionally, an SDP protocol 26 is defined in a parallel               (7) The BT terminal 101 and the BT terminal 111 use a
  position with these upper protocols. In the first embodiment,           protocol (HCI) on the Bluetooth to collect wireless link
  the example shown is that in which an AV application 28 is              condition information (in particular, ACL link information)
  executed while using these upper protocols. While protocols             in which (6) caused a change, and use the SDP protocol to
  in addition to the above, such as the RFCOMM protocol, are              store same within a Descriptor (103,113) (step S107).
  defined in Bluetooth, these are omitted, Since they are not                (8) An AV application at the BT terminal 101 reads the
  directly related to the first embodiment. In the drawing,               Descriptor information in the SDP protocol of the local
  reference numeral 30 denotes a transport protocol Such as an            terminal device, and obtains link condition information in
  adaptation layer protocol 30 (for example, RTP (Realtime                Bluetooth (step S108).
  Transport Protocol)).                                                     (9) An AV application at the BT terminal 101, in order to
     Because the BT terminals 101 and 111 have the protocol               read the Descriptor information on the SDP protocol of the
  configurations shown in FIG. 2, in the case in which the AV             BT terminal 111, sends an SDP Request command to the
  application 28 is executed and AV data Sending and receiv               BT terminal 111 (step S109).
  ing processing is performed between the BT terminal 101                  (10) The BT terminal 101 gives notification of the
  and the BT terminal 111, the AV application 28 acquires            15   Descriptor information in the SDP protocol of the local
  wireless link condition information via the SDP protocol 26             terminal to the BT terminal 101. The Descriptor information
  and executes the AV/C Protocol 23 after interpreting this               with regard to which notification is given from the BT
  wireleSS link condition information. In accordance with                 terminal 111 is appended as Descriptor information of the
  AV/C commands sent to the AV/C protocol 23, AV data is                  SDP protocol of the BT terminal 101 and stored. By doing
  transferred via the protocol to the Audio 25 and the Video              this, the AV application at the BT terminal 101 acquires link
  24, for example.                                                        condition information on Bluetooth at the BT terminal 111
     In the current Bluetooth Specifications, one specific                side (step S110).
  method of acquiring the above-noted wireleSS link condition               (11) An AV application at the BT terminal 101 accesses
  information that can be envisioned is that in which an HCI              the wireless link condition information collected by the
  protocol (Host Controller Interface) defined as a Bluetooth        25   processing steps (8) to (10), and Selects an AV/C command
  protocol is provided at either the BT terminal 101 or the BT            to send to the VTR SubUnit of the BT terminal 111. At this
  terminal 111, and a “collect wireless link condition infor              point, whether or not AV data transfer can be done, and also
  mation” command is executed by the API (Application                     the selection of the AV data to be played and the transfer rate
  Programming Interface) of this protocol.                                are specified with consideration to the wireleSS link condi
     FIG. 3 shows an example of the processing Sequence in                tion information, and other various transfer parameters of
  which, in the wireless communication between BT terminals               processing details and the processing method can be made
  having the hardware configuration shown in FIG. 1, the BT               selectable (step Sill). Additionally, it is possible for the
  terminal 101 serves as a controller, AV data (that is, data that        above selection to be made by the intervention of a user. For
  is stored in the VTR SubUnit of the BT terminal 111) being              example, a GUI can be used to present a list of AV content
  readout via Bluetooth for viewing or the like. The specific        35   that can be transferred and Viewed, in response to the
  Sequence is as follows.                                                 wireleSS link condition information, the user being caused to
     (1) BT terminal 101 and BT terminal 111 approach one                 Select from this content the desired AV content.
  another and each recognizes that it is in a region enabling               (12) The BT terminal 101 sends an AV/C command (play
  communication with the other (processing performed by the               command) for the purpose of playing back desired AV data,
  Baseband processor 21) (step S101).                                40   for example, using a transfer parameter established at the
     (2) A connection is set up between the BT terminal 101               processing (11) to the BT terminal 111 (step S112). What is
  and the BT terminal 111 for the purpose of transfer of an               used at this point is a logical connection on the L2CAP Set
  AV/C command therebetween (processing performed by the                  at the processing (6).
  L2CAP processor 22) (step S102).                                           (13) The BT terminal 111 starts the AV data transfer in
     (3) The BT terminal 101 and the BT terminal 111 use a           45   response to the Play command (step S113). What is used at
  protocol (HCI) on the Bluetooth to collect wireless link                this point is the logical connection on the L2CAP set at the
  condition information (in particular, ACL link information)             processing (6).
  in which processing step (2) caused a change, and use the                  By performing processing as described above, the AV data
  SDP protocol to store same within a Descriptor. In this case,           transfer at the wireless terminals can be executed according
  the SDP information (103, 113) in FIG. 1 corresponds to the        50   to the wireless link condition thereof.
  Descriptor used in the SDP Protocol (step S103). Initializa                The Bluetooth link condition information (wireless link
  tion information with regard to the wireleSS link condition is          condition information) collected in processing steps (3) and
  stored within the Descriptor, this initialization information           (7) of the above processing sequence can be envisioned as
  being replaceable by the information collected in processing            being, for example, a type of transfer that can be used on the
  Step (3), as appropriate.                                          55   Bluetooth at this point (for example, ACL or SCO) and
     (4) The BT terminal 101 uses the SubUnit Info com                    conditions of that transfer method (such as bandwidth infor
   mand of the AV/C Protocol to collect SubUnit information               mation or channel information). Notice can also be made of
  existing in the BT terminal 111. What is used for this is a             the version information of the Bluetooth (for example, Ver.
  logical connection on the L2CAP set at (2) (step S104).                 1 or Ver. 2) and the operating electrical power mode of the
     (5) The BT terminal 111 makes notification of an AV/C           60   Bluetooth (for example, high-power mode or low-power
  response to the BT terminal 101 to the effect that the                  mode). Additionally, it can be envisioned that notification is
  VTR SubUnit 1112 exists as a SubUnit within the local                   given of the data link layer information, Such as the number
  terminal device (step S105).                                            of logical connection settings on the L2CAP. If possible, BT
     (6) The BT terminal 101 sets a logical connection on                 terminal hardware information (for example, wireless pro
  Bluetooth for the purpose of receiving AV data from the BT         65   cessing Section function information and version informa
  terminal 111 (processing performed by the L2CAP processor               tion of the protocol being followed) can also be captured as
  22).                                                                    part of the wireleSS link condition information. An upper AV
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  application, in response to this wireleSS link condition              data link layer management function, there exists a link
  information, can perform processing Such as establishing              monitor processor (LMP) 502. This link monitor processor
  whether or not data transfer can be done, changing the data           502 monitors and collects link condition information of
  transfer rate, or retrying the transfer.                              Bluetooth, and gives notification thereof to an SDP proces
     In the processing steps (3) and (7) of the above processing        Sor 504.
  Sequence, however, it is not necessarily possible to directly            At the L2CAP processor 503, there resides an SDP
  collect Such link condition information itself, Such as usable        processor 504 for accessing, notification, and response with
  transfer type (ACL or SCO) or bandwidth information and               respect to Service information (including wireless link con
  mode. The reason for this is that the information that can be         dition information) existing at the BT terminal 101, an AV/C
  collected from the ACI that is defined in the HCI is infor            processor 505 for execution of a control protocol for AV data
  mation that is only recognized within that protocol, and there        transfer with the BT terminal 111, an AV data processor 506
  are cases in which information itself, Such as a specific             for execution of AV data transfer with the BT terminal 111,
                                                                        and an SDP information storage section 509 for storage of
  bandwidth is not collected (for example, when the packet              wireleSS link condition information. Although in this case
  discard rate or number of channels being used is collected).          the AV data handled by the AV data processor 506 is
  For this reason, there are cases in which the SDP protocol 26    15
                                                                        basically data that is received by transfer via the L2CAP
  or an AV application 28 at the BT terminal 101 must rewrite           processor 503, it will be understood that the first embodi
  (convert) the obtained wireless link condition information            ment is not restricted in this manner, and that there is the
  into information that has meaning to the AV application 28,           case in which audio data from the SCO mode 5012 that
  Such as the bandwidth information or Bluetooth mode                   handles audio data used in a normal telephone is handled.
  information, in order to perform processing.                            At this point, notification of information collected at the
     FIG. 4 shows an example of Descriptor information held             Link monitor 502 is made to the SDP processor 504, and link
  by the SDP protocol executed in the first embodiment.                 condition information of Bluetooth stored in the SDP infor
     As shown in FIG. 4, under a Public Browse Root (S11)               mation storage section 509 is read out by the AV application
  that is the origin when Searching for Descriptor information          processor 508.
  in the SDP Protocol, there is are service groups such as         25     When this is done, the wireless link condition information
  Entertainment (S21), News (S22), and Reference (S23) and              collected at the Link monitor processor 502 is not limited to
  the like. For example, under the Entertainment group (S21),           parameters codable as SDP information. Additionally, the
  there is coded types of Stored new Sources.                           parameters representing wireleSS link condition information
     In the first embodiment, under the Reference group (S23),          coded in the SDL processor 504 are not necessarily param
  a BT-Link group (S26) is defined, in which information with           eter that can be read out by an upper AV application
  regard to the wireless link (Bluetooth) stored. Under the             processor 508. Therefore, in the SDP processor 504 a
  BT-Link group there is an information group with regard to            function of performing processing to convert information
  the ACL (S27) and an information group with regard to the             collected at the link monitor processor 502 to a parameter
  SCO (S28). Under the information group with regard to the             that is readable by the SDP processor 504 is provided within
  ACL link (S27), there is coded information such as the           35   the SDP processor 504 (this being executed in by the SDP
  usable bandwidth on the ACL link (S31), information of the            parameter conversion section 504b in FIG. 5), and a function
  usable channel numbers (S32), and information with regard             of performing processing to convert information coded
  to the corresponding QOS (Quality of Service) (S33). Under            within the SDP processor 504 to a parameter that is readable
  the information group with regard to the SCO link (S28),              by an AV application processor 508 is provided within the
  there is information with regard to, for example, the number     40   AV application processor 508 (the application parameter
  of usable SCO channels (S34). Additionally, although not              conversion section 508b in FIG. 5).
  shown in FIG. 4, in addition to information by the type of              Additionally, the AV application processor 508, based on
  transfer, such as ACL or SCO, this Descriptor information             this wireleSS link condition information, establishes the
  can have coded in it as Bluetooth condition information               processing that the AV/C processor 505 and the AV data
  other condition information Such as Bluetooth version infor      45   processor 506 should perform and gives notification of the
  mation or electrical power mode and hardware information.             SC.
     By using a Descriptor Such as described above, it is                  Specifically, the AV application processor 508, in
  possible using the SDP protocol 26 to collect BT-Link                 response to this wireleSS link condition information, per
  information of a local BT terminal, or to read out BT-Link            forms Such AV application processing as determining
  information of another BT terminal. Specifically, in the         50   whether or not data transfer is possible, changing the data
  processing steps (3) and (7) of the processing sequence of            transfer rate, and re-transmitting data, executing this pro
  FIG. 3, information under the information group (S27) with            cessing while controlling the SDP processor 504, the AV/C
  regard to the ACL link of the local BT terminal is collected,         processor 505, and the AV data processor 506. The BT
  and at the processing steps (9) and (10), information of the          terminal 101 has a display section 507 for displaying video
  information group (S27) with regard to the ACL link of the       55   data (or AV data) processed by the AV data processor 506.
   BT terminal 111 is read out.                                         For example, the display section 507 can display a list of AV
     FIG. 5 shows an example of a block diagram of the                  data (content) that can be transferred, and the user can be
  internal configuration of a BT terminal 101 used in the first         made to select AV data to be transferred from this list.
  embodiment of the present invention.                                    The BT terminal 111 that transferS AV data, in contrast to
     The BT terminal 101 in the first embodiment is capable of     60   the BT terminal 101 that acts as a controller, can be provided
  wireleSS communication using Bluetooth, and has for this              with all functions, or can have the AV application processor
  purpose a Bluetooth interface processor 501 that executes             508 and display section 507 omitted.
  physical layer processing.                                              According to the first embodiment of the present
     The Bluetooth interface processor 501 has two types of             invention, in a wireleSS network in which the condition of a
  defined transfer modes, an ACL mode 5011 and an SCO              65   link varies dynamically, it is possible for an upper applica
  mode 5012. As a data link layer function using the ACL                tion to perform AV data transfer while consideration is given
  mode 5011, there exists a L2CAP processor 503, and as a               to the wireleSS link condition.
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  Second Embodiment                                                       condition information in which processing step (2) caused a
    A Second embodiment of a wireleSS network System                      change, and Store the same within a Descriptor used in the
  according to the present invention is described below, with             AV/C Protocol (step S703). In this case, the SDP informa
  reference made to FIG. 6 to FIG. 9.                                     tion (103,113) in FIG. 1 is replaced by the Descriptor used
    The second embodiment is another form of the first                    in the AV/C Protocol.
  embodiment shown in FIG. 1, in which AV data transfer is                  (4) The BT terminal 101 uses the SubUnit Info com
  performed between a BT terminal 101 and a BT terminal                   mand of the AV/C Protocol to collect SubUnit information
  111. In the second embodiment, similar to the case of the               existing in the BT terminal 111. What is used for this is a
  first embodiment, because the BT terminal 101 and the BT                logical connection on the L2CAP Set at processing (2) (Step
  terminal 111 are connected by Bluetooth, a what transfer rate           S704).
  AV data at the BT terminal 111 can be transferred is                       (5) The BT terminal 111 makes notification of an AV/C
  established by the link type used in Bluetooth, and the                 response to the BT terminal 101 to the effect that the
  degree of noise on Bluetooth.                                           VTR SubUnit 112 exists as a SubUnit within the local
     In the Second embodiment, a method of giving notice of               terminal device (step S705).
  the Bluetooth link condition information to an AV applica          15     (6) The BT terminal 101 sets a logical connection on
  tion is not that of using an SDP protocolas is done in the first        Bluetooth for the purpose of receiving AV data from the BT
  embodiment, but rather that of giving notification by using             terminal 111 (processing performed by the L2CAP processor
  an AV/C Protocol used by an AV application.                             21) (step S706).
     FIG. 6 shows an example of a protocol stacking BT                      (7) The BT terminal 101 and the BT terminal 111 use a
  terminal in the above case.                                             protocol (HCI) on the Bluetooth to collect wireless link
     In FIG. 6, there is no SDP protocol processor 26 which in            condition information in which processing (6) caused a
  the first embodiment performs processing for passing wire               change, and Stores the same within a DeScriptor used in the
  less link condition information. In its place, there is an LMP          AV/C Protocol (step S707). In this case, the SDP informa
  (Link Management Protocol) processor 29 that using the                  tion 103 and 113 shown in FIG. 1 is replaced by the
  ACL mode 211 of a Baseband processor 21, similar to the            25   Descriptor information in the AV/C Protocol.
  L2CAP processor 22. This LMP protocol processor 29                        (8) An AV application at the BT terminal 101 reads the
  collects wireless link condition information. The collected             Descriptor information in the AV/C Protocol of the local
  wireleSS link condition information is converted to a format            terminal device, and obtains link condition information in
  that can be interpreted by an AV/C Protocol processor 23                Bluetooth (step S708).
  defined as a protocol at the L2CAP 22, notification thereof               (9) The BT terminal 101, in order to obtain information
  being made to the AV/C Protocol processor 23. In the second             with regard to the VTR SubUnit 112 within the BT termi
  embodiment, therefore, when performing sending and                      nal 111, sends a Read Descriptor command (AV/C Protocol
  receiving of AV data between BT terminals, an AV applica                command) to the BT terminal 11 for the purpose of reading
  tion 28 can collect wireless link condition information from            the Descriptor in the AV/C Protocol (step S709). What is
  the AV/C Protocol processor 23.                                    35   used at this point is the logical connection Set at the
     In the example described below, the notification of the              processing (2).
  wireless link condition information using the AV/C Protocol               (10) The BT terminal 111 gives notification of the
  processor 23 is described for the case in which the method              Descriptor information in the AV/C Protocol of the VTR
  of using the Descriptor at the AV/C Protocol is that in which           SubUnit 112 of the local terminal device to the BT terminal
  the wireleSS link condition information is appended to part        40   101 (step S701). When this is done, notification is also made
  of the Descriptor information. Other methods of giving                  of wireless link condition information (which can include,
  notification of the wireleSS link condition information to an           for example, content information Such as the encoding
  upper application using the AV/C Protocol that can be                   method). The wireless link condition information for which
  envisioned include the method of writing the wireless link              notification is made is appended to the coding of the
  condition information to response information to a com             45   Descriptor information of AV/C to be stored in the AV/C
   mand to collect SubUnit information defined as an AV/C                 information storage section 910 shown in FIG. 9. What is
  Protocol command (SubUnit Information command), and                     used in this notification is the logical connection on the
  the method of defining a separate AV/C Protocol command                 L2CAP set at the processing (2).
  for reading out and giving notification of a wireleSS link                (11) The BT terminal 101 reads the link condition infor
  condition.                                                         50   mation of the received Descriptor, and selects an AV/C
     FIG. 7 shows an example of the processing Sequence in                command in accordance with these link conditions for the
  the second embodiment, wherein with the hardware con                    purpose of acquiring content (step S711). Also a Selection is
  figuration shown in FIG. 1, a BT terminal 101 reads out AV              made of a transfer method (ACL or SCO) that is required by
  data (video data stored within the VTR SubUnit 112 of the               the AV data and capable of use by the Bluetooth. For
  BT terminal 111) for viewing.                                      55   example, it is possible to make Selection of various proceSS
     The actual Steps of the processing Sequence are as fol               ing details and methods, Such as Selection of AV data to be
  lows.                                                                   played and Specification of rates, giving consideration to the
    (1) BT terminal 101 and BT terminal 111 approach one                  wireless link condition. Additionally, it is possible for the
  another and each recognizes that it is in a region enabling             above selection to be made by the intervention of a user. For
  communication with the other (processing performed by the          60   example, a GUI can be used to present a list of AV data that
  Baseband processor 21) (step S701).                                     can be transferred and viewed, in response to the wireleSS
    (2) A connection is set up between the BT terminal 101                link condition information, the user being caused to Select
  and the BT terminal 111 for the purpose of transfer of an               from this listed content the desired AV content.
  AV/C message therebetween (processing performed by the                    (12) The BT terminal 101 transfers the above-noted
  L2CAP processor 22) (step S702).                                   65   Selected AV/C command to the BT terminal 111 So as to
    (3) The BT terminal 101 and the BT terminal 111 use a                 Specify AV data, after which it sends an AV data playback
  protocol (HCI) on the Bluetooth to collect wireless link                command (play command) to the BT terminal 111. What is
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  used at this point is a logical connection on the L2CAP Set            the Bluetooth ACL mode (A41), information with regard, for
  at processing (2).                                                     example, to the number of channels that can be used in SCO
     (13) The BT terminal 111 start the AV data transfer in              (A42), the title of an MPEG2 encoded movie and the usable
  response to the “play” command. What is used at this point             transfer speed (A43), and the title of an MPEG4 encoded
  is the logical connection on the L2CAP Set at the processing           movie and the usable transfer speed (A44). Although not
  (6).                                                                   shown in FIG. 8, in addition to information by the type of
     By performing processing as described above, AV data                transfer, such as ACL or SCO, this Descriptor information
                                                                         can have coded in it as Bluetooth condition information
  transfer between wireleSS terminals can be performed                   other condition information Such as Bluetooth version infor
  efficiently, in accordance with the associated wireleSS link           mation or electrical power mode and BT terminal 111
  condition.
                                                                         hardware information.
     AS described above, in addition to the method of reading               FIG. 9 shows an example of a block diagram of the
  the Descriptor to collect wireless link condition information          internal configuration of a BT terminal 101 used in the
  on the AV/C protocol, there is the method of notation in the           Second embodiment.
  response information to the collection command (SubUnit                  The BT terminal 101 of the second embodiment has a
  Info command) of the SubUnit information at processing            15   Bluetooth interface processor 901, for executing Bluetooth
  (5). It can be envisioned that at processing (9), rather than          physical layer processing, an L2CAP processor 903 using an
  Sending a Read Descriptor command, a command for the                   ACL mode 9011 defined in the Bluetooth interface processor
  purpose of collecting wireleSS link condition information              901, and a link monitor processor (LMP) 902. The link
  (for example, a Read DataLinkInfo) is defined and then                 monitor processor 902 collects Bluetooth link condition
  used.                                                                  information and makes notification of this wireleSS link
    The wireless link condition information about which                  condition information to an AV/C processor 905. At this
  notification is made at the processing (10) in the above               point, the wireleSS link condition information collected at
  noted processing Sequence, Similar to the case of the first            the Link monitor processor 902 is not necessarily informa
  embodiment, can be envisioned as including Such informa                tion that is readable by the AV/C Protocol. For this reason,
  tion as the type of transfer and condition of transfer possible   25   an information conversion processor 909 exists between the
  on Bluetooth, Bluetooth version information, or electrical             link monitor processor 902 and the AV/C processor 905 for
  power mode information. At the processing (3) and (7) in the           the purpose of converting wireleSS link condition informa
  above-noted processing Sequence, it is assumed that there is           tion collected at the link monitor processor 902 to a format
  a case in which it is necessary to perform Some type of                that enables inclusion in the Descriptor information of AV/C
                                                                         protocol.
  Information conversion So as to adapt the collected wireleSS              An AC/V processor 905 that executes the AV/C Protocol
  link condition information to the representation in the                and an AV data processor 906 that performs transfer of the
  Descriptor of the AV/C Protocol.                                       actual AV data using the ACL mode 9011 or the SCO mode
    At processing (10) of the above-noted processing                     9012 remain at the L2CAP processor 903. The Bluetooth
  Sequence, although a Selection is made of content to be                link condition information collected by the link monitor
  received, in accordance with wireleSS link condition infor        35   processor 902 and about which notification is made to the
  mation (the content information being included in the                  AV/C processor 905 is held and stored in an AC/V infor
  received Descriptor information), a different method for               mation storage section 910, and is read out by the AV
  adapting to the wireleSS link condition information from that          application processor 908. The AV application processor
  of Selecting content. For example, in the case in which the            908, based on the read-out wireless link condition
  VTR SubUnit 112 of the BT terminal 111 has a real-time            40   information, makes a determination and notification of the
  encoder function, it can be envisioned that the encoding rate          processing to be performed by the AV/C processor 905 and
  of the encoder is controlled in accordance with the wireleSS           AV data processor 906. A display section 907 exists for the
  link condition information. In the case in which the VTR               display of Video data processed by the AV data processor
  SubUnit 112 has a plurality of encoding functions (for                 906.
  example, an MPEG2 encoding function and an MPEG4                  45     According to the Second embodiment of the present
  encoding function), a method can also be envisioned in                 invention, in a wireleSS network in which the link condition
  which a type of encoding function to be executed is Selected           varies dynamically, it is possible using the Descriptor of the
  in accordance with this wireleSS link condition information,           AV/C Protocol to perform optimum AV data transfer, giving
  and an encoding method capable of providing a rate that can            consideration to the wireleSS link condition information.
  be used on the wireless link is used to encode and sent AV        50   Third Embodiment
  data within the VTR SubUnit 112.                                         Next, a wireleSS network System according to a third
     FIG. 8 shows an example of Descriptor information                   embodiment of the present invention is described in detail
  within an AC/V Protocol within a BT terminal 111 of the                below, with references made to FIG. 10 to FIG. 12. The third
  Second embodiment.                                                     embodiment provides a function of performing optimized
     FIG. 8 shows the case in which a Descriptor is defined in      55   data transfer in a network configuration formed by the
  each SubUnit identifiable by the AV/C Protocol, the Descrip            integration of a wireleSS network and a wired network, in
  tors for each SubUnit being represented hierarchally. In the           which the WireleSS link condition information is considered.
  example shown in FIG. 8, first a DataLink Descriptor                     FIG. 10 shows an example of the configuration of a
  (A21) corresponding to a communication interface of the BT             network formed by integrating a wireless LAN (Bluetooth)
  terminal 111 and a Contents Descriptor (A22) correspond           60   and IEEE 1394, for the case of performing AV data transfer.
  ing to a Stored movie or game are indicated as an Object                 In FIG. 10, a 1394 terminal 1001 on the IEEE 1394 bus
  group existing within a Root Descriptor (A11) of the VTR               and a BT terminal 1021 on the Bluetooth perform AV data
  SubUnit 112. As the Objects, the DataLink Descriptor                   transfer via a wireless gateway (GW) apparatus 1011 that
  (A21) has the Bluetooth Object (A31) and the Contents                  connects the IEEE 1394 with Bluetooth.
  Descriptor (A22) has the Movie Object (A32). Each Object          65     In the third embodiment, the BT terminal 1021 has a
  group (A31 and A32) has the specific parameters indicated              display function and a Display SubUnit 1023 in the AV/C
  such as the bandwidth at which transfer can be performed in            Protocol, and holds the SDP information 1022 for Bluetooth.
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     The 1394 terminal 1001 has a VTR function, and holds                  (7) The wireless gateway 1011 makes notification of the
  the VTR SubUnit 1003 in the AV/C Protocol.                            VTR SubUnit 1003 as a SubUnit existing at the local
    Additionally, the wireleSS gateway apparatuS 1011 that              terminal (actually VTR SubUnit is a SubUnit existing in
  connects the IEEE 1394 and the Bluetooth provides a proxy             the 1394 terminal) to the BT terminal 1021 as a VTR
  function for the purpose of connecting the IEEE 1394 bus              SubUnit 1013 within the local terminal device (step S307).
  and the Bluetooth on the AV/C Protocol layer.                         What is used at this time is the logical connection on the
     Specifically, the wireleSS gateway apparatuS 1011 make             L2CAP set at processing (2).
  the BT terminal 1021 recognize the VTR SubUnit 1003,                     (8) The BT terminal 1021 sets up a logical connection on
  which actually exists within the 1394 terminal 1001, as if it         the L2CAP for the purpose of receiving AV data from the
  existed within the local terminal device (in the gateway              wireless gateway apparatus 1011 (step S308), processing
  apparatus 1011). That is, the BT terminal 1021 recognizes             being performed by the L2CAP processor 22.
  the existence of the VTR SubUnit 1003 within the wireless                (9) The wireless gateway apparatus 1011 establishes a
  gateway apparatus 1011. By executing this proxy processing            connection on the IEEE 1394 bus for the purpose of receiv
  the BT terminal 1021, without being aware of the specific             ing AV data from the 1394 terminal 1001 (step S309)
  network configuration (the fact that the Bluetooth is actually   15
                                                                        (executes the IEC 61883 Protocol).
  connected to the IEEE 1394), just executes the AV/C Pro                  (10) The BT terminal 1021 and the wireless gateway
  tocol defined on the Bluetooth, thereby enabling execution            apparatus 1011 each use the HCI Protocol to collect wireless
  of the AV/C Protocol between it and the 1394 terminal 1001            link condition information (Bluetooth condition
  on the IEEE 1394. The wireless gateway apparatus 1011 also            information) in which a change resulted from the above
  holds SDP information 1012 on the Bluetooth.                          noted processing (8), and store same into the SDP informa
     In the third embodiment as well, similar to the case of the        tion 1012 and 1020 (Descriptors used in the SDP Protocol),
  first embodiment, because the BT terminal 1021 and the                respectively (step S310).
  wireless gateway 1011 are connected by a wireless LAN                    (11) An AV application at the BT terminal 1021 read the
  (Bluetooth), at what transfer speed it is possible to perform         SDP Protocol Descriptor information of the local terminal
  AV data transfer between the BT terminal 1021 and the 1394            device and obtains the Bluetooth link condition information
  terminal is dependent upon the link condition of the wireleSS    25   (step S311).
  LAN (Bluetooth). In the third embodiment, a protocol stack               (12) The AV application at the BT terminal 1021 sends an
  (refer to FIG. 2) similar to that of the first embodiment is          SDP Request command to the wireless gateway 1011 for
  used to execute an AV application on Bluetooth, the SDP               the purpose of reading the Descriptor information in the SDP
  information 1012 on the wireless gateway apparatus 1011               Protocol of the wireless gateway apparatus 1011 (step
  and the SDP information 1022 on the BT terminal 1021                  S312).
  being directly read from the AV application. Therefore, use              (13) The wireless gateway apparatus 1011 gives notifica
  of an API in the HCI protocol is assumed to be used as                tion to the BT terminal 1021 of the Descriptor information
  means for collecting Bluetooth link condition information in          in the SDP Protocol at the local terminal device (step S313).
  the third embodiment as well.                                         The Descriptor information in the SDP Protocol at the local
     FIG. 11 shows an example of the processing Sequence in        35   device of which notification is given is added to the coding
  the third embodiment, for the case in which the BT terminal           of the Descriptor information of the SDP Protocol at the BT
  1021, which serves as a controller, reads out AV data (data           terminal 1021 and stored in the SDP information storage
  Stored in the VTR SubUnit 1003 of the 1394 terminal                   Section (the same as the SDP information storage Section
  1001) for viewing or the like. The actual processing steps are        509 of FIG. 5).
  as follows.                                                      40     (14) The BT terminal 1021 accesses the link condition
     (1) The BT terminal 1021 and wireless gateway apparatus            information collected at processing (12) and Selects an AV/C
   1011 approach one another and each recognizes that it is in          command to be sent to the VTR SubUnit 1013 of the
  a region enabling communication with the other (processing            wireless gateway 1011 (step S314). It is possible, for
  performed by the Baseband processor 21) (step S301).                  example, to make Selectable various processing details and
     (2) A logical connection is set up for the purpose of AV/C    45   processing methods, Such as the Selection of AV data to be
  message transfer between the BT terminal 1021 and the                 played back and the rate, giving consideration to the con
  wireless gateway apparatus 1011 (processing being per                 dition of the wireless link. The above-noted selection can be
  formed by the L2CAP processor 22) (step S302).                        made with the intervention of a user. For example, a GUI can
     (3) The BT terminal 1021 and the wireless gateway 1011             be used to present a list of AV content that can be viewed,
  collect wireless link condition information (Bluetooth con       50   and the user can be made to Select the desired AV content
  dition information) in which processing (2) cause as change,          from the list.
  and store same within the SDP information storage sections               (15) The BT terminal 1021 transfers to the wireless
  1012 and 1022 (Descriptors used by the SDP protocol),                 gateway 1011 an AV/C command (play command) for the
  respectively (step S303).                                             purpose of playing back desired AV data (step S315). What
     (4) Before and after the processing (1) through (3), the      55   is used at this time is a logical connection on the L2CAP Set
  wireless gateway 1011 uses a SubUnit Info command of                  at processing (2).
  the AV/C Protocol to collect SubUnit information that exists             (16) The wireless gateway apparatus 1011 transfers the
  in the 1394 terminal 1001 (step S304).                                received command (Play command) to the VTR SubUnit
     (5) The 1394 terminal 1001 makes notification to the               1003 that is the destination of this command within the 1394
  wireless gateway 1011 of the fact that a VTR SubUnit 1003        60   terminal 1001 on the IEEE 1394 bus corresponding to the
  exists as a SubUnit in the local terminal device, in the form         VTR SubUnit 1013 (step S316).
  of an AV/C response (step S305).                                         (17) The VTR SubUnit 1003 within the 1394 terminal
     (6) The BT terminal 1021 uses SubUnit Info command                 1001 starts the transfer of AV data (step S317). What is used
  of the AV/C Protocol to collect SubUnit information existing          at this time is a connection on the IEEE 1394 bus set at
  in the connected wireless gateway apparatus 1011 (Step           65   processing (9).
  S306). What is used at this point is a logical connection on             By performing processing in this manner, it is possible to
  the L2CAP set by processing (2).                                      efficiently execute the transfer of AV data across an IEEE
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   1394 bus and a wireless LAN (Bluetooth), in accordance               be understood by the gateway function processor 1208 can
  with the condition of the wireleSS link, and in doing this, it        be provided within the gateway function processor 1208
  is possible to use the same type of the Bluetooth link                (this being executed by the gateway conversion section
  condition information and method of notification to the SDP           1208b shown in FIG. 12).
  Protocol of the collected link condition information as                  In the IEEE 1394 interface processor 1202, there exists a
  described with regard to the first embodiment.                        transaction processor 1205 for executing transaction pro
    Although it is not shown in the drawing, the Descriptor             cessing for performing data transfer in the asynchronous
  information in the SDP Protocol held in the wireless gate             mode on the IEEE 1394 bus.
  way 1011 of the third embodiment is the same as the                      At the AV data processor 1207 that executes AV data
  Descriptor information (refer to FIG. 4) in the case of the           transfer between Bluetooth and the IEEE 1394 bus, protocol
  first embodiment. However, because the wireleSS gateway               processing is performed, protocol processing with respect to
  apparatus 1011 does not only have a Bluetooth interface, but          data Such as audio data form the SCO mode 12012 at the
  also has an IEEE 1394 interface, in the AV/C Protocol layer,          baseband processing 1201 of Bluetooth and AV data that is
  link information of this IEEE 1394 bus is also stored and             sent and received via the L2CAP processor 1204 from the
  accessed.                                                        15   ACL mode 12011. It is possible to use an isochronous
     FIG. 12 is shows an example of the block diagram of the            channel or asynchronous packets on the IEEE 1394 bus to
  internal configuration of a wireleSS gateway 1011 used in the         execute protocol processing of AV data, and to transfer AV
  third embodiment. In the third embodiment, the BT terminal            data that bridges across Bluetooth and the IEEE 1394 bus.
  1021 on the wireless network can be implemented by the                   Additionally, to enable execution of an AV/C Protocol that
  Same type of wireless terminal device as in the first embodi          bridges across Bluetooth and the IEEE 1394 bus via the
  ment shown in FIG. 1 or the second embodiment shown in                wireleSS gateway apparatuS 1011, there is a gateway func
  FIG. 9. Because there is no need to consider a network                tion processor 1208. At this gateway function processor
  beyond the wireleSS gateway apparatus, the 1394 terminal              1208, in addition to execution of the AV/C Protocol proxy
  1001 on the wired network can be the same type of terminal            processing, processing Such as determining whether or not
  device as used in the conventional art.                          25   data transfer is possible, establishing the transfer parameters,
     The wireless gateway apparatus 1011 of the third embodi            and controlling transfer is also performed, in accordance
  ment can perform both wireleSS communication by Blue                  with the wireless link condition information.
  tooth and wired communication by the IEEE 1394, and                     According to the third embodiment of the present
  performs connection processing between these differing                invention, by using the above-noted wireleSS gateway
  communication interfaces. It is also possible to perform              apparatus, it is possible to perform AV data transfer and data
  proxy processing that enables execution of an AV/C Protocol           transfer control that bridges acroSS a wireleSS LAN Such as
  that bridges across the IEEE 1394 bus and Bluetooth.                  Bluetooth and the IEEE 1394. It is sufficient that a BT
     In order to perform this processing, within the wireleSS           terminal on the wireless network (a wireless terminal)
  gateway 1011 in the third embodiment, there is a Bluetooth            execute data transfer control with respect to the wireleSS
  interface processor 1201 that executes the Bluetooth physi       35   gateway 1011, and it is not necessary to be aware of the
  cal layer, and an IEEE 1394 interface processor 1202 that             IEEE 1394 protocol beyond the gateway. Without having to
  executes the physical layer and the link layer of the IEEE            make a functional expansion of a conventional terminal
   1394.                                                                device as used in a wired network, it is possible to achieve
     In the Bluetooth interface processor 1201 there are two            efficient AV data transfer via a gateway apparatus with
  types of data transfer modes, an ACL mode 12011 and an           40   respect to a wireleSS terminal on a wireleSS network.
  SCO mod 12012. An L2CAP processor 1204 exists as a data               Fourth Embodiment
  link layer function using the ACL mode 12011 and a link                 A wireleSS network System according to the fourth
  monitor processor 1203 exists as a data link layer manage             embodiment of the present invention is described in detail
  ment function. The link monitor processor 1203 collects               below, with references being made to FIG. 13 to FIG. 16.
   Bluetooth link condition information, and makes notification    45     In the fourth embodiment, the difference with respect to
  thereof to the SDP processor 1206. The Bluetooth link                 the above embodiments is that it is assumed in this embodi
  condition information collected at the link monitor processor         ment that a user accesses a 1394 terminal 1301 on the IEEE
  1203 and of which notification is made to the SDP processor           1394 bus to view AV data within a wireless terminal 1321
  1206 is held and stored in the SDP information storage                existing on the wireless LAN. Similar to the case of the third
  section 1209, and is read out by the gateway function            50   embodiment, a wireleSS gateway apparatus 1311 makes a
  processor (AV/C processor) 1208.                                      connection between the wireless LAN and the IEEE 1394
     When this is done, the wireless link condition information         bus. In the fourth embodiment, an assumption made is that
  collect at the link monitor processor 1203 is not necessarily         of the use of a LAN having a fall-back function (a function
  a parameter that can be coded as SDP information.                     which changes the transfer rate in response to the wireleSS
  Additionally, parameters that represent the wireleSS link        55   condition when the wireless LAN is started up) such as in
  condition information coded in the SDP processor 1206 are             IEEE 802.11 as the wireless LAN.
  not necessarily parameters that can be read by the upper                 FIG. 13 shows an example of the network configuration
  gateway processor (AV/C processor) 1208. Therefore, in this           for the case in which AV data transfer is performed with a
  case, for example, a function that performs processing                configuration formed by the integration of a wireleSS LAN
  (calculation processing) for conversion of information col       60   (Bluetooth) with an IEEE 1394.
  lected at the link monitor processor 1203 to parameters that            In the fourth embodiment, there is a Display SubUnit
  can be understood by the SDP processor 1206 can be                    1303 within the 1394 terminal 1301, and a VTR SubUnit
  provided within the SDP processor 1206 (this being                    1323 within the wireless terminal 1321. The wireless gate
  executed by the SDP conversion section 1206b shown in                 way apparatuS 1311 provides a proxy function for executing
  FIG. 12), and a function that performs conversion process        65   an AV/C Protocol that bridges across the IEEE 1394 and the
  ing (calculation processing) for conversion of information            wireless LAN (Same function as that of wireless gateway in
  coded within that SDP processor 1206 to parameters that can           the third embodiment), and makes the 1394 terminal 1301
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  recognize the VTR SubUnit 1313 corresponding to the                    command to be sent to the VTR SubUnit 1303 of the
  VTR SubUnit 1323 actually existing in the wireless termi               wireless gateway apparatus 1311 (step S411). Furthermore,
  nal 1321 as the SubUnit existing in the local terminal device.         immediately before the operation of selecting this AV/C
  Additionally, condition information for the wireleSS link,             command it is possible to perform the processing of (7) and
  including the fall-back function information of the wireless           (8) again with the wireless gateway apparatus, and further
  LAN is stored in the link information 1312 and 1322 within             for the wireleSS gateway apparatus 1311 to request notifi
  the wireless gateway 1311 and wireless gateway 1321,                   cation of Descriptor information from the BT terminal 1321,
  respectively.                                                          So as to obtain the wireleSS link condition and content
    In the fourth embodiment, as shown in FIG. 14, the same              information when transmitting data. In the Selection of this
  type of protocol Stack as in the case of the Second embodi             AV/C command, it is possible to perform selection of the AV
  ment (refer to FIG. 6) is used execute an AV application on            data to be played and Specification of the rate. Additionally,
  the wireless LAN. However, the Bluetooth physical layer                for example, it is possible to make Settings of various
  part and the L2CAP processor each correspond to the                    processing details and methods, Such as the Selection of AV
  physical layer part and the MAC layer part of the IEEE                 data to be played and the transfer rate selectable. It further
  802.11 wireless LAN, respectively. On the IEEE 802.11             15
                                                                         possible to make the above-noted Selections by intervention
  wireless LAN as well, a protocol that collects wireless link           of a user. For example, a GUI can be used present a list of
  condition information similar to LMP is separately defined.            AV content that can be transferred and viewed, in accor
     FIG. 15 shows an example of the processing Sequence for             dance with the wireleSS link condition information, and the
  the case in which, in the fourth embodiment, AV data (data             user being caused to Select from this listed content the
  Stored within the VTR SubUnit 1323 of the wireless ter                 desired AV content.
  minal 1321) is read out from 1394 terminal 1301 and                      (12) The 1394 terminal 1301 sends an AV/C command
  Viewed. The actual processing StepS are as follows.                    (play command), for the purpose of playing back the desired
    (1) The wireless LAN is started, and a modulation system             AV data, to the wireless gateway apparatus 1311 (step S412).
  is established So as to achieve a transfer rate commensurate             (13) The wireless gateway apparatus 1311 sends the
  with the condition between the wireless gateway 1311 and               received command (play command) to the VTR SubUnit
  the wireless terminal 1321 (step S401).                           25   1323 that is the destination of this command within the
     (2) The wireless gateway apparatus 1311, as a result of             wireless terminal 1321 on the wireless LAN corresponding
  fall-back, makes notification of the Selected transfer rate and        to the VTR SubUnit 1313 (step S413).
  the like to the AV/C Protocol (step S402).                                (14) The VTR SubUnit 1323 within the wireless termi
     (3) The wireless gateway apparatus 1311, using a                    nal 1321 starts AV data transfer with respect to the 1394
  SubUnit Info command of the AV/C Protocol, collects                    terminal 1301 (step S414).
  SubUnit information existing in the wireless terminal 1321                By performing the above processing, it is possible to
  (step S403).                                                           perform highly efficient AV data transfer that bridges across
     (4) The wireless terminal 1321 makes notification to the            the IEEE 1394 and a wireless LAN (IEEE 802.11), respon
  wireleSS gateway apparatus 1311 of the AV/C response, to               sive to the condition of the wireless link therebetween.
  the effect that the a VTR SubUnit 1323 exists within the          35      FIG. 15 is a drawing showing an example of the Descrip
  local terminal device, in the form of AV/C response (step              tor information within the wireleSS gateway apparatus 1311
  S404).                                                                 of the fourth embodiment.
     (5) The 1394 terminal 1301, for example, uses the                     The Descriptor information of the fourth embodiment as
  SubUnit Info command of the AV/C Protocol to collect                   well, Similar to the case of the Second embodiment, indicates
  SubUnit information existing at the wireleSS gateway appa         40   the case in which the Descriptor is defined for each SubUnit
  ratus 1311 (step S405).                                                identifiable in the AV/C Protocol.
     (6) The wireless gateway apparatus 1311 makes notifica                In the example shown in FIG. 15, the object group
  tion to the 1394 terminal 1301 of the VTR SubUnit 1323                 existing within the Root Descriptor (A11) of the VTR
  actually existing within the wireleSS terminal 1321 as a               SubUnit 1313 shows the DataLink Descriptor (A21) cor
  SubUnit existing within the local terminal (as the VTR            45   responding to the communication interface of the wireleSS
  SubUnit 1311 existing within the local terminal) (step                 gateway apparatus 1311 and the Contents Descriptor (A22)
  S406).                                                                 corresponding to a Stored Video or game or the like. The
    (7) The 1394 terminal 1301, in order to obtain information           individual objects that exist are an object (A31) correspond
  with regard to the VTR SubUnit 1313 within the wireless                ing to the IEEE 802.11 in the DataLink Descriptor (A21)
  gateway apparatus 1311, Sends a Read Descriptor com               50   and a movie object (A32) in the Contents Descriptor
  mand for reading the associated Descriptor (step S407).                (A22). Each of the object groups (A31, A32, and A33) has
    (8) The wireless gateway apparatus 1311 makes notifica               Specific parameterS Such as the transfer rate after fall-back
  tion to the 1394 terminal 1301 of the Descriptor information           on the IEEE 802.11 (A45), the usable bandwidth in the
  of the VTR SubUnit within the local terminal (step S408).              asynchronous mode on the IEEE 1394 (A46), the number of
  At this time, the fall-back information as well as the content    55   channels set for the isochronous mode (A47), the title of an
  information is notified to the wireleSS gateway apparatus              MPEG2 encoded movie and the usable transfer rate (A43),
  1301.                                                                  and the title of an MPEG4 encoded movie and the usable
     (9) The 1394 terminal 1301 establishes a connection on              transfer rate (A44). Although it is not shown in FIG. 15, this
  the IEEE 1394 bus in order to received AV data from the                Descriptor information can have coded in it condition infor
  wireless gateway apparatus 1311 (and for this purpose             60   mation Such as the type and version of the installed protocol,
  executes the IEC 61883 Protocol) (step S409).                          the Sending electrical power mode, and hardware informa
     (10) The wireless gateway apparatus 1311 establishes a              tion of the wireless terminal 1321.
  communication resource on the wireleSS LAN for the pur                   FIG. 16 is an example of a block diagram of the internal
  pose of receiving AV data from the wireless terminal 1321              configuration of the wireleSS gateway apparatuS 1311 used in
  (operation in the PCF mode) (step S410).                          65   the fourth embodiment.
    (11) The 1394 terminal 1301, accessing Descriptor infor                The wireless gateway apparatus 1311 of the fourth
  mation that received at processing (8), Selects an AV/C                embodiment can perform both wireleSS communication
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  using the IEEE 802.11 and wired communication using                       The present invention as it relates to a method or appa
  IEEE 1394, and executes connection processing between                  ratus can further be implemented as a computer-readable
  these differing interfaces. Proxy processing to enable execu           recording medium, into which is Stored a program for the
  tion of the AV/C Protocol that bridges across the IEEE 1394            purpose of execution by a computer the procedures corre
  bus and the IEEE 802.11 is also performed in the wireless              sponding to the present invention (or for the purpose of
  gateway apparatus 1311.                                                having a computer function as a means corresponding to the
     In order to perform this processing, the wireleSS gateway           present invention, or further for the purpose of implement
  apparatus 1311 of the fourth embodiment comprises an                   ing on a computer a function corresponding to the present
  IEEE 802.11 interface processor 1601, which executes IEEE              invention).
  802.11 wireleSS LAN physical layer processing, and an                     All or part of the above-noted functions can be imple
  IEEE 1394 interface processor 1602, which executes IEEE                mented as hardware, in the form of a personal computer or
  1394 bus physical layer processing and link layer process              a PDA (personal digital assistant), an AV equipment, or a
  Ing.                                                                   communication device Such as an access point and a home
     Within the IEEE 802.11 interface processor 1601 there               router, or as Software executed on this type of hardware.
  exists a fall-back processor 16011, which executes fall-back      15      The above-described embodiments can be implemented
  processing at the time of wireleSS LAN Startup, and this               as a computer-readable recording medium, into which is
  fall-back processor 16011 is connected to an information               Stored a program for the purpose of execution by a computer
  collection processor 1606 that collects transfer rate infor            of a prescribed means (or for the purpose of having a
  mation resulting from the fall-back processing and Send the            computer function as the prescribed means, or further for the
                                                                         purpose of implementing on a computer a prescribed
  collected information to an AV/C information Storage Sec               means). This recording medium can be loaded into a CPU of
  tion 1609 which stores the wireless link condition informa
  tion.                                                                  a computer and executed, thereby achieving the functions of
                                                                         the above-described embodiments.
    The IEEE 1394 interface processor 1602 is connected to                  In Summary, according to the present invention, it is
  a transaction processor 1605, which executes transaction               possible even in an environment formed by a connection
  processing for performing data transfer in the asynchronous       25
                                                                         between a wired network and a wireleSS network, Such as
  mode on the IEEE 1394 bus.
    There is an AV data processor 1607, which executes AV                between a wireleSS network environment exhibiting network
  data transfer between the MAC processor 1604 executing                 condition variations and an IEEE 1394 bus, to perform
  MAC protocol processing of the IEEE 802.11 or IEEE                     highly efficient data transfer, in accordance with the link
                                                                         condition in the wireleSS network.
  802.11 wireless LAN and the IEEE 1394 bus, this perform                  It is to be noted that, besides the embodiments described
  ing processing of Sending and receiving of AV data from the
  IEEE 802.11 or the IEEE 1394.                                          above, many modifications and variations of the above
     Additionally, there is a gateway function processor 1608            embodiments may be made without departing from the
  for the purpose of enabling execution of the AV/C Protocol             novel and advantageous features of the present invention.
  bridging across the IEEE 802.11 wireless LAN and the IEEE         35   Accordingly, all Such modifications and variations are
  1394, via the wireless gateway apparatus 1311. At this                 intended to be included within the Scope of the appended
                                                                         claims.
  gateway function processor 1608, in addition to execution of             What is claimed is:
  AV/C Protocol proxy processing and the like, in accordance                1. A terminal device for control of data between commu
  with wireleSS link condition information, control is executed          nicating entities on a network via a wireleSS link, compris
  of whether or not transfer is possible, the transfer              40
                                                                         ing:
  parameters, and AV data transfer.                                         an interface Section for performing Sending and receiving
    According to the fourth embodiment, by using the above                     of packets with a remote communicating entity;
  described wireleSS gateway apparatus, it is possible to per
  form AV data transfer and transfer control thereof that                   a link Setting Section for Setting a link for control and for
  bridges across a wireless LAN such as the IEEE 802.11 and         45         data transfer with the remote communicating entity;
  the IEEE 1394 bus.                                                        a wireleSS link information acquisition Section for acquir
    In the foregoing embodiments, it is possible to have a                     ing wireleSS link information indicating the condition
  terminal and gateway apparatus that acquire the topology                    of a wireless link between said terminal device the
  information and data link information and the like for AV                   remote communicating entity in the network at the time
  data transfer, that is, wireleSS link condition information, by   50        of Setting the link, and for updating the wireleSS link
  the local device only, and alternatively possible either to                 information acquired at the time of Setting the link by
  have this acquisition performed by other (remote) devices                   the current dynamically acquired wireless link
  only, or by both the local device and other devices. The AV                 information, the wireleSS link information including at
  application used as an example of an upper application can                  least transmittable bandwidth information;
  execute bi-directional data transfer.                             55     a wireleSS link information Storage Section for Storing the
    In the foregoing embodiments, although the descriptions                   acquired or updated wireleSS link information as
  were for the case in which an upper application at a data                   Descriptor information referable by the remote com
  receiving Side performed Selection of AV processing based                   municating entity; and
  on notified Information, it is alternatively possible for the            an application Section for, based on the wireleSS link
  upper application at a data Sending Side to perform Selection     60        information stored in the wireless link information
  of processing based on notified information.                                Storage Section, determining whether or not data can be
    The present invention can be applied to a home network                    transferred and, if data transfer is possible, changing a
  and further to various networks in an office or other envi                  transmission rate for transfer of data with the remote
  rOnment.                                                                    communicating entity, in accordance with the wireleSS
    The present invention related to an apparatus can also be       65        link information.
  implemented as a method, and a method according to the                   2. The terminal device according to claim 1, wherein the
  present invention can be implemented as an apparatus.                  wireless link information stored in the wireless link infor
Case 2:20-cv-03537-JAK-JEM Document 1 Filed 04/16/20 Page 45 of 144 Page ID #:45


                                                       US 6,885,643 B1
                                 25                                                                    26
  mation Storage Section includes wireleSS link information                   a wireleSS link between a local terminal device and the
  with regard to Said terminal device and wireleSS link infor                 remote communicating entity in the network at the time
  mation with regard to the remote communicating entity.                      of Setting the link, and for updating the wireleSS link
    3. The terminal device according to claim 2, wherein the                  information acquired at the time of Setting the link by
  wireleSS link information acquisition Section includes:                     the current dynamically acquired wireless link
     a remote wireleSS link information requesting Section for                information, the wireleSS link information including at
        requesting notification of wireleSS link information                  least transmittable bandwidth information;
        with regard to the remote communicating entity that the            a wireleSS link information Storage Section for Storing the
        remote communicating entity has, at the time of Startup               acquired or updated wireleSS link information as
        by the application Section; and                             1O        Descriptor information referable by the remote com
     a remote wireleSS link information receiving Section for                 municating entity; and
        receiving wireleSS link information of the remote com              a local terminal wireleSS link information notification
        munication entity, notification of which is made from                 Section for receiving from the remote entity a request
        the remote communication entity.                                      for local wireless link information of the local terminal
     4. The terminal device according to claim 1, further           15        and for Sending the local wireleSS link information to
  comprising:                                                                the remote communicating entity.
     a wireleSS link information updating Section for changing             13. A gateway device for controlling transfer of data
       wireless link information stored in the wireless link             between a first terminal device on a wired network and a
        information Storage Section to a format interpretable by         Second terminal device on a wireleSS network, the gateway
        the application Section and for passing the wireleSS link        device comprising:
        information to the application Section.                            a first interface Section for Sending and receiving packets
     5. The terminal device according to claim 1, wherein the                 via the wireleSS network,
  wireleSS link information Storage Section Stores wireleSS link           a Second interface Section for Sending and receiving
  information as information related to a constituent element
                                                                    25
                                                                              packets via the wired network,
  of Said terminal device.                                                 a first link Setting Section for Setting a link for control and
    6. The terminal device according to claim 5, wherein                      for data transfer with the Second terminal device;
    a SubUnit defined in the AV/C Protocol, upper layer                    a Second link Setting Section for Setting a link with the first
       protocol of the IEEE 1394, is used as the constituent                  terminal device;
       element.                                                            a wireleSS link information acquisition Section for acquir
    7. The terminal device according to claim 1, further                      ing wireleSS link information indicating a condition of
  comprising:                                                                 a wireless link between the gateway device and the
    a wireleSS link monitoring Section for monitoring the                     Second terminal device on the wireleSS network at the
       condition of a wireleSS link in the network, for output                time of Setting the link, and for updating the wireleSS
       ting wireleSS link information acquired by the moni          35        link information acquired at the time of Setting the link
       toring to the wireleSS link information acquisition Sec                by the current dynamically acquired wireleSS link
       tion.                                                                  information, the wireleSS link information including at
    8. The terminal device according to claim 1, further                      least transmittable bandwidth information;
  comprising:                                                              a wireleSS link information Storage Section for Storing the
    a local wireleSS link information Sending Section for           40        acquired or updated wireleSS link information as
       Sending wireleSS link information of Said terminal                     Descriptor information referable by the first and second
       device to the remote communicating entity, in response                 terminal devices, and
       to a request from the remote communicating entity.                  a network connection processor for, based on the wireleSS
    9. The terminal device according to claim 1, further                      link information stored in the wireless link information
  comprising:                                                       45        Storage Section, performing receiving or Sending of
    a user interface Section for, based on wireleSS link infor                data between the first terminal device and the Second
       mation Stored in the wireleSS link information Storage                 terminal device via the first interface Section and the
       Section, providing to a user a list of data candidates for             Second interface Section.
       transfer, and waiting for input from the user of data               14. The gateway device according to claim 13, further
       Selected from the list.                                      50   comprising: a local terminal wireleSS link information Send
     10. The terminal device according to claim 1, wherein the           ing Section for, in response to a request from the first
  wireleSS link information includes at least one of a packet            terminal device on the wired network or from the second
  discard rate, a usable bandwidth, a number of usable                   terminal device on the wireleSS network, for Sending local
  channels, a usable transfer rate, or observable information            wireless link information to the first terminal device or the
  on which these are based.                                         55   Second terminal device, respectively.
     11. The terminal device according to claim 1, wherein the              15. The gateway device according to claim 13, wherein
  transfer parameter is at least one of an AV/C command or               the wireleSS link information acquisition Section includes:
  content data to be transferred.                                           a remote link information requesting Section for request
     12. A terminal device for transfer of data between com                   ing notification of the remote link information of the
  municating entities over a network via a wireleSS link,           60        Second terminal device to the first terminal device on
  comprising:                                                                 the wired network, and
    an interface Section for performing Sending and receiving              a remote link information receiving Section for receiving
       of packets with a remote communicating entity, and                     remote link information, notification of which is made
    a link Setting Section for Setting a link for control and for             by the first terminal device.
       data transfer with the remote communicating entity;          65      16. A method for controlling transfer of data via a wireless
    a wireleSS link information acquisition Section for acquir           link with a remote communicating entity over a network,
       ing wireleSS link information indicating a condition of           comprising:
Case 2:20-cv-03537-JAK-JEM Document 1 Filed 04/16/20 Page 46 of 144 Page ID #:46


                                                       US 6,885,643 B1
                               27                                                                      28
    Setting a link for control with the remote communicating               Setting a link for control with the Second terminal device;
       entity;                                                             acquiring, at the time of Setting of the link, wireleSS link
    acquiring wireleSS link information indicating a condition                information indicating a condition of a wireleSS link
       of a wireleSS link between a local terminal device and                 between the first terminal device and the second ter
       the remote communicating entity at the time of Setting                 minal device on the wireleSS network, the wireleSS link
       the link, the wireleSS link information including at least             information including at least transmittable bandwidth
       transmittable bandwidth information;                                   information;
    Setting a link for data transfer with the remote commu                 Setting a link for data transfer with the Second terminal
       nicating entity;                                             1O
                                                                              device;
    updating wireleSS link information acquired at the time of             updating the wireleSS link information acquired at the
                                                                              time of Setting the link with current dynamically
       Setting of the link with current dynamically acquired                  acquired wireleSS link information acquired after the
       wireleSS link information acquired after the Setting of                Setting of the link,
       the link for data transfer;                                         Setting a link with the first terminal device;
                                                                    15
    Storing the acquired or updated wireleSS link information              Storing the acquired or updated wireleSS link information
       as Descriptor information referable by the remote com                  as Descriptor information referable by the first and
      municating entity;                                                      Second terminal devices, and
    determining whether or not transfer of data is possible,               performing receiving or Sending of data between the first
      based on the updated wireleSS link information; and                     terminal device and the Second terminal device, based
    changing a transmission rate for transfer of data with the               on the wireleSS link information.
      remote communicating entity, in accordance with wire                 21. A terminal device for control of data between com
       leSS link information in the case in which data transfer          municating entities on a network via a wireleSS link, com
      is possible, and performing receiving or Sending of                prising:
      content data with the remote communicating entity,            25      an interface Section for performing Sending and receiving
      using the changed transmission rate.                                     of packets with a remote communicating entity;
    17. The method according to claim 16, wherein the                       a link Setting Section for Setting a link for control and for
  wireleSS link information includes wireleSS link information                 data transfer with the remote communicating entity;
  with regard to the local terminal device and information with             a wireleSS link information acquisition Section for acquir
  regard the remote communicating entity.                                      ing wireleSS link information indicating the condition
     18. The method according to claim 17, wherein the                        of a wireless link between said terminal device and the
  wireleSS link information updating includes:                                remote communicating entity in the network at the time
     requesting notification of the remote wireleSS link infor                of Setting the link, and for updating the wireleSS link
       mation of the remote communicating entity at the time        35
                                                                              information acquired at the time of Setting the link by
       of the Startup of an application; and                                  the current dynamically acquired wireleSS link infor
     receiving wireleSS link information of the remote com                    mation;
       municating entity, notification of which is made by the             a wireleSS link information Storage Section for Storing the
       remote communicating entity.                                           acquired or updated wireleSS link information; and
    19. A method for transfer of content data via a wireless        40     an application Section for, based on the wireleSS link
  link with a remote communicating party on a network,                        information stored in the wireless link information
  comprising:                                                                 Storage Section, determining whether or not data can be
     Setting a link for control with the remote communicating                 transferred and, if data transfer is possible, optimizing
        entity;                                                               a transfer parameter for transfer of data with the remote
     acquiring wireleSS link information indicating a condition     45        communicating entity, in accordance with the wireleSS
       of a wireleSS link between a local terminal device and                 link information, this transfer parameter being used to
                                                                              receive data from or Send data to the remote commu
       the remote communicating entity on the network at the                  nicating entity, via the interface Section, wherein
       time of Setting the link, the wireleSS link information             the wireless link information stored in the wireless link
       including at least transmittable bandwidth information;                information Storage Section includes wireleSS link
                                                                    50
    Setting a link for data transfer with the remote commu                    information with regard to the terminal device and
       nicating entity;                                                       wireleSS link information with regard to the remote
    updating the wireleSS link information acquired at the                    communicating entity, and
       time of Setting of the link with current dynamically                the wireleSS link information acquisition Section includes:
       acquired wireleSS link information acquired after the        55     a remote wireleSS link information requesting Section for
       Setting of the link,                                                   requesting notification of wireleSS link information
    Storing the acquired or updated wireleSS link information                 with regard to the remote communicating entity that the
       as Descriptor information referable by the remote com                  remote communicating entity has, at the time of Startup
       municating entity; and                                                 of the application; and
    receiving a notification request Sent from the remote           60     a remote wireleSS link information receiving Section for
       communicating entity for the local wireleSS link infor                 receiving wireleSS link information of the remote com
       mation of the local terminal device, and Sending to the                municating entity, notification of which is made from
       remote communicating entity wireleSS link information                  the remote communicating entity.
       of the local terminal device in response to the request.            22. A gateway device for controlling transfer of data
    20. A method for transfer of content data between a first       65   between a first terminal device on a wired network and a
  terminal device on a wired network and a Second terminal               Second terminal device on a wireleSS network, the gateway
  device on a wireleSS network, this method comprising:                  device comprising:
Case 2:20-cv-03537-JAK-JEM Document 1 Filed 04/16/20 Page 47 of 144 Page ID #:47


                                                        US 6,885,643 B1
                                29                                                                   30
    a first interface Section for Sending and receiving packets            Setting a link for control with the remote communicating
       via the wireleSS network,                                              entity;
    a Second interface Section for Sending and receiving                   acquiring wireleSS link information indicating a condition
       packets via the wired network,                                        of a wireleSS link between a local terminal device and
    a first link Setting Section for Setting a link for control and          the remote communicating entity at the time of Setting
       for data transfer with the Second terminal device;                    the link;
    a Second link Setting Section for Setting a link with the first        Setting a link for data transfer with the remote commu
       terminal device;                                                       nicating entity;
    a wireleSS link information acquisition Section for acquir        1O
                                                                           updating wireleSS link information acquired at the time of
       ing wireleSS link information indicating a condition of
       a wireleSS link between the gateway device and the                     Setting of the link with current dynamically acquired
       Second terminal device on the wireleSS network at the                  wireleSS link information acquired after the Setting of
       time of Setting the link, and for updating the wireleSS               the link for data transfer;
       link information acquired at the time of Setting the link      15   determining whether or not transfer of data is possible,
       by the current dynamically acquired wireleSS link infor               based on the updated wireleSS link information; and
       mation;                                                             optimizing a parameter for transfer of data with the
    a wireleSS link information Storage Section for Storing the              remote communicating entity, in accordance with wire
       acquired or updated wireleSS link information; and                    leSS link information in the case in which data transfer
    a network connection processor for, based on the wireleSS                is possible, and performing receiving or Sending of
       link information stored in the wireless link information              content data with the remote communicating entity,
       Storage Section, performing receiving or Sending of                   using the optimized parameter for transfer, wherein
       data between the first terminal device and the Second
       terminal device via the first interface Section and the             the wireless link information includes wireless link infor
       Second interface Section, wherein                              25     mation with regard to the local terminal device and
    the wireleSS link information acquisition Section includes:              information with regard to the remote communicating
    a remote link information requesting Section for request                 entity, and the wireleSS link information updating
                                                                             includes:
       ing notification of the remote link information of the
       Second terminal device to the first terminal device on              requesting notification of the remote wireleSS link infor
       the wired network, and                                                mation of the remote communicating entity at the time
    a remote link information receiving section for receiving                of the Startup of an application; and
       remote link information, notification of which is made              receiving wireleSS link information of the remote com
       by the first terminal device.                                         municating entity, notification of which is made by the
     23. A method for controlling transfer of data via a wireless     35     remote communicating entity.
  link with a remote communicating entity over a network,
  comprising:
Case 2:20-cv-03537-JAK-JEM Document 1 Filed 04/16/20 Page 48 of 144 Page ID #:48




                            EXHIBIT 2
           Case 2:20-cv-03537-JAK-JEM Document 1 Filed 04/16/20 Page 49 of 144 Page ID #:49
Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 6,885,643 by BMW



                            BMW Hotspot (using 802.11 Wi-Fi)
                                ConnectedDrive System




                                                                                                  1
                 Case 2:20-cv-03537-JAK-JEM Document 1 Filed 04/16/20 Page 50 of 144 Page ID #:50
     Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 6,885,643 by BMW




1.     A terminal device for control of data between communicating entities on a network via a wireless
       link, comprising:
an interface section for performing sending and receiving of packets with a remote communicating entity;
a link setting section for setting a link for control and for data transfer with the remote communicating
       entity;
a wireless link information acquisition section for acquiring wireless link information indicating the
       condition of a wireless link between said terminal device the remote communicating entity in the
       network at the time of setting the link, and for updating the wireless link information acquired at the
       time of setting the link by the current dynamically acquired wireless link information, the wireless link
       information including at least transmittable bandwidth information;
a wireless link information storage section for storing the acquired or updated wireless link information as
       Descriptor information referable by the remote communicating entity; and
an application section for, based on the wireless link information stored in the wireless link information
       storage section, determining whether or not data can be transferred and, if data transfer is possible,
       changing a transmission rate for transfer of data with the remote communicating entity, in
       accordance with the wireless link information.
                                                                                                                   2
                    Case 2:20-cv-03537-JAK-JEM Document 1 Filed 04/16/20 Page 51 of 144 Page ID #:51
     Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 6,885,643 by BMW

          Claim 1
                            Source: https://www.bmwusa.com/content/dam/bmwusa/connected-drive/pdf/GSG_WiFi_Hotspot.pdf


  A terminal device
  for control of data
  between
  communicating
  entities on a
  network via a
  wireless link,
  comprising:
                                                                                      https://mybmw.in/products/bmw-e87-
                                                                                      e81-e82-e88-idrive-car-stereo-receiver-
                                                                                      for-android-9-0-system-2-32g-ram-gps-
                                                                                      navi-screen-wifi-google-carplay




Version: Dec. 17, 2019                                                                                                     3
                 Case 2:20-cv-03537-JAK-JEM Document 1 Filed 04/16/20 Page 52 of 144 Page ID #:52
  Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 6,885,643 by BMW

      Claim 1



A terminal device
for control of data
between
communicating
entities on a
network via a
wireless link,
                           {Note: Plug shown above is        https://www.team-bhp.com/forum/car-entertainment/207434-
comprising:                for WiFi antenna}                 installed-apple-carplay-bmw-3gt-f34.html




                                                                                         https://www.youtube.com/wa
                                                                                         tch?v=mSFMFCFObMc




                                                                                                                   4
                 Case 2:20-cv-03537-JAK-JEM Document 1 Filed 04/16/20 Page 53 of 144 Page ID #:53
  Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 6,885,643 by BMW

      Claim 1
                          Source: IEEE Std 802.11™-2012: Part 11: Wireless LAN Medium Access Control
                          (MAC) and Physical Layer (PHY) Specifications
A terminal device
for control of data
between
communicating
entities on a
network via a
wireless link,
comprising:




                                                                                                       5
                Case 2:20-cv-03537-JAK-JEM Document 1 Filed 04/16/20 Page 54 of 144 Page ID #:54
  Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 6,885,643 by BMW

      Claim 1
                         Source: Source: IEEE Std 802.11™-2012: Part 11: Wireless LAN Medium Access Control
an interface             (MAC) and Physical Layer (PHY) Specifications
section for
                          {e.g. phone}                                                           {BMW Hotspot}
performing
sending and
receiving of
packets with a
remote
communicating
entity;




                         Note: “AP STA” is access point/router and “STA” is attaching device, WiFi Client, smartphone, etc.

                                                                                                                              6
                 Case 2:20-cv-03537-JAK-JEM Document 1 Filed 04/16/20 Page 55 of 144 Page ID #:55
  Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 6,885,643 by BMW

      Claim 1
                          Source: https://www.cleartosend.net/cts-047-troubleshooting-wifi-wireshark/
a link setting
section for setting
a link for control
and for data
transfer with the
remote
communicating
entity;




                                                                                                        7
                Case 2:20-cv-03537-JAK-JEM Document 1 Filed 04/16/20 Page 56 of 144 Page ID #:56
  Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 6,885,643 by BMW

        Claim 1
                            Source: IEEE Std 802.11™-2012: Part 11: Wireless LAN Medium Access Control
a wireless link             (MAC) and Physical Layer (PHY) Specifications
information acquisition
section for acquiring
wireless link
information indicating
the condition of a
wireless link between
said terminal device
the remote
communicating entity
in the network




                                                                                                         8
                 Case 2:20-cv-03537-JAK-JEM Document 1 Filed 04/16/20 Page 57 of 144 Page ID #:57
  Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 6,885,643 by BMW

     Claim 1
                        Source: https://www.cleartosend.net/cts-047-troubleshooting-wifi-wireshark/
at the time of
setting the link,




                                                                                                      9
                Case 2:20-cv-03537-JAK-JEM Document 1 Filed 04/16/20 Page 58 of 144 Page ID #:58
  Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 6,885,643 by BMW

       Claim 1
                           Source: IEEE Std 802.11™-2012: Part 11: Wireless LAN Medium Access Control
and for updating the       (MAC) and Physical Layer (PHY) Specifications
wireless link
information acquired
at the time of setting
the link by the
current dynamically
acquired wireless
link information,




                                                                                                        10
               Case 2:20-cv-03537-JAK-JEM Document 1 Filed 04/16/20 Page 59 of 144 Page ID #:59
  Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 6,885,643 by BMW

       Claim 1
                          Source: IEEE Std 802.11™-2012: Part 11: Wireless LAN Medium Access Control
the wireless link         (MAC) and Physical Layer (PHY) Specifications
information including
at least transmittable
bandwidth
information;




                                                                                                       11
               Case 2:20-cv-03537-JAK-JEM Document 1 Filed 04/16/20 Page 60 of 144 Page ID #:60
  Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 6,885,643 by BMW

     Claim 1
                     Source: IEEE Std 802.11™-2012: Part 11: Wireless LAN Medium Access Control
a wireless link      (MAC) and Physical Layer (PHY) Specifications
information
storage section
for storing the
acquired or
updated wireless
link information
as Descriptor
information
referable by the
remote
communicating
entity; and



                                                                                                    12
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  Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 6,885,643 by BMW

     Claim 1

an application
                          Source: https://www.aliexpress.com/i/32865208363.html
section for,
based on the
wireless link
information
stored in the
wireless link
information
storage section,
determining
whether or not
data can be
transferred



                                                                                                    13
                Case 2:20-cv-03537-JAK-JEM Document 1 Filed 04/16/20 Page 62 of 144 Page ID #:62
  Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 6,885,643 by BMW

     Claim 1
                      Source: http://www.revolutionwifi.net/revolutionwifi/2014/09/wi-fi-snr-to-mcs-data-rate-mapping.html
an application        (Cached): https://drive.google.com/open?id=1TBUzWUG758_HJLcH1sjLeNjDgjtX50hP
section for,
                      MCS is “Modulation and Coding Scheme”
based on the
wireless link
information
stored in the
wireless link
information
storage section,
determining
whether or not
data can be
transferred



                                                                                                                             14
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   Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 6,885,643 by BMW

     Claim 1
                     Source: http://www.revolutionwifi.net/revolutionwifi/2014/09/wi-fi-snr-to-mcs-data-rate-mapping.html
if data transfer     (Cached): https://drive.google.com/open?id=1TBUzWUG758_HJLcH1sjLeNjDgjtX50hP
is possible,
changing a
transmission
rate for transfer
of data with the
remote
communicating
entity, in
accordance with
the wireless link                                                                    Source: IEEE Std 802.11™-2012:
                                                                                     Part 11: Wireless LAN Medium
information.                                                                         Access Control
                                                                                     (MAC) and Physical Layer (PHY)
                                                                                     Specifications




                                                                                                                            15
Case 2:20-cv-03537-JAK-JEM Document 1 Filed 04/16/20 Page 64 of 144 Page ID #:64




                            EXHIBIT 3
Case 2:20-cv-03537-JAK-JEM Document 1 Filed 04/16/20 Page 65 of 144 Page ID #:65
                                                                                                     USOO6928166B2

  (12) United States Patent                                                           (10) Patent No.:     US 6,928,166 B2
         Yoshizawa                                                                    (45) Date of Patent:      Aug. 9, 2005

  (54) RADIO COMMUNICATION DEVICE AND                                                       FOREIGN PATENT DOCUMENTS
          USER AUTHENTICATION METHOD FOR
          USE THEREWITH                                                          EP         WO 97/26769       7/1997
                                                                                 EP         WO 01/74011 A1 10/2001
                                                                                 GB             2350971. A * 12/2000      ............. GO6F/1/OO
  (75) Inventor: Junichi Yoshizawa, Ome (JP)                                     JP           O9-233223       9/1997
                                                                                 JP             2872996       1/1999
  (73) Assignee: Kabushiki Kaisha Toshiba, Kawasaki                                               OTHER PUBLICATIONS
                 (JP)
                                                                                 Johannes Elg, “Specification of the Bluetooth System,” ver.
  (*) Notice: Subject to any disclaimer, the term of this                        1.0 B, pp. 186-199, Nov. 29, 1999.
                       patent is extended or adjusted under 35                   English abstract of JP 11-275661 published Oct. 8, 1999.
                       U.S.C. 154(b) by 887 days.
                                                                                 * cited by examiner
  (21) Appl. No.: 09/795,355                                                     Primary Examiner Matthew Smithers
  (22) Filed:     Mar. 1, 2001                                                   (74) Attorney, Agent, or Firm-Finnegan, Henderson,
                                                                                 Farabow, Garrett & Dunner, L.L.P.
  (65)                Prior Publication Data                                     (57)                 ABSTRACT
          US 2001/0036273 A1 Nov. 1, 2001
                                                                                 To allow flexible Security level Switching according com
  (30)          Foreign Application Priority Data                                munication Situations, a password holding Section holds a
   Apr. 28, 2000      (JP) ....................................... 2000-131861   plurality of device authentication passwords, for example, a
                                                                                 temporary password and a private password. The temporary
  (51) Int. Cl. ............................. H04K 1/00; H04L 9/16               password is valid only under a certain situation and the
  (52) U.S. Cl. ........................ 380/247; 380/255; 713/168               private password has a high level of confidentiality to
  (58) Field of Search ................................. 380/247, 270,           increase the device Security. A password management Sec
                                 380/255; 713/168, 169,171, 201                  tion allows the user to add a new password to the password
                                                                                 holding Section and delete an existing password therefrom.
  (56)                    References Cited                                       A password Selecting Section Selects the most Suitable pass
                   U.S. PATENT DOCUMENTS
                                                                                 word for current connection from among passwords in the
                                                                                 password holding Section according to a user event, infor
         5,442,805 A    8/1995 Sagers et al.                                     mation acquired by an external factor acquisition Section,
         6,748,195 B1 * 6/2004 Phillips ..................... 455/412            and information from a time control Section. The Selected
         6,766,160 B1 * 7/2004 Lemilainen et al. ........ 455/411                password is output to a password checking Section.
   2002/0132605 A1          9/2002 Smeets et al. .............. 455/411
   2004/O128509 A1          7/2004 Gehrmann .................. 713/171                         19 Claims, 5 Drawing Sheets

                                           17                      16
                                      PASSWORD                PASSWORD
                                      MANAGEMENT              HOLDING
                                      SECTION                 SECTION

                                  EXTERNAL
                                  FACTOR
                                  ACOUSION                                             PASSWORD
                                  SECTION                                              CHECKING
                                                               PASSWORD                SECTION
                                                               SELECTING
                                                               SECTION

                                                             AUTHENTICATION
                                   EVENT               .     PASSWORD              DATA
                                                             INPUT                 TRANSMTNG
                             --------- e                     SECTION               AND RECEVING
                                                                                   SECTION
                                  2


                                                                                  CONNECTION-BREAK
                                                                                      EENSECTION3
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                          7                  16

                  PASSWORD                PASSWORD
              --> MANAGEMENT             HOLDING
          }      SECTION                  SECTION
                     4
               EXTERNAL                              8                  9
               FACTOR
          1   |ASSION                                              PASSWORD
                                 15       PASSWORD                 SENG
              TIME CONTROL                SELECTING
              SECTION                     SECTION
          -- - - - - - - - - -      --
      :                       ---                           20              11       12
                USER                     AUTHENTICATION
                EVENT                    PASSWORD                DATA
                                         INPUT                   TRANSMITTING    ANTENNA
                                         SECTION                 AND RECEIVING
                                                                 SECTION



                                                               ONNECTIQBRES
                                                              DETECTING SECTION

                                                    F. G.


                                 DEVICE A                    )        DEVICE B
                                                    CONNECTION
                                                    REQUEST

                                                    F. G. 2
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                           DEVICE A                             DEVICE B
              SPECIFY DEVICE
              E.
              IS SETUP
                       :                 CONNECTION
                                         REQUEST




                                        AUTHENTICATION
                                         REQUEST

              : ENTRY OF                                   B5
               PASSWORD                   PASSWORD
                                        END OF             B6
                                        AUTHENTICATION



                                       MACHINE A


                                   ->
                           MACHINE B   MACHINE C         MACHINE D




                                          M



                                       Z-PASSWORD
                                           FILE 26
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                           DEVICE BSETS UP
                           TEMPORARY PASSWORD          C


                       DEVICE B SES P
                       TEMPORARY PASSWORD              C2
                       AS AUTHENTCATION PASSWORD


                                CONNECTION
                             REQUEST CAUSED BY
                                  DEVICE A

                                       YES

                       CONNECTION WITH DEVICE ABC
                       ANDAUTHENTICATION THEREOF



                                 CONNECON
                                 BREA AB
                                          -
                                       YES
                         DEVICE B SE.S UP
                         PRIVATE PASSWORD AS            C6
                         AUTHENTCATION PASSWORD


                                      FG, 4.
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                  | OFFICE re-3
                  l- - - - - - - -
                                                          | OFFICE
                                                          t- - - - - - - - -




                                                                   33
                      ---------
                33 NINFORMATION          ------
                      Eigy               -->
                                         MOVING
                                                Eyton
         (TEMPORARY PASSWORD IN USE)     TTTTTT         (PRIVATE
                                                        PASSWORD IN USE)
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               CONNECTION REQUESTN- Al

                                      A2
                      FIRST                     NO
                   CONNECTION
                         YES
                 AUTHENTICATION            A3
                  BY PIN CODE

                  LINK SET UP              A4


                LINK KEY CREATION          A5
                                                                      A7

                ENTRY OF LINK KEY          A6             AUTHENTICATION
                NTO TABLE                                 BY LINK KEY


                                F. G. 7 (PRIOR ART)


               UNIQUE ADDRESS (Hex)                  LINK KEY




                              FG. 8 (PRIOR ART)
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                                                        US 6,928,166 B2
                                 1                                                                     2
       RADIO COMMUNICATION DEVICE AND                                     the PIN code of the device B. Upon receiving the PIN code
       USER AUTHENTICATION METHOD FOR                                     from the device A, the device B checks it for validity (step
                USE THEREWITH                                             A3). If the PIN code is authenticated, then the device B
                                                                          establishes a link (Step A4) and creates a link key for the
             CROSS-REFERENCE TO RELATED
                                                                          device A (step A5). The resulting link key is entered into the
                    APPLICATIONS
                                                                          list together with the unique address of the device A (Step
                                                                          A6).
     This application is based upon and claims the benefit of               If, on the other hand, the device A was Sometimes
  priority from the prior Japanese Patent Application No.                 connected to the device B in the past, Since the link key has
  2000-131861, filed Apr. 28, 2000, the entire contents of                already been entered into the table in the device B, authen
  which are incorporated herein by reference.                             tication is made through that link key (Step A7).
            BACKGROUND OF THE INVENTION                                      The Bluetooth provides authentication using the PIN code
                                                                          unique to each device and the link key based on the PIN
     The present invention relates to a radio communication               code. The PIN code, while being unique, can be altered by
  device and a user authentication method using user authen          15
                                                                          the device user into any other String of characters.
  tication passwords.                                                        The security system disclosed in Japanese Patent No.
     In recent years, attention has been paid to radio commu              2872996, the one-time password system in the Internet and
  nication Systems adapted for personal areas, Such IrDA,                 the user authentication System in the Bluetooth can be said
  Bluetooth, HomeRF, etc. Particularly, Bluetooth and Hom                 to be password management and authentication Systems
  eRF have merits of no directivity and high transparence over            intended to provide only increased Security.
  infrared communication Systems, Such as IrDA, and are                      The use of the user authentication System in ad hoc
  greatly expected to develop and find wide application in the
  future. The Bluetooth is short-haul radio communication                 network environment causes problems as described below.
  Standards and establishes radio communications within 10 m                 AS an application of the user authentication System used
  or 100 m using the ISM (Industrial Science Medical) band           25   in the Bluetooth, consider a table conferencing System made
  of 2.4 GHz band. The Bluetooth adopts frequency-hopping                 up of a plurality of information devices. Each individual
  Spectrum-Spreading techniques and allows for connection of              device is required to establish a fiduciary relationship based
  up to eight devices through the use of time-division multi              on the above user authentication System with the others.
  plexing techniques.                                                        However, in order for each individual user having his own
    In addition to allowance for Simultaneous connection of               private PIN code to ensure the security of his own device, it
  multiple devices, the radio communication Systems, Such as              is desirable to adopt a method involving creating a tempo
  Bluetooth, HomeRF, etc., make a great feature of a relatively           rary PIN code and changing it to the original private PIN
  long transmission distance of, Say, 10 to 100 m in compari              code at the termination of the table conferencing rather than
  Son with the infrared communication Systems, Such as IrDA.              establishing the fiduciary relationship by informing the other
                                                                     35   users of the private PIN code.
  This provides an advantage of ease of handling, but on the
  other hand Sufficient attention must be paid to assure System              To adopt the user authentication System as described
  Security and confidentiality.                                           above, therefore, it is required to take the following Steps:
     Conventional Security Systems for radio communication                   S1: Each individual user sets up a temporary PIN code on
  Systems include the radio terminal Security System as              40
                                                                          his own device and informs the other users of that PIN code.
  described in Japanese Patent No. 2872996 and the one-time                  S2: Holds table conferencing.
  password System as used in the Internet.                                   S3: At the termination of the conferencing, each indi
     These Security Systems include electronic keys and radio             vidual user makes a change from the temporary PIN code to
  terminals and prohibit Successive use of the same key to                his original private PIN code.
  increase Security, thereby providing increased Safety against      45
  loss and theft of the key.                                                 With the above approach, however, not only does it take
     Next, the user authentication system used in the Bluetooth           long to set up the PIN code, but also the security level is
  will be described.                                                      considerably lowered in the event that the user forgot to
                                                                          make a change from the PIN code to the original PIN code;
    The user authentication system used in the Bluetooth is               for, in such case, the temporary PIN code will come to be
  Subject to two: a unique password Set up on each device            50   used Successively.
  (called a PIN (Personal Identification Number) code) and an
  encryption key (called link key) created by the password and                    BRIEF SUMMARY OF THE INVENTION
  an ID code unique to the device (information, Such as a
  48-bit address, assigned by IEEE). This system will be                    It is therefore an object of the present invention to provide
  described in brief below with reference to a flowchart shown       55   a radio communication device and a user authentication
  in FIG. 7.                                                              method for use therewith which permit the security level to
     Consider now the case where a device A makes access to               be changed with flexibility according to communication
  a device B. The device A makes a request for connection to              Situations without imposing any operating burden on users.
  the device B (step A1), whereupon the device B checks the                  According to one aspect of the present invention, there is
  presence or absence of the link key to see if the connection       60   provided an authentication processing apparatus of a radio
  to the device A is set up for the first time (step A2). That is,        communication which authenticates a device, the apparatus
  the device B is stored with a list of link keys besides PIN             comprising: means for Selecting a Security level from a
  codes. This list is a table of unique addresses of devices              plurality of Security levels in accordance with a condition of
  connected So far to the device B and corresponding link                 the radio communication;
  keys. An example of this table is illustrated in FIG. 8.           65     means for receiving a request for an authentication and
    In the situation in which the device A and the device B are           authentication information from the device; means for
  connected for the first time, the device A is required to input         checking whether the received information from the device
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                                 3                                                                     4
  is valid or not depending on the Selected Security level; and             FIG. 4 is a flowchart for Switching between a temporary
  means for Sending a response of the check result which                  password and a private password in the embodiment;
  authenticates or rejects the device thereto.                              FIG. 5 is a diagram for use in explanation of how
     According to another aspect of the present invention,                conferencing passwords are Selected in an electronic con
  there is provided a radio communication device having a                 ferencing System;
  password unique to it and adapted for authenticating another              FIG. 6 is a diagram for use in explanation of management
  device by use of the password, comprising: password hold                of passwords of slave stations through ID information of a
  ing means for holding at least a first password intended for            master Station in a radio communication System composed
  temporary use and a Second password intended for regular                of multiple radio communication devices,
  use; password Selecting means for Selecting an appropriate         1O
                                                                                FIG. 7 is a flowchart for user authentication in the
  password from the password holding means according to a                 Bluetooth system; and
  current communication condition; and password checking                        FIG. 8 shows the contents of the table used in the user
  means for checking a password Sent from another device
  with the password Selected by the password Selecting means              authentication processing shown in FIG. 7.
  to thereby authenticate the another device.                        15
                                                                                       DETAILED DESCRIPTION OF THE
     According to Still another aspect of the present invention,                               INVENTION
  there is provided an authentication processing method of a
  radio communication which authenticates a device, the                      FIG. 1 is a block diagram of a radio communication
  method comprising the Steps of: Selecting a Security level              device according to an embodiment of the present invention,
  from a plurality of Security levels in accordance with a                which comprises a data transmitting and receiving Section
  condition of the radio communication; receiving a request               11, an antenna 12, a connection-break detecting Section 13,
  for an authentication from the device; receiving authentica             an external factor acquisition Section 14, a time control
  tion information from the device; checking whether the                  Section 15, a password holding Section, a password man
  received information from the device is valid or not depend             agement Section 17, a password Selecting Section, a pass
  ing on the Selected Security level; and Sending a response of      25   word checking Section 19, and an authentication password
  the check result which authenticates or rejects the device              input Section 20. User events 21 are applied to the password
  thereto.                                                                management Section 17, the password Selecting Section 18,
     According to Still another aspect of the present invention,          and the authentication password input Section 20.
  there is provided a radio communication method commu                       The data transmitting and receiving Section 11 makes
  nicating with a device, the method comprising the Steps of:             radio communication with other devices through the antenna
  Storing a first password intended for temporary use and a               12, performs low-level framing and Synchronous
  Second password intended for regular use; Selecting the first           processing, and can perform error detection and correction
  password depending on a variable Security level; receiving              as required.
  a request for a connection from the device, receiving a            35      The connection-break detecting Section 13 examines data
  password for an authentication from the device; checking                receiving conditions in the data transmitting and receiving
  whether the received password from the device and the                   Section 11 to detect whether the device with which the
  Selected first password correspond or not; Sending a                    connection has been Set up lies outside the coverage area and
  response of the check result which authenticates or rejects             presents the result to the password Selecting Section 18. The
  the device thereto, performing a low-Security-level commu          40   connection-break detecting Section 13 is also configured to
  nication with the authenticated device based on the connec              allow the user to Set arbitrarily parameters, Such as timer
  tion; and changing over, when the communication is                      values, receiving Sensitivity, etc., for recognizing connection
  terminated, the Security level to higher one than that of the           break, that is, to Set optimum values So that the password is
  first password and Selecting the Second password.                       not readily Switched to another one in the event of bad data
     Additional objects and advantages of the invention will be      45   receiving conditions. Although, in FIG. 1, the connection
  set forth in the description which follows, and in part will be         break detecting Section 13 is provided independently, it may
  obvious from the description, or may be learned by practice             be incorporated into the external factor acquisition Section
  of the invention. The objects and advantages of the invention           14.
  may be realized and obtained by means of the instrumen                    The external factor acquisition Section 14 identifies exter
  talities and combinations particularly pointed out hereinaf        50   nal factors, for example, the presence or absence of AC
  ter.                                                                    power Supply, the presence or absence of wireless
         BRIEF DESCRIPTION OF THE SEVERAL                                 connection, Such as Bluetooth, IrDA, etc., or wired
               VIEWS OF THE DRAWING                                       connection, Such as USB, IEEE1394, etc., and controls the
                                                                          password Selecting Section 18 correspondingly.
     The accompanying drawings, which are incorporated in            55         The time control Section 15 controls time information in
  and constitute a part of the Specification, illustrate presently        terms of absolute time or relative time and, at the occurrence
  preferred embodiments of the invention, and together with               of timer runout, notifies the password Selecting Section 18 of
  the general description given above and the detailed descrip            it.
  tion of the preferred embodiments given below, serve to                       The password holding Section 16 is a memory that Stores
  explain the principles of the invention.                           60   a plurality of passwords for authenticating the device (e.g.,
     FIG. 1 is a block diagram of a radio communication                   two passwords: a temporary password and a private
  device according to an embodiment of the present invention;             password). The temporary password is one which is valid
     FIG. 2 is a diagram for use in explanation of device-to              only during the duration of connection with a certain device
  device communication in the embodiment;                                 and intended for temporary use, whereas the private pass
    FIG.3 illustrates the flow of processing from a request for      65   word is one which ensures high confidentiality to increase
  connection to the completion of authentication in the                   the Security of the device and is intended for regular use. The
  embodiment;                                                             password management Section 17 is adapted to add new
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                              S                                                                        6
  passwords to the contents of the password holding Section              ing section 18. If the result indicates that the received
  16 or deleting existing passwords therefrom according to               password is improper, then the device B sends to the device
  events 21 from the user.                                               A a message to the effect that the password is incorrect. If,
     The password Selecting Section 18 Selects the most Suit             on the other hand, the received password is correct, then the
  able password for current connection from among the pass               user authentication procedure comes to an end (Step B6).
  words Stored in the password holding Section 16 according                 In the user authentication procedure, each individual user
  to the user events 21, information acquired by the external            generally uses an authentication password having much
  factor acquisition Section 14, and information from the time           increased confidentiality, thereby providing increased Secu
  control Section 15 and Sends it to the password checking               rity for his own device. However, in applications of highly
  Section 19. The password Selecting Section is configured to            ad hoc nature, Such as table conferencing, card exchange,
  be able to establish priority among the user event 21, the             etc., an easy-to-handle environment may be expected to be
  external factor acquisition Section 14, and the time control           built up even if the security for devices is lowered tempo
  Section 15.                                                            rarily. The procedure for implementing Such an environment
    When operating on an external factor acquired by the                 will be described below.
                                                                    15
  external factor acquisition Section 14, the password Selecting            Consider now the case of card exchange with a complete
  Section 18 carries out a password changing operation depen             Stranger in a card exchange application installed in personal
  dent on the external factor, as follows:                               digital assistants (PDAS). In this case as well, user authen
    (a) In the absence of AC power Supply, i.e., when the                tication is performed between the devices A and B.
  device is battery-powered, the device is recognized as being              The user at the device B generally uses a private password
  in the mobile environment and hence the private password               having much increased confidentiality as the authentication
  is chosen.                                                             password So as to increase the Security for his own device.
    (b) When a cable is connected, the device is recognized as           However, to inform a Stranger of the private password in
  being in the indoor environment and as a result the tempo              Such a situation as in this example is not desirable from the
  rary password is chosen.                                          25   Viewpoint of Security. For this reason, the user at the device
    (c) When no radio carrier signal is received from a server,          B sets up Such a password (temporary password) as is valid
  the device is recognized as having moved from the office to            only while the connection with the device A is set up and
  the outside, in which case the private password is chosen.             uses the temporary password for user authentication.
     The password checking Section 19 checks the password                  The Switching control between the private password and
  determined by the password selecting section 18 with an                the temporary password (Security level control) will be
  authentication password Sent from a person with which the              described below with reference to a flowchart illustrated in
  connection has been set up, thus implementing appropriate              FIG. 4.
  user authentication. The authentication password input Sec               The user at the device B issues a command which is based
  tion 20 enters the authentication password into the data               on the event 21 to the password Selecting Section 18 (Step
  transmitting and receiving Section 11 according to the user       35   C1) and then sets up the temporary password as the authen
  event 21.                                                              tication password (step C2). After that, the device B is
     Next, the authentication operation according to the                 placed in the wait State until a connection request is gener
  present embodiment will be described.                                  ated from the device A (step C3). The temporary password
     Suppose now that devices A and B are about to be                    is very simple one (e.g., “ABC) as compared with the
  connected together as shown in FIG. 2. In this case, the          40   private password and presented to the user at the device A.
  authentication procedure is performed when the device A                In an extreme case, communication could be made between
  enters the authentication password for the device B.                   the devices A and B with no password. Making the tempo
    As shown in FIG. 3, first, the user at the device A makes
                                                                         rary password Simple as described above will make it
  a request for connection. In response to this, the data                possible to notify the user at the device A of the temporary
                                                                    45   password orally. Additionally, the temporary password may
  transmitting and receiving Section 11 in the device A issues           be sent to the device A along with electronic mail.
  a request for connection and transmits information from the              The user at the device A received notification from the
  antenna 12 (step B1).                                                  device B makes a request to the device for connection and
     Upon receiving the connection request from the device A,            enters the temporary password.
  the data transmitting and receiving Section 11 in the device      50
  B examines the received data and, in the case of no problem,              In response to the connection request by the device A, the
  sends a message to establish connection to the device A(Step           device B sets up the connection with the device A and then
  B2). After that, the connection is set up between the devices          carries out authentication processing on the temporary pass
  A and B (step B3). The connection in this case means the               word. After that, the devices A and B make data communi
  connection in low-level layer (e.g., the situation in which a     55
                                                                         cations with each other on the card exchange application.
  Virtual network address has been set up) and does not                    The device B makes a check for the termination of the
  necessarily means high application Services.                           card exchange application, i.e., for the break of the connec
    After the connection has been Set up, the authentication             tion with the device A (step C5). Upon detecting the break
  procedure on the password is carried out. That is, the device          of the connection, the device B negates the validity of the
  B upon Setting up the connection issues a request for             60   temporary password and makes an automatic change from
  authentication to the device A and prompts it to enter a               the temporary password to the private password (step C6).
  password (Step B4). In response to this, the user at the device           One method to automatically make a change from the
  A enters the password to the device B from the password                temporary password to the private password is to associate
  input Section 20 into the data transmitting and receiving              the lifetime of the temporary password with the lifetime of
  section 11 for transmission to the device B (step B5).            65   the communication connection as will be described below.
    Upon receipt of the password, the device B checks it with              That is, in FIG. 1, at the time of a break of the connection
  an authentication password chosen by the password Select               Set up with the current temporary password the connection
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  break detecting Section 13 notifies the password Selecting             a choice from the two passwords for the procedure of
  section 18 that the connection has been broken. The pass               authenticating the other device according to the current
  word Selecting Section then makes a change from the cur                communication situations. Accordingly, depending upon
  rently Selected password to the private password.                      what application is used, an appropriate password can be
     The temporary password may be associated with time                  used for authentication and an easy-to-handle communica
  information using the time control Section 15 rather than              tion environment can be implemented in which a high level
  with the connection. In this case, a timer value for the               of Security can be maintained at the time of usual commu
  temporary password can be freely Set by the user in the time           nication and the Security level can be lowered at the time of
                                                                         temporary communication.
  control section 15. For example, if there is a two-hour                   Moreover, the inventive device is configured to usually
  conference, then the temporary password is used for two                choose the private password as authentication password, use
  hours and changed to the private password two hours later.             the temporary password at the time of occurrence of a
    A password which is to be made valid at present is usually           request by a user at another device for authentication
  chosen by the user through the graphical user interface                thereof, and reuse the private password after the connection
  (GUI). Alternatively, the password may be chosen by an            15
                                                                         Set up by the authentication procedure using the temporary
  operation of double clicking a password file. For example, in          password has been broken; therefore, there is no need for
  using an application Such as an electronic conferencing                users to be conscious of a change from the temporary
  System, a method can be utilized by which a password file              password to the private password.
  26 Storing information used for Selecting a conferencing                  Furthermore, the inventive device is configured to have
  password is distributed beforehand from a device A to other            external factor acquisition means, choose either of the
  devices B, C and Dover a communication path Such as for                temporary password and the private password for authenti
  electronic mail 25 and conference participants are allowed to          cation of another device on the basis of information acquired
  choose a conferencing password by merely double clicking               by the external factor acquisition means; thus, the most
  the file. In this case, the password Selecting Section 18              Suitable password can be automatically chosen according to
                                                                         communication situations.
  chooses a password held in the password holding Section 16
  according to the information read from the password file 26.      25      In addition, the inventive device is configured to acquire
     The use of the password file 26 allows an appropriate               position information of the device by external factor acqui
  password to be chosen by a simple operation of double                  Sition means or connection break detecting means and allow
                                                                         Switching between the temporary password and the private
  clicking that file with a mouse. Also, the use of the password         password according to the position information; thus, the
  file allows passwords to be set up without their contents              Security level of the device can be changed automatically
  becoming known to the conference participants.                         according to its location.
     The password file 26 may be stored with passwords                      Additional advantages and modifications will readily
  themselves rather than password Select information. In this            occur to those skilled in the art. Therefore, the invention in
  case, a password Selected from the file may be automatically           its broader aspects is not limited to the Specific details and
  Set up as the authentication password.                            35   representative embodiments shown and described herein.
     The password file 26 may be distributed to devices                  Accordingly, various modifications may be made without
  through electronic mail by radio.                                      departing from the Spirit or Scope of the general inventive
                                                                         concept as defined by the appended claims and their equiva
     Next, in a radio communication System made up of a                  lents.
  plurality of radio communication devices each having the                  What is claimed is:
  above functions, the management of passwords of the Slave         40
                                                                           1. An authentication processing apparatus of a radio
  devices through ID information of the master device will be            communication which authenticates a device, the apparatus
  described.                                                             comprising:
    Switching is made between authentication passwords in                  means for acquiring an external factor which is associated
  order to, for example, lower the Security level of an infor       45        with a security level;
  mation device when it is inside an office So that anybody can            means for Selecting a Security level from a plurality of
  make access to it and enhance the Security level when it is                 Security levels in accordance with the external factor;
  outside the office to prevent access by a third party.                   means for receiving a request for an authentication and
    Specifically, as shown in FIG. 6, a server (master device)                authentication information from the device,
  32 for managing the security level is installed in office 31 to   50     means for checking whether the received information
  detect whether an information device (slave device) 33 stays                from the device is valid or not depending on the
  in the range of connection with the Server through its                      Selected Security level; and
  connection break detecting Section 13. In the Situation where            means for Sending a response of the check result which
  the information device 33 is connected with the server 32, a                authenticates or rejects the device thereto.
  temporary password (or no password) is selected. In the           55     2. An authentication processing apparatus according to
  Situation where the connection with the Server is broken, the          claim 1, wherein Said authentication information includes a
  private password is chosen.                                            PIN (Personal Identification Number) code.
     The above configuration causes the Server 32 to act as the            3. An authentication processing apparatus according to
  key to password Switching.                                             claim 2, further comprising means for Storing a link-key
     Although the embodiment has been described in terms of         60   comprising Said PIN code and a unique ID of Said device.
  one-way authentication between the devices A and B,                       4. An authentication processing apparatus according to
  mutual authentication is also possible.                                claim 1, further comprising means for detecting a
     According to the present invention, as described in detail          connection-break from the device and changing over Said
  above, a radio communication device adapted to perform a               Security level in response to the connection-break.
  authentication procedure on another device using its unique       65      5. A radio communication device having a password
  address is configured to hold at least two separate passwords          unique to it and adapted for authenticating another device by
  of a temporary password and a private password and make                use of the password, comprising:
Case 2:20-cv-03537-JAK-JEM Document 1 Filed 04/16/20 Page 75 of 144 Page ID #:75


                                                     US 6,928,166 B2
                               9                                                                   10
    password holding means for holding at least a first pass             password Selecting means for Selecting an authentication
      word intended for temporary use and a Second pass                    password from the password holding means on the
      word intended for regular use;                                       basis of information acquired by the external factor
    password Selecting means for Selecting an appropriate                  acquisition means, and
      password from the password holding means according          5      password checking means for checking a password Sent
       to a current communication condition; and                           from another device with the password selected by the
    password checking means for checking a password Sent                   password Selecting means to thereby authenticate the
                                                                            other device.
      from another device with the password selected by the              11. A radio communication device having a password
      password Selecting means to thereby authenticate the             unique to it and adapted for authenticating another device by
       other device.                                                   use of the password, comprising:
     6. The radio communication device according to claim 5,             password holding means for holding at least a first pass
  wherein Said password Selecting means Selects a password                  word intended for temporary use and a Second pass
  according to information from a password file.                            word intended for regular use;
    7. A radio communication device having a password             15     password Selecting means for Selecting an appropriate
  unique to it and adapted for authenticating another device by             password from the password holding means according
  use of the password, comprising:                                          to current communication situations,
    password holding means for holding at least a first pass             password checking means for checking a password Sent
        word intended for temporary use and a Second pass                  from another device with the password selected by the
        word intended for regular use;                                     password Selecting means to thereby authenticate the
    password management means for entering a new pass                       other device; and
        word into the password holding means and deleting an             time control means for counting time to provide manage
        existing password in the password holding means,                    ment information on a set time to the password Select
    password Selecting means for Selecting an appropriate                   ing means,
        password from the password holding means according        25     the password Selecting means usually choosing the Second
       to current communication situations, and                             password as an authentication password, using the first
    password checking means for checking a password Sent                    password at the time of occurrence of a request by a
      from another device with the password selected by the                 user at the other device as the authentication password,
      password Selecting means to thereby authenticate the                  and Setting the Second password as the authentication
       other device.                                                        password at the expiration of the time Set by the time
    8. A radio communication device having a password                       management means.
  unique to it and adapted for authenticating another device by          12. A radio communication device having a password
  use of the password, comprising:                                     unique to it and adapted for authenticating another device by
    password holding means for holding at least a first pass           use of the password, comprising:
       word intended for temporary use and a Second pass          35     password holding means for holding at least a first pass
       word intended for regular use;                                       word intended for temporary use and a Second pass
    password Selecting means for Selecting an appropriate                   word intended for regular use;
       password from the password holding means according                password Selecting means for Selecting an appropriate
       to current communication situations,                                 password from the password holding means according
                                                                  40
    password checking means for checking a password Sent                    to current communication situations, and
      from another device with the password selected by the              password checking means for checking a password Sent
      password Selecting means to thereby authenticate the                 from another device with the password selected by the
       other device; and                                                   password Selecting means to thereby authenticate the
    connection break detecting means for detecting radio          45
                                                                            other device,
       communication conditions and, upon detecting a con                each of the devices acting as Slave Stations recognizing
       nection break as a result of the device having moved to             information unique to a master Station, Selecting one of
       the outside of a communication Service area, notifying              the first and Second passwords in a State where it can
       the password Selecting means of the connection break,               communicate with the master Station, and Selecting the
    the password Selecting means usually choosing the Second      50       other password in a State where it cannot communicate
       password as an authentication password, using the first              with the master Station.
       password at the time of occurrence of a request by a               13. An authentication processing method of a radio com
       user at the other device as the authentication password,        munication which authenticates a device, the method com
        and reusing the Second password after the connection           prising:
       Set up by the authentication procedure using the first     55      Selecting a Security level from a plurality of Security
       password has been broken.                                            levels in accordance with a condition of the radio
    9. The radio communication device according to claim 8,                 communication;
  wherein the connection break detecting means includes                  receiving a request for an authentication from the device;
  means for Setting parameters containing timer values and               receiving authentication information from the device;
  receiving Sensitivity for recognizing the connection break.     60     checking whether the received information from the
     10. A radio communication device having a password                    device is valid or not depending on the Selected Security
  unique to it and adapted for authenticating another device by             level; and
  use of the password, comprising:                                       Sending a response of the check result which authenticates
    password holding means for holding at least a first pass               or rejects the device thereto.
       word intended for temporary use and a Second pass          65     14. An authentication processing method according to
       word intended for regular use;                                  claim 13, wherein Said authentication information includes
    external factor acquisition means,                                 a PIN (Personal Identification Number) code.
Case 2:20-cv-03537-JAK-JEM Document 1 Filed 04/16/20 Page 76 of 144 Page ID #:76


                                                     US 6,928,166 B2
                                11                                                              12
     15. An authentication processing method according to            checking whether the received password from the device
  claim 14, further comprising the Step of Storing a link-key           and the Selected first password correspond or not;
  comprising Said PIN code and a unique ID of Said device.           Sending a response of the check result which authenticates
     16. An authentication processing method according to              or rejects the device thereto;
  claim 13, further comprising the Step of acquiring an exter        performing   a low-Security-level communication with the
  nal factor which is associated with Said Security level.
     17. A radio communication method communicating with                authenticated  device based on the connection; and
  a device, the method comprising:                                   changing over, when the communication is terminated,
     Storing a first password intended for temporary use and a         Said Security level to a higher one than that of Said first
       Second password intended for regular use;               1O      password and Selecting Said Second password.
     acquiring an external factor which is associated with a         18. A radio communication method according to claim 17,
       variable security level;                                   wherein said second password includes a PIN (Personal
     Selecting the first password depending on a variable Identification         Number) code.
                                                                     19. A radio communication method according to claim 18,
       Security level;                                         15 further comprising the Step of Storing a link-key comprising
     receiving a request for a connection from the device;        said PIN code and a unique ID of said device.
     receiving a password for an authentication from the
       device;
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                            EXHIBIT 4
             Case 2:20-cv-03537-JAK-JEM Document 1 Filed 04/16/20 Page 78 of 144 Page ID #:78
Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 6,928,166 by BMW



                        BMW Bluetooth (ConnectedDrive system)




                                                                                                  1
               Case 2:20-cv-03537-JAK-JEM Document 1 Filed 04/16/20 Page 79 of 144 Page ID #:79
Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 6,928,166 by BMW




1. An authentication processing apparatus of a radio communication which authenticates a
    device, the apparatus comprising:


means for acquiring an external factor which is associated with a security level;
means for selecting a security level from a plurality of security levels in accordance with the
    external factor;
means for receiving a request for an authentication and authentication information from the
    device;
means for checking whether the received information from the device is valid or not depending
    on the selected security level; and
means for sending a response of the check result which authenticates or rejects the device
    thereto.




                                                                                                  2
              Case 2:20-cv-03537-JAK-JEM Document 1 Filed 04/16/20 Page 80 of 144 Page ID #:80
 Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 6,928,166 by BMW

    Claim 1

1. An                                                                          Source:
                                                                               https://www.youtube.com/watch?
authentication                                                                 v=6gsNB319ltk
                                                                               “Pair Your iPhone Via Bluetooth |
processing                                                                     BMW Genius How-To”

apparatus of a
radio
communication
which
authenticates a
device, the
apparatus                                                            http://blog.obdii365.com/2016/09/19/bmw-
                                                                     nbt-evohu-pinout-for-enet-cable/
comprising:




                                                                                                                   3
                Case 2:20-cv-03537-JAK-JEM Document 1 Filed 04/16/20 Page 81 of 144 Page ID #:81
Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 6,928,166 by BMW

   Claim 1


                          Source: https://www.aliexpress.com/i/32865208363.html
means for
acquiring an
external
factor which
is associated
with a
security
level;




                                                                                                   4
                Case 2:20-cv-03537-JAK-JEM Document 1 Filed 04/16/20 Page 82 of 144 Page ID #:82
Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 6,928,166 by BMW

   Claim 1
                  Source: https://www.bluetooth.com/blog/bluetooth-pairing-part-1-pairing-feature-exchange/


means for
acquiring an
external
factor which
is associated
with a
security
level;




                                                                                                              5
                 Case 2:20-cv-03537-JAK-JEM Document 1 Filed 04/16/20 Page 83 of 144 Page ID #:83
Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 6,928,166 by BMW


      Claim 1

means for                 Source: https://www.bluetooth.com/blog/bluetooth-pairing-part-1-pairing-feature-exchange/
selecting a
security level from
a plurality of
security levels in
accordance with
the external factor;




                                                                                                                      6
                Case 2:20-cv-03537-JAK-JEM Document 1 Filed 04/16/20 Page 84 of 144 Page ID #:84
 Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 6,928,166 by BMW

      Claim 1

means for                Source: https://luxuryautoworks.com/howto-pair-iphone-bmw-idrive-bluetooth/

receiving a
request for an
authentication
and
authentication
information from
the device;




                                                                                                       7
                Case 2:20-cv-03537-JAK-JEM Document 1 Filed 04/16/20 Page 85 of 144 Page ID #:85
Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 6,928,166 by BMW

      Claim 1
                      Source: https://www.bluetooth.com/blog/bluetooth-pairing-part-1-pairing-feature-exchange/
means for
checking
whether the
received
information from
the device is
valid or not
depending on
the selected
security level;
and




                                                                                                                  8
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Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 6,928,166 by BMW

    Claim 1

means for            Source: https://www.bluetooth.com/blog/bluetooth-pairing-part-1-pairing-feature-exchange/
sending a
response of the
check result
which
authenticates or
rejects the
device thereto.




                                                                                                                 9
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                            EXHIBIT 5
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                                                                                                        US00712721 OB2


  (12) United States Patent                                                         (10) Patent No.:                US 7,127.210 B2
         Aoyagi                                                                     (45) Date of Patent:                      Oct. 24, 2006
  (54) WIRELESS COMMUNICATION APPARATUS                                        (56)                       References Cited
  (75) Inventor: Kazunori Aoyagi, Fussa (JP)                                                      U.S. PATENT DOCUMENTS
                                                                                 2002/0164953 A1* 11/2002 Curtis ......................... 455,41
  (73) Assignee: Kabushiki Kaisha Toshiba, Tokyo (JP)                            2003/0054794 A1* 3/2003 Zhang ........................ 455,403
  (*) Notice:        Subject to any disclaimer, the term of this                              FOREIGN PATENT DOCUMENTS
                     patent is extended or adjusted under 35                   JP              2000-209646          T 2000
                     U.S.C. 154(b) by 576 days.                                JP              2001-189974          T 2001
                                                                               JP              2000-018082          1, 2002
  (21) Appl. No.: 10/096,678
                                                                               * cited by examiner
  (22) Filed:        Mar. 14, 2002
                                                                               Primary Examiner Matthew D. Anderson
  (65)                  Prior Publication Data                                 Assistant Examiner Sanh Phu
         US 2003/O114107 A1          Jun. 19, 2003
                                                                               (74) Attorney, Agent, or Firm—Finnegan, Henderson,
                                                                               Farabow, Garrett & Dunner. L.L.P.
  (30)          Foreign Application Priority Data                              (57)                            ABSTRACT
    Sep. 20, 2001 (JP) ............................. 2001-28.7376
                                                                               This invention relates to a wireless communication appara
  (51) Int. Cl.                                                                tus including a discovery unit which discovers the comple
         H04B 7/00             (2006.01)                                       tion of connection with another wireless communication
                                                                               apparatus, a mode setup unit which sets up a mode which
  (52) U.S. Cl. ..................... 455/412:455/403:455/417:                 defines processing for a signal for performing communica
                                       370/259; 370/260; 370/261               tion with the wireless communication apparatus from a
                                                                               wireless communication apparatus except for another wire
  (58) Field of Classification Search ................ 455/403,                less communication apparatus, and a shift unit which shifts
              455/450, 410, 41.2, 41.3, 416,417; 370/259,                      to the mode set up by the mode setup unit when the
                370/260, 261, 262, 263,264, 265, 266, 267,                     discovery unit discovers the completion of connection.
                                          370/268, 269,270
       See application file for complete search history.                                          21 Claims, 5 Drawing Sheets

                                              (Wireless
                                               Communication
                                                                    Wireless
                                                                    Counication
                                               apparatus A          apparatus Bl
                                        SA1
                                         frant inquiry).
                                        SA2
                                                                                      SB1

                                           Receive incury         Transmit inquiry
                                           response               response

                                              Transmit page    -- Receive page
                                               Receive page
                                               response        - Page response
                                              input authenti
                                           cation code
                                                                   input authenti
                                                                  cation code
                                              Authentication   --> Authentication

                                         Notify successful
                                         connection
                                                                 Notify successful
                                                                 connection
                                         establishment           establishment
                                          Shift to non            Shift to non
                                          connectable mode        connectable mode
                                                                                             Wireless
                                                                    Transmit/                Communication
                                                                    receive data             apparatus C
                                                                                                         SC1
                                                                                       - Transmit inquiry
                                                                                                         SC2
                                              Transmit/             Not respond to          Inquiry time-out
                                              receive data           inquiry




                                                                   Clear mode setup
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                                                  W
                  Wireless
                  COmmunication




                                       Wireless
                                       COmmunication




                      F.G. 1
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                        11
         13                     12                      14


         we setup unit control unit EPre"
         18                     15                      16


                       EP wireless unit
                                processing unit


                                      F. G. 2


               Unique address         Mode selected upon connection
                                      establishment
              Unique address A           Non-connectable mode 1

              Unique address B           Non-discoverable mode

              Unique address C           Non-Connectable mode 2

              Unique address D           Non-discoverable mode

              Unique address E           Non-Connectable mode 1



                                      F. G. 3
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              (Wireless                   Wireless
              Communication               Communication
              apparatus AJ                apparatus Bl
       SA
         Transmit inquiry --> Receive inquiry                   SB1
       SA2
            Receive inquiry            Transmit inquiry
            response                   response                 SB2
       SA3
              Transmit page     -- 3      Receive page          SB3
       S A4
              Receive page       - - - Page response            SB4
              response
       SA5
            input authenti
          cation Code
                                        input authenti
                                        cation Code             SB5
       SA6
           Authentication K--           Authentication          SB6
       SAT
         Notify successful             Notify successful
         Connection                    Connection               SB7
         establishment                 establishment
       SA8
         Shift to non                  Shift to non
         connectable mode              connectable mode         SB8
       SA9                                                             Wireless
                                          Transmit/          SB9       COmmunication
                                                                       apparatus C)
                                          receive data
                                                         SB10                      SC1
                                          Receive inquiry
                                                         SB11
                                                                - Transmit inquiry
                                                                                   SC2
              Transmit/                   Not respond to
                                          inquiry
                                                                      Inquiry time-Out
              receive data




                                                         SB12

                                         Clear mode setup               F G. 4
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  U.S. Patent             Oct. 24, 2006       Sheet 4 of 5              US 7,127.210 B2

           (Wireless
            COMmunication
                                    (Wireless
                                     Communication
           apparatus Al              apparatus B
     SA
        Transmit inquiry --> Receive inquiry -SB
     SA2
          Receive inquiry          Transmit inquiry
          response                 response                  SB2
     SA3
           Transmit page      --                             SB3
     SA4
           Receive page
           respOn Se
     SA5
          input authenti            input authenti
        cation code
     SA6
         Authentication K--         Authentication           SB6
     SA7
       Notify successful           Notify successful
       connection                  connection                SBI
       establishment               establishment
     SA8-1
        Shift to non               Shift to non
        connectable mode           connectable mode          SB8-1
     SA9                                                            Wireless
                                     Transmit/           SB9        Communication
                                     receive data                   apparatus C
                                                     SB10-1                   SC 1-1
                                          Receive pageSB11-1- Transmit page
                                                                              SC2-1
           Transmit/                 Transmit page                 Receive page
           receive data              denial response               denial response
                                                                              SC3-1
                                                               Notify connection
                                                               establishment
                                                               failure

                                                     SB12
                                     Clear mode Setup                F.G. 5
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  U.S. Patent             Oct. 24, 2006            Sheet S of 5               US 7,127.210 B2

             Wireless                      Wireless
             communication                 Communication
             apparatus A                   apparatus B
       SA
         transit inuity).
       SA2
                                          Receive inquiry           SB1

            Receive inquiry L. Transmit inquiry                     SB2
            response                     response
       SA3
             Transmit page --                                       SB3
       SA4
              Receive page       - - -


        A5
             input authenti-              Input authenti-           SB5
            cation code                  cation code

             Authentication K--> Authentication                     SB6

         Notify successful               Notify successful
         connection                      connection                 SBT
         establishment                   establishment

         Shift to non-                   Shift to non-              SB8-2
         connectable mode                connectable mode
                                                                          (Wireless
                                           Transmit/              SB9     CONMunication
                                           receive data                   apparatus Cl
                                                           SB10-2                     SC-2
                                             Receive page                 Transmit page
                                                           SB11-2                     SC2-2
              Transmit/                     Not respond to
              receive data                  pdge
                                                                                      SC3-2
                                                                        Notify connection
                                                                        establishment
                                                                        failure

                                                            SB12

                                           Clear mode setup                 F.G. 6
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                                                      US 7,127,210 B2
                                1.                                                                  2
     WRELESS COMMUNICATION APPARATUS                                       Bluetooth assumes that a wireless communication appa
                                                                        ratus establishes connections with a plurality of wireless
            CROSS-REFERENCE TO RELATED                                  communication apparatuses and communicates with them.
                   APPLICATIONS                                         Even if a wireless communication apparatus establishes
                                                                        connection with another wireless communication apparatus
     This application is based upon and claims the benefit of           and does not want to be connected to still another wireless
  priority from the prior Japanese Patent Application No.               communication apparatus, the wireless communication
  2001-287376, filed Sep. 20, 2001, the entire contents of              apparatus performs response processing to an inquiry or
  which are incorporated herein by reference.                           page sent from still another wireless communication appa
                                                                   10   ratus. This may interfere with communication with the
           BACKGROUND OF THE INVENTION                                  currently connected wireless communication apparatus.
                                                                           When authentication is set to be performed in connection,
    1. Field of the Invention                                           the wireless communication apparatus is prompted to input
     The present invention relates to a wireless communication          an authentication code every time it receives a page from
  apparatus and, more particularly, to a wireless communica        15   another wireless communication apparatus. This forces the
  tion apparatus which, after establishing connection with              user to perform an unwanted operation.
  another wireless communication apparatus, automatically
  changes setups for discovery or connection with respect to                   BRIEF SUMMARY OF THE INVENTION
  still another wireless communication apparatus except for
  the connected wireless communication apparatus.                         An object of the present invention is to provide a com
     2. Description of the Related Art                                  munication apparatus which, after establishing connection
     The Bluetooth technique capable of achieving short                 with a wireless communication apparatus, controls connec
  distance wireless communication between a plurality of                tion establishment with another wireless communication
  wireless communication apparatuses has recently been                  apparatus.
  developed along with the development of the wireless             25
                                                                           To achieve the above object, according to a first aspect of
  communication technology. An example of techniques                    the invention, there is provided a communication apparatus
  adopting the Bluetooth technique is Jpn. Pat. Applin. KOKAI           comprising means for discovering completion of connection
  Publication No. 2001-189974.
     Regarding the process up to establishing connection                with another wireless communication apparatus, mode setup
  between wireless communication apparatuses in Bluetooth          30
                                                                        means for setting up a mode which defines processing for a
  which is one of wireless communication schemes, the prior             signal for performing communication with the wireless
  art reads,                                                            communication apparatus from a wireless communication
                                                                        apparatus except for the another wireless communication
     “To communicate with another device, a given device                apparatus, and means for shifting to the mode set up by the
  makes an inquiry to check whether a device equipped with              mode setup means when the discovery means discovers the
  Bluetooth exists in a range where its radio waves can reach.     35
                                                                        completion of connection.
  The device checks an inquiry from another device by inquiry              According to a second aspect of the invention, there is
  Scan, and responds to the inquiry by an inquiry response
  function. The device can know the 48-bit address of the               provided a communication method in a communication
  partner through an inquiry response which transmits an FHS            apparatus, comprising discovering completion of connection
  (Frequency Hopping Synchronization) packet. Connection           40   with another wireless communication apparatus and inhib
  is set between these devices by the address. The paging               iting connection with a wireless communication apparatus
  device which wants to set connection starts a page process            except for the another wireless communication apparatus.
  by using a specific address. At this time, the paged device              According to the present invention, after a wireless com
  periodically performs page scan. Since the normal page                munication apparatus establishes communication with
  period is longer than the page scan period, the paged device     45   another wireless communication apparatus, it can inhibit
  can set connection with the paging device Upon recognizing            communication with still another wireless communication
  through page scan that it has been paged, the paged device            apparatus except for the currently connected wireless com
  immediately starts a process of setting connection. In a              munication apparatus. This can prevent interference with
  normal state, connection is set.”                                     communication with the connected wireless communication
    As described above, when wireless communication appa           50   apparatus.
  ratuses are to communicate with each other, the first wireless           Additional objects and advantages of the invention will be
  communication apparatus which wants to perform wireless               set forth in the description which follows, and in part will be
  communication sends an inquiry signal to peripheral wire              obvious from the description, or may be learned by practice
  less communication apparatuses. The second wireless com               of the invention. The objects and advantages of the invention
  munication apparatus which has received the inquiry signal       55   may be realized and obtained by means of the instrumen
  sends back a response to the first wireless communication             talities and combinations particularly pointed out hereinaf
  apparatus. The first wireless communication apparatus                 ter.
  receives the response to the inquiry, and discovers the
  wireless communication apparatus which exists near itself.                   BRIEF DESCRIPTION OF THE SEVERAL
  To request connection, the first wireless communication          60                VIEWS OF THE DRAWING
  apparatus sends a page signal to the second wireless com
  munication which has sent back the response. Then, the                  The accompanying drawings, which are incorporated in
  second wireless communication apparatus receives the page             and constitute a part of the specification, illustrate embodi
  signal, and sends back a page response to the first wireless          ments of the invention, and together with the general
  communication apparatus. Connection between the wireless         65   description given above and the detailed description of the
  communication apparatuses is established through this pro             embodiments given below, serve to explain the principles of
  cess, and wireless communication is enabled.                          the invention.
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                                                       US 7,127,210 B2
                               3                                                                       4
    FIG. 1 is a view showing an example of the use environ                  The wireless unit 16 uses the antenna 17 to receive radio
  ment of a wireless communication apparatus according to an              waves generated from another wireless communication
  embodiment of the present invention:                                    apparatus, and sends them to the wireless data processing
    FIG. 2 is a functional block diagram showing a notebook               unit 15.
  type personal computer 1 as a wireless communication                       When the mode setup unit 13 receives control data
  apparatus;                                                              representing the completion of connection with another
     FIG. 3 is a table showing a mode setup table representing            wireless communication apparatus, the mode setup unit 13
  the relationship between a unique address and a mode                    automatically changes setups for an inquiry or paging from
  selected upon connection establishment;                                 still another wireless communication apparatus.
     FIG. 4 is a flow chart for explaining the operation of the      10      The setups of the mode are done for a mode setup table
  notebook type personal computer according to the first                  18 representing the relationship between a unique address
  embodiment of the present invention:                                    and a mode selected upon connection establishment, as
                                                                          shown in FIG. 3.
     FIG. 5 is a flow chart for explaining the operation of a                In FIG. 3, when connection with a device corresponding
  wireless communication apparatus according to the second           15   to unique address A is established, this means that the mode
  embodiment of the present invention; and                                changes to non-connectable mode 1. When connection with
     FIG. 6 is a flow chart for explaining the operation of a             a device corresponding to unique address B is established,
  wireless communication apparatus according to the third                 this means that the mode changes to a non-discoverable
  embodiment of the present invention.                                    mode.
                                                                            The non-connectable mode and non-discoverable mode
               DETAILED DESCRIPTION OF THE                                are defined by the Bluetooth standard. The “non-connectable
                        INVENTION                                         mode” in which the wireless communication apparatus does
                                                                          not respond to a page signal from another wireless commu
                        First Embodiment                                  nication apparatus means that the wireless communication
                                                                     25   apparatus does not change to a page scan state. The non
     A wireless communication apparatus according to an                   discoverable mode in which the wireless communication
  embodiment of the present invention will be described                   apparatus does not respond to an inquiry signal from another
  below with reference to the several views of the accompa                wireless communication apparatus means that the wireless
  nying drawing.                                                          communication apparatus does not change to an inquiry
     FIG. 1 is a view showing an example of the use environ          30   signal response state.
  ment of the wireless communication apparatus according to                  The Bluetooth standard defines two types of non-connect
  the embodiment of the present invention. In FIG. 1, a                   able modes because the wireless communication apparatus
  notebook type personal computer 1, PDA (Personal Digital                either does not respond to a page or sends back a page denial
  Assistant) 2, and VTR camera 3 have Bluetooth modules,                  upon reception of a page signal (to be described later).
  and are in a wireless communicable environment.                    35      When received data demodulated by the wireless data
     FIG. 2 is a functional block diagram showing the note                processing unit 15 concerns an inquiry or paging from
  book type personal computer 1 as a wireless communication               another wireless communication apparatus, the control unit
  apparatus. Although FIG. 2 shows the notebook type per                  12 sends a response to the inquiry or paging from the
  sonal computer 1, the PDA 2 and VTR camera 3 as other                   wireless communication apparatus to the wireless data pro
  wireless communication apparatuses also have the same              40   cessing unit 14 on the basis of a mode set up by the mode
  functions.                                                              setup unit 13.
     As shown in FIG. 2, the notebook type personal computer                 The operation of the notebook type personal computer
  1 comprises a user interface 11, control unit 12, mode setup            according to the first embodiment of the present invention
  unit 13, data processing unit 14, wireless data processing              will be explained with reference to the flow chart of FIG. 4.
  unit 15, wireless unit 16, and antenna 17.                         45   In FIG. 4, the notebook type personal computer 1 is
    The user interface 11 receives an inquiry or paging from              described as a wireless communication apparatus A; the
  the user, and sends the command to the control unit 12.                 PDA 2, as a wireless communication apparatus B; and the
    The control unit 12 sends the command from the user
                                                                          VTR camera 3, as a wireless communication apparatus C.
                                                                             The user of the wireless communication apparatus A
  interface 11 as control data to the wireless data processing       50   which is to start wireless communication instructs the con
  unit 15. The control unit 12 checks whether the received data           trol unit 12 through the user interface 11 to check wireless
  which is demodulated and output from the wireless data                  communication apparatuses present around the wireless
  processing unit 15 is control data or general data, and                 communication apparatus A. The control unit 12 generates
  executes processing corresponding to the received data. If              inquiry data upon reception of the request through the user
  the received data is general data, the control unit 12 sends it    55   interface 11. The inquiry data is sent to the wireless data
  to the data processing unit 14 which performs data process              processing unit 15 where it is modulated. The modulated
  ing.                                                                    inquiry data is sent to the wireless unit 16 and transmitted
    If the received data is control data, the control unit 12             from the antenna 17 (SA1).
  sends back corresponding control data to the wireless data                 The wireless communication apparatus B receives the
  processing unit 15, and sends the control information to the       60   inquiry transmitted from the wireless communication appa
  user interface 11 and mode setup unit 13.                               ratus A, and outputs the received inquiry from the wireless
    The wireless data processing unit 15 modulates the con                unit 16 to the wireless data processing unit 15. The wireless
  trol data and sends it to the wireless unit 16. The control data        data processing unit 15 demodulates the received inquiry
  is transmitted to another wireless communication apparatus              and sends it to the control unit 12 (SB1).
  by generating radio waves from the antenna 17. The wireless        65      The control unit 12 of the wireless communication appa
  data processing unit 15 demodulates received data and sends             ratus B determines that the inquiry has been received. Then,
  it to the control unit 12.                                              the control unit 12 generates inquiry response data including
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                                                       US 7,127,210 B2
                                5                                                                      6
  the unique address of the wireless communication apparatus             apparatuses notify the users of the wireless communication
  B and sends it to the wireless data processing unit 15. The            apparatuses of connection establishment (SA7 and SB7).
  wireless data processing unit 15 modulates the inquiry                    If the control unit 12 determines in step SAT in the
  response data and sends the modulated inquiry response data            wireless communication apparatus A or in step SB7 in the
  to the wireless unit 16. The inquiry response data is trans            wireless communication apparatus B that connection has
  mitted from the antenna 17 (SB2).                                      been established, the control unit 12 notifies the mode setup
     The wireless communication apparatus A receives by the              unit 13 of connection establishment. In the wireless com
  antenna 17 the inquiry response transmitted from the wire              munication apparatus A, the mode setup unit 13 sends to the
  less communication apparatus B. The received inquiry                   control unit 12 an instruction for shifting to the non
  response is sent from the wireless unit 16 to the wireless data   10   discoverable mode, in accordance with a mode setup set in
  processing unit 15. The wireless data processing unit 15               the mode setup table 18 in advance. Similarly in the wireless
  modulates the received inquiry response and sends it to the            communication apparatus B, the mode setup unit 13 sends to
  control unit 12. The control unit 12 determines that the               the control unit 12 an instruction for shifting to the non
  inquiry response has been received (SA2), and sends unique             discoverable mode. Note that the mode setup tables 18 of the
  address information of the wireless communication appara          15   wireless communication apparatuses A and B are so set as to
  tus B included in the received inquiry response to the user            shift the mode to the non-discoverable mode when connec
  interface 11. The user interface 11 displays the unique                tion is established between the wireless communication
  address information of the wireless communication appara               apparatuses A and B. After connection is established
  tus B.                                                                 between the wireless communication apparatuses A and B,
     The user of the wireless communication apparatus A                  the mode automatically shifts to the non-discoverable mode
  which wants connection with the wireless communication                 (SA8 and SB8). After connection establishment, data is
  apparatus B designates the unique address of the wireless              exchanged between the wireless communication apparatuses
  communication apparatus B as a destination through the user            A and B (SA9 and SB9).
  interface 11, and sends a paging signal to the control unit 12.           If the third wireless communication apparatus C wants
                                                                    25   connection with the wireless communication apparatus B,
  The control unit 12 generates page data to the wireless
  communication apparatus B and sends it to the wireless data            the wireless communication apparatus C transmits an
  processing unit 15. The page data modulated by the wireless            inquiry in step SC1 similarly to step SA1 of the wireless
  data processing unit 15 is sent to the wireless unit 16 and            communication apparatus A.
  transmitted from the antenna 17 (SA3).                            30
                                                                            In step SB10, the wireless communication apparatus B
     The wireless communication apparatus B receives by the              receives the inquiry from the wireless communication appa
  antenna 17 the page transmitted from the wireless commu                ratus C by the same procedure as that in step SB1. The
  nication apparatus A. The received page is demodulated by              wireless communication apparatus B has received the
  the wireless data processing unit 15 and sent to the control           inquiry from the wireless communication apparatus C, but
  unit 12. The control unit 12 determines that the page has         35
                                                                         the control unit 12 does not generate any response data to the
  been received (SB3). The control unit 12 generates page                inquiry because the wireless communication apparatus B has
  response data and sends it to the wireless data processing             shifted to the non-discoverable mode. In step SB11, the
  unit 15. The page response data modulated by the wireless              wireless communication apparatus B does not transmit any
  data processing unit 15 is sent to the wireless unit 16 and            inquiry response.
  transmitted from the antenna 17 (SB4).                            40      Since the wireless communication apparatus C cannot
     The wireless communication apparatus A receives by the              receive any inquiry response from the wireless communi
  antenna 17 the page response transmitted from the wireless             cation apparatus B, it cannot discover the wireless commu
  communication apparatus B. The received page response is               nication apparatus B. In step SC2, an inquiry time-out
  demodulated by the wireless data processing unit 15 and                occurs. The wireless communication apparatus C cannot
  sent to the control unit 12. The control unit 12 determines       45
                                                                         acquire the unique address of the wireless communication
  that the page response has been received (SA4). If authen              apparatus B, and cannot request connection. The wireless
  tication is necessary, the control unit 12 causes the user             communication apparatus C does not interfere with data
  interface 11 to display an authentication code input request.          transmission/reception between the wireless communication
  The user of the wireless communication apparatus A inputs              apparatuses A and B in steps SA9 and SB9.
  the authentication code (SA5). The wireless communication         50      After data transmission/reception between the wireless
  apparatus A exchanges the authentication data with the                 communication apparatuses A and B in steps SA9 and SB9
  wireless communication apparatus B and performs authen                 ends, the mode setup, i.e., non-discoverable mode is cleared
  tication (SA6).                                                        in the wireless communication apparatus B (SB12). The
     After the wireless communication apparatus B transmits              wireless communication apparatus B shifts to a normal
  the page response, it causes the user interface 11 to display     55
                                                                         mode.
  an authentication code input request if authentication with              The wireless communication apparatus according to the
  the wireless communication apparatus A is necessary. The               first embodiment shifts to the non-discoverable mode after
  user of the wireless communication apparatus B inputs the              connection establishment. This can prevent interference
  authentication code (SB5). The wireless communication                  with communication with a connected wireless communi
  apparatus B exchanges the authentication data with the            60   cation apparatus.
  wireless communication apparatus A and performs authen
  tication (SB6).                                                                            Second Embodiment
     If authentication in steps SA6 and SB6 succeeds, the
  wireless communication apparatuses A and B determine that                The operation of a wireless communication apparatus
  connection is established, and send connection establish          65   according to the second embodiment of the present inven
   ment information to their user interfaces 11. The user                tion will be described with reference to the flow chart of
  interfaces 11 of the respective wireless communication                 FIG.S.
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                               7                                                                     8
     The process up to establishing connection between wire             nication apparatus. This can prevent interference with com
  less communication apparatuses A and B, i.e., the process             munication with a connected wireless communication appa
  from step SA1 to step SAT and from step SB1 to step SB7               ratuS.
  is the same as that shown in FIG. 4.
     If a control unit 12 determines in step SAT in the wireless                             Third Embodiment
  communication apparatus A or in step SB7 in the wireless
  communication apparatus B that connection has been estab                The operation of a wireless communication apparatus
  lished, the control unit 12 notifies a mode setup unit 13 of          according to the third embodiment of the present invention
  connection establishment. In the wireless communication          10   will be described with reference to the flow chart of FIG. 6.
  apparatus A, the mode setup unit 13 sends, to the control unit           The process up to establishing connection between wire
  12 in accordance with a preset mode setup, an instruction for         less communication apparatuses A and B, i.e., the process
  shifting to the non-connectable mode in which the wireless            from step SA1 to step SAT and from step SB1 to step SB8
  communication apparatus. A sends a denial response to the             is the same as that shown in FIG. 4.
  received page. Also in the wireless communication appara         15
                                                                           If a control unit 12 determines in step SAT in the wireless
  tus B, the mode setup unit 13 sends to the control unit 12 an         communication apparatus A or in step SB7 in the wireless
  instruction for shifting to the non-connectable mode in               communication apparatus B that connection has been estab
  which the wireless communication apparatus B sends a                  lished, the control unit 12 notifies a mode setup unit 13 of
  denial response to the received page. Note that mode setup            connection establishment.
  tables 18 of the wireless communication apparatuses A and               In the wireless communication apparatus A, the mode
  Bare so set as to shift the mode to the non-connectable mode
  when connection is established between the wireless com               setup unit 13 sends, to the control unit 12 in accordance with
  munication apparatuses A and B. After connection is estab             a preset mode setup, an instruction for shifting to the
                                                                        non-connectable mode in which the wireless communication
  lished between the wireless communication apparatuses A               apparatus A does not respond to a received page. Also in the
  and B, the mode automatically shifts to the non-connectable      25
                                                                        wireless communication apparatus B, the mode setup unit 13
  mode in which the wireless communication apparatus sends              sends to the control unit 12 an instruction for shifting to the
  a denial response to a received page (SA8-1 and SB8-1).               non-connectable mode in which the wireless communication
     Assume that a third wireless communication apparatus C             apparatus B does not respond to a received page. Note that
  wants connection with the wireless communication appara               mode setup tables 18 of the wireless communication appa
                                                                   30
  tus B. Further, assume that the wireless communication                ratuses A and B are so set as to shift the mode to the
  apparatus C acquires the unique address of the wireless               non-connectable mode when connection is established
  communication apparatus B in advance by sending an                    between the wireless communication apparatuses A and B.
  inquiry and receiving an inquiry response before the wire             After connection is established between the wireless com
  less communication apparatus B shifts to the non-discover             munication apparatuses A and B, the mode automatically
  able mode.                                                       35
                                                                        shifts to the non-connectable mode in which the wireless
     In step SC1-1, the wireless communication apparatus C              communication apparatus does not respond to a received
  designates the unique address of the wireless communica               page (SA8-2 and SB8-2).
  tion apparatus B and transmits a page. In step SB10-1, the              Assume that a third wireless communication apparatus C
  wireless communication apparatus B receives the page from        40   wants connection with the wireless communication appara
  the wireless communication apparatus C. However, the                  tus B. Further, assume that the wireless communication
  wireless communication apparatus B has already shifted to             apparatus C acquires the unique address of the wireless
  the non-connectable mode. Thus, the control unit 12 gener             communication apparatus B in advance by sending an
  ates a page denial response data (SB10-1) and transmits the           inquiry and receiving an inquiry response before the wire
  page denial response (SB11-1).                                   45   less communication apparatus B shifts to the non-discover
     The wireless communication apparatus C receives the                able mode.
  page denial response from the wireless communication                     In step SC1-2, the wireless communication apparatus C
  apparatus B (SC2-1). Since connection establishment fails,            designates the unique address of the wireless communica
  the control unit 12 notifies a user interface 11 of the               tion apparatus B and transmits a page. In step SB10-2, the
  connection establishment failure, and causes the user inter      50   wireless communication apparatus B receives the page from
  face 11 to display the connection establishment failure               the wireless communication apparatus C. However, the
  (SC3-1). The wireless communication apparatus C cannot                wireless communication apparatus B has already shifted to
  establish connection with the wireless communication appa             the non-connectable mode. Thus, the control unit 12 does
  ratus B. The wireless communication apparatus C does not              not generate any response data to the page, and does not
  interfere with data transmission/reception between the wire      55   transmit any response to the page (SB11-1).
  less communication apparatuses A and B in steps SA9 and                  The wireless communication apparatus C does not receive
  SB9.
                                                                        any page response from the wireless communication appa
     After data transmission/reception between the wireless             ratus B. A time-out occurs (SC2-2), and the wireless com
  communication apparatuses A and B in steps SA9 and SB9                munication apparatus C fails to establish connection. Since
  ends, the mode setup, i.e., non-discoverable mode is cleared     60   the wireless communication apparatus C fails to establish
  in the wireless communication apparatus B (SB12). The                 connection with the wireless communication apparatus B,
  wireless communication apparatus B shifts to a normal                 the control unit 12 notifies a user interface 11 of the
  mode.                                                                 connection establishment failure, and causes the user inter
    The wireless communication apparatus according to the               face 11 to display the connection establishment failure
  second embodiment shifts to the non-connectable mode after       65   (SC3-2). The wireless communication apparatus C cannot
  connection establishment, and transmits a page denial signal          establish connection with the wireless communication appa
  in response to a page signal from another wireless commu              ratus B. The wireless communication apparatus C does not
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                                                      US 7,127,210 B2
                                                                                                       10
  interfere with data transmission/reception between the wire             What is claimed is:
  less communication apparatuses A and B in steps SA9 and                 1. A wireless communication apparatus comprising:
  SB9.                                                                    a unit configured to set up a first mode where the wireless
     The wireless communication apparatus according to the                   communication apparatus is connectable with at least a
  third embodiment shifts to the non-connectable mode after                  first wireless communication device and a second wire
  connection establishment, and does not respond to a page                   less communication device and accepts a connection
  signal from another wireless communication apparatus. This                 request from the first wireless communication device;
  can prevent interference with communication with a con                  a unit configured to establish a connection with the first
  nected wireless communication apparatus.                                   wireless communication device;
     The above embodiments have separately described shift         10
                                                                          a unit configured to discover a completion of the connec
  to the non-connectable mode and shift to the non-discover
  able mode. However, the wireless communication apparatus                   tion with the first wireless communication device;
  may simultaneously shift to the non-connectable mode and                a unit configured to set up a second mode where, in a state
   non-discoverable mode after connection is established.                    where the connection with the first wireless communi
     In the above embodiments, the third wireless communi          15        cation device is established, the wireless communica
  cation apparatus C sends a paging signal to the wireless                   tion apparatus is inhibited from establishing a connec
                                                                             tion with the second wireless communication device
  communication apparatus B which receives a page from the                   with respect to a connection request from the second
  wireless communication apparatus A and responds to the
  page to establish the first connection with the wireless                   wireless communication device; and
  communication apparatus A. The present invention is also                a unit configured to shift from the first mode to the second
  effective when the wireless communication apparatus C                      mode when said discovering unit discovers the comple
  sends a paging signal to the wireless communication appa                   tion of the connection.
  ratus A because the wireless communication apparatus A                  2. An apparatus according to claim 1, wherein the second
  also automatically shifts to the non-discoverable mode or             mode includes a non-discoverable mode in which the wire
  non-connectable mode after the first connection is estab         25   less communication apparatus does not respond to an
  lished.                                                               inquiry signal.
     As described above, the wireless communication appara                 3. An apparatus according to claim 1, wherein the second
  tus of the embodiments establishes connection with another            mode includes a non-connectable mode in which no con
  wireless communication apparatus, and then automatically              nection is performed for paging.
  changes setups for an inquiry or paging with respect to still    30     4. An apparatus according to claim 2, wherein the second
  another wireless communication apparatus. The wireless                mode includes a non-discoverable mode based on a Blue
  communication apparatus does not send back any response               tooth standard.
  or sends back an inquiry denial response, thereby denying               5. An apparatus according to claim 3, wherein the second
  connection establishment with still another wireless com              mode includes a non-connectable mode based on a Blue
  munication apparatus except for the currently connected          35   tooth standard.
  wireless communication apparatus. This can prevent inter                6. An apparatus according to claim 4, wherein the non
  ference with communication between currently connected                discoverable mode does not respond to an inquiry.
  wireless communication apparatuses.
     The present invention is not limited to the above-de                 7. An apparatus according to claim 5, wherein the non
  scribed embodiments, and can be variously modified with          40   connectable mode sends a connection denial response to a
  out departing from the spirit and scope of the invention in           paging signal.
  practical use. The respective embodiments can be combined               8. An apparatus according to claim 5, wherein the non
  as properly as possible. In this case, the effects of the             connectable mode does not respond to a paging signal.
  combination can be obtained. The embodiments include                    9. An apparatus according to claim 1, wherein the second
  inventions on various stages, and various inventions can be      45   mode includes a non-discoverable mode and non-connect
  extracted by an appropriate combination of building com               able mode based on a Bluetooth standard.
  ponents disclosed. For example, when an invention is                    10. An apparatus according to claim 1, wherein the second
  extracted by omitting several building components from all            mode inhibits connection with another wireless communi
  the building components described in the embodiments, the             cation apparatus.
  omission is properly compensated for by a well-known             50
                                                                           11. An apparatus according to claim 1, wherein the second
  technique in practicing the extracted invention.                      mode is canceled after end of communication with the first
     AS has been described in detail, the present invention can         wireless communication device.
  provide a wireless communication apparatus which, after                  12. A communication method in a wireless communica
  establishing connection with another wireless communica               tion apparatus, comprising:
  tion apparatus, denies connection establishment with still       55
                                                                           setting up a first mode where the wireless communication
  another wireless communication apparatus except for the                     apparatus is connectable with at least a first wireless
  currently connected wireless communication apparatus, and                  communication device and a second wireless commu
  does not interfere with communication between the cur
  rently connected wireless communication apparatuses.                       nication device and accepts a connection request from
     Additional advantages and modifications will readily          60        the first wireless communication device;
  occur to those skilled in the art. Therefore, the invention in          establishing a connection with the first wireless commu
  its broader aspects is not limited to the specific details and             nication device;
  representative embodiments shown and described herein.                  discovering a completion of the connection with the
  Accordingly, various modifications may be made without                     wireless communication apparatus;
  departing from the spirit or scope of the general inventive      65     setting up a second mode where, in a state where the
  concept as defined by the appended claims and their equiva                 connection with the first wireless communication
  lents.                                                                     device is established, the wireless communication
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                                                    US 7,127,210 B2
                              11                                                                 12
       apparatus is inhibited from establishing a connection          20. A communication apparatus comprising:
       with the second wireless communication device with             a unit configured to establish a connection with a first
       respect to a connection request from the second wire             wireless communication apparatus in a first mode; and
       less communication device; and                                 a unit configured to control a connection from a second
     shifting from the first mode to the second mode after the          wireless communication apparatus when the connec
        completion of the connection.                                   tion with the first wireless communication apparatus is
     13. A method according to claim 12, wherein the second             established, wherein the control unit sets up a second
   mode includes a non-discoverable mode in which the wire              mode in which, in a state where the connection with the
  less communication apparatus does not respond to an                   first wireless communication device is established, the
  inquiry signal.                                                10     communication apparatus is inhibited from establishing
     14. A method according to claim 12, wherein the second             a connection with the second wireless communication
  mode includes a non-connectable mode in which no con                  apparatus with respect to a connection request from the
  nection is performed for paging.                                      second wireless communication device.
     15. A method according to claim 13, wherein the second      21. A communication method in a communication appa
  mode includes a non-discoverable mode based on a Blue 15 ratus, comprising:
  tooth standard.                                                establishing a connection with a first wireless communi
     16. A method according to claim 14, wherein the second         cation apparatus in a first mode; and
  mode includes a non-connectable mode based on a Blue           controlling a connection from a second wireless commu
  tooth standard.                                                   nication apparatus when the connection with the first
     17. A method according to claim 15, wherein the wireless      wireless communication apparatus is established,
  communication apparatus does not respond to an inquiry           wherein controlling includes setting up a second mode
  signal from another wireless communication apparatus after        in which, in a state where the connection with the first
  shifting to the second mode.                                     wireless communication device is established, the com
     18. A method according to claim 16, wherein the wireless       munication apparatus is inhibited from establishing a
  communication apparatus sends a connection denial 25              connection with the second wireless communication
  response to a paging signal after shifting to the second mode.    apparatus with respect to a connection request from the
     19. A method according to claim 16, wherein the wireless       second wireless communication device.
  communication apparatus does not respond to a paging
  signal after shifting to the second mode.
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                             EXHIBIT 6
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Preliminary Claim Chart Showing Infringement of Claim 20 of the U.S. Patent No. 7,127,210 by BMW



                                      BMW Bluetooth Audio
                                     ConnectedDrive System




                                                                                                   1
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   Preliminary Claim Chart Showing Infringement of Claim 20 of the U.S. Patent No. 7,127,210 by BMW




   20. A communication apparatus comprising:
   a unit configured to establish a connection with a first wireless communication apparatus in a first mode;
        and
   a unit configured to control a connection from a second wireless communication apparatus when the
        connection with the first wireless communication apparatus is established, wherein the control unit
        sets up a second mode in which, in a state where the connection with the first wireless
        communication device is established, the communication apparatus is inhibited from establishing a
        connection with the second wireless communication apparatus with respect to a connection request
        from the second wireless communication device.




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Version: Dec. 17, 2019
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Preliminary Claim Chart Showing Infringement of Claim 20 of the U.S. Patent No. 7,127,210 by BMW

      Claim 20
                           Source: https://www.youtube.com/watch?v=6gsNB319ltk
20. A communication        “Pair Your iPhone Via Bluetooth | BMW Genius How-To”
apparatus
comprising:




                                                                                   https://www.ebay.com/i/26446
                                                                                   6352684
                                                                                   “GENUINE BMW F30 KIT
                                                                                   NBT EVO NAVIGATION”




                                                                                                                  3
              Case 2:20-cv-03537-JAK-JEM Document 1 Filed 04/16/20 Page 104 of 144 Page ID #:104
 Preliminary Claim Chart Showing Infringement of Claim 20 of the U.S. Patent No. 7,127,210 by BMW

       Claim 20



a unit configured to                                                       Source:
                                                                           https://www.aliexpress.com/i/328652083
establish a                                                                63.html

connection with a first
wireless
communication
apparatus in a first
mode; and

                                                                         Source:
                                                                         https://www.youtube.com/watch?v=6gsNB319ltk
                                                                         “Pair Your iPhone Via Bluetooth | BMW Genius
                                                                         How-To”




                                                                                                                    4
              Case 2:20-cv-03537-JAK-JEM Document 1 Filed 04/16/20 Page 105 of 144 Page ID #:105
 Preliminary Claim Chart Showing Infringement of Claim 20 of the U.S. Patent No. 7,127,210 by BMW

       Claim 20
                           Source: http://www.bavarianmw.com/guide-4548.html


a unit configured to
establish a
connection with a first
wireless
communication
apparatus in a first
mode; and




                                                                                                    5
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 Preliminary Claim Chart Showing Infringement of Claim 20 of the U.S. Patent No. 7,127,210 by BMW

     Claim 20

a unit configured        Source: https://www.aliexpress.com/i/32865208363.html
to control a
connection from
a second
wireless
communication
apparatus when
the connection
with the first
wireless
communication
apparatus is
established




                                                                                                      6
                 Case 2:20-cv-03537-JAK-JEM Document 1 Filed 04/16/20 Page 107 of 144 Page ID #:107
 Preliminary Claim Chart Showing Infringement of Claim 20 of the U.S. Patent No. 7,127,210 by BMW

     Claim 20

a unit configured        Source: https://www.youtube.com/watch?v=6gsNB319ltk
to control a                 “Pair Your iPhone Via Bluetooth | BMW Genius How-To”

connection from
a second
wireless
communication
apparatus when
the connection
with the first
wireless
communication
apparatus is
established




                                                                                                      7
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 Preliminary Claim Chart Showing Infringement of Claim 20 of the U.S. Patent No. 7,127,210 by BMW

     Claim 20
                      Source: https://www.youtube.com/watch?v=6gsNB319ltk
wherein the               “Pair Your iPhone Via Bluetooth | BMW Genius How-To”
control unit sets
up a second
mode in which, in
a state where the
connection with
the first wireless
communication
device is
established




                              Note: “Second Mode” for device “Pixel” is clearly shown by grayed-out music icon.



                                                                                                                  8
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 Preliminary Claim Chart Showing Infringement of Claim 20 of the U.S. Patent No. 7,127,210 by BMW

     Claim 20

the communication        Source: https://www.bimmerfest.com/forums/showthread.php?t=152040
apparatus is
inhibited from
establishing a
connection with the
second wireless
communication
apparatus with
respect to a
connection request
from the second
wireless
communication
device.


                                                                                                    9
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                             EXHIBIT 7
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                                                                                                                                      US007 184707B2


    (12) United States Patent                                                                                     (10) Patent No.:                  US 7,184,707 B2
           Tada et al.                                                                                            (45) Date of Patent:                       Feb. 27, 2007

    (54) COMMUNICATION DEVICE AND A                                                                                 6,633,757 B1 * 10/2003 Hermann et al. ........ 455,414.1
            METHOD FOR CONTROLLING THE                                                                              6,721,787 B1    4/2004 Hiscock ...................... 709/217
            COMMUNICATION DEVICE                                                                                    6,807,413 B1 * 10/2004 Honda .............. ... 455,414.1
                                                                                                                    6,965.948 B1 * 1 1/2005 Eneborg et al.............. 709/250
    75                                                                                                              7,010,323 B2 *     3/2006 Suwa ............... ... 455,552.1
    (75) Inventors: Shire;8.Luo                                                                                     7,024, 183 B2 * 4/2006 Hymel ....................... 455,417
                    Saitama-ken (JP)                                                                                                  (Continued)
    (73) Assignee: Kabushiki Kaisha Toshiba, Tokyo (JP)                                                                   FOREIGN PATENT DOCUMENTS
    (*) Notice:                  Subject to any disclaimer, the term of this                                 JP               1O-322773            12/1998
                                 patent is extended or adjusted under 35
                                 U.S.C. 154(b) by 663 days.                                                                              (Continued)
    (21) Appl. No.: 10/084,502                                                                                                 OTHER PUBLICATIONS
                                                                                                             Copy of International Search Report dated Sep. 25, 2001.
    (22) Filed:                  Feb. 28, 2002
                                                                                                             Primary Examiner—Fan Tsang
    (65)                               Prior Publication Data                                                Assistant Examiner—Lisa Hashem
                                                                                                             (74) Attorney, Agent, or Firm—Finnegan, Henderson,
            US 20O2/O147OO3 A1                                Oct. 10, 2002                                  Farabow, Garrett & Dunner, L.L.P.
                        Related U.S. Application Data                                                        (57)                       ABSTRACT
    (63) Continuation of application No. PCT/JP01/05570,
         filed on Jun. 28, 2001.                                                                             A communication device and a method for controlling a
                                                                                                             communication device that can load or unload service
    (30)                     Foreign Application Priority Data                                               information at appropriate timings by flexibly designating
      Jul. 6, 2000                  (JP)                                                  2000-204623        discriminating conditions of connection or disconnection of
           • Yus 1- w w              xavu- f        ··· ····· ············ ··· ·· ··· ·                      a link. A service manager reads out necessary service

    (51) Int. Cl.                                                                                            information, such as service program or driver Software,
         H04B 7/00                                   (2006.01)                                               from the information memory area based on discriminating
         H04O 7/20                                   (2006.01)                                               conditions designated in communication controlling infor
         H04.3/16                                    (2006.01)                                               mation of the communication status. The service manager
    (52) U.S. Cl                                        45S/413:455/455:455/510                              loads service information to a temporary information
               Oa -   -- -    ---- ----- ------ --- ---                  says   455,513.370,466              memory area in a host device. The service manager also

    (58) Field of Classification Search                                                      4 55/412        unloads unnecessary service information from the tempo
                                                                     455/41.3, 450; 358/1.5                  rary information memory area in the host device. A connec
         See application file for complete search history.                                                   tion manager then performs communication protocol for
                                                                                                             communicating between the service information loaded in
    (56)               References Cited                                                                      the temporary information memory area of the host and the
                             U.S. PATENT DOCUMENTS
                                                                                                             service information memory of the device side.
           5,287,545 A                   2, 1994 Kallin ........................ 455,510                                      5 Claims, 11 Drawing Sheets

                                                             CONDITION
                                                                  Ec : TERMINALCV
                                                                                                 NCURYSSUE                       NUMBER-OF-MES
                                                          CONNECTIONEECTING                      NUMBER OF TIMES
                                                          CONotionSSU                 tes        INTERWAL                         s
                                                                                                 DETECTION NUMBER
                                                                                                                                  s
                                                                                                 MANTENANCETME

                                                                                  INQUIRY DETECTION MODE ... O FIXED OVARIABLE
                                                                                               CONNECTION RECUESTISSUE           NUMBER-OF-TIMES
                                                          DISCONNECTION DETECTING | NUMBER-Of-TIMES                       o
                                                      CONDITIONS SETUP ITEMS                   INTERWAL                           s

                                                                                               DEECTION NUMBER                    s
                                                                                               MANTENANCETME

                                                               CONNECTION REQUEST DETECTION MODE. (O) FIXED OVARIABLE
                                                                                                            REGISTER        CANCEL
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                                                                                                         Page 2

                    U.S. PATENT DOCUMENTS                                                                               FOREIGN PATENT DOCUMENTS
                         ck                                                                                   JP           11-164359        6, 1999
    2002.0034.192   A1        3, 2002   Kim   - - - - - - - - - - - - - - - - - - - - - - - - - - - 370/466   JP            11225.364   A    8, 1999

    2002/0051184 A1*          5/2002 Fritz et al. ................. 358,115                                   JP           11-355279        12/1999
    2002/0094778 A1*          7/2002 Cannon et al. ............... 455,41                                     JP         2000115,189 A       4/2000
    2002/011 1138 A1          8/2002 Park ............................ 455,41                                 WO        WO 97/40457         10, 1997
    2003/0078002 A1* 4/2003 Sanjeev et al. ............... 455,41                                             * cited by examiner
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                                     FIG. 1


                                u-21                                  PC             1
                           \/
        1           PC
                                          Y                   \/




                                     FIG. 2

                                         42
                       34                     u-Z-1
                           \/
                   N/-Zul V                                        MOBILE-PHONE
                                                                   BASE STATION




                                                                    PUBLIC LINK
                                                                     NETWORK
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                                                                  1



                                                            HDD         18

                                                            LED         19

                15                                          USB         20

                                    17                      LCD         21

                                                       KEYBOARD-N-22
                                    MPU
                                                           PCMCIA       23

                               SERIAL /F         16




               MEMORY          SERAL IF                     9
         11   UNIT
                             BASEBAND UNIT            RF UNIT         NTENNA
                             CLOCK CONTROL
         13     AD/DA        UNIT                                        8

              MICRO-          24          16       Sirion
                                                   UNT
         14   PHONEf
              SPEAKER
              UNIT                                         12
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    U.S. Patent                                                  9   184,707 B2
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                                                                                 FIG. 5

                                                                                                                                                      40
                                           ----------------...---------------------.....................-----------------....................-----------........................ Twn
                                                           48                  47                       45                           46

                                               MEMORY                                                                 KEY OPERATION



                                                                                                                                                                   42

                                                                           MOBILE TELEPHONE                                                           MOBILE PHONE i
                                                                           BASEBAND UNIT                              MOBILE PHONE ANTENNA                         :
                                                                                                                      RF UNIT                         UNIT

                                                                                   SERIAL INF




      raaaaaaa-on-ossesssssssssssessesswooooooowon-novo savvvosors


          MICRO                                                                                                        36           35                       34
          EoNE,                            ADIDA
      :
          SPEAKER                                                             SASEAND UNIT                                  D
                                                                                                                                                  RADIO
                                                   50                                                                     RADIO                   ANTENNA
                                                                             CLOCK CONTROL                                RF UNIT
                                                                             UNIT                                                                 UNIT
                             SOURCE
            52
      im.                                             r                   CRYSTAL                   MEMORY
                                              49                          |OSCILLATION UNIT
                                                                      :                                          38
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                                   FIG. 6




                     SERVICE PROGRAM
                MOBILE
                               RADIO
                TELEPHONE
                PROTOCOL       PROTOCOL
                                                          :     -     HCl
                                                                      HCI
                              STACK                       :     :

                            CLOCK                         :     :
              BASEBAND UNIT CONTROL                                 BASEBAND
                             INFORMATION
                                       C                                F

                                           58
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                                        FIG.7

                            SERVICE PROGRAM --77
                            DRIVER SOFTWARE N-78
                            CONNECTION
                            INFORMATIONCONTROL-79
                            CLOCK INFORMATION-84



               SERVICE MANAGER


                              SETUP PROGRAM FOR
                              CONNECTION CONTROL
                              NFORMATON
                                                           TEMPORARY
                                                           MEMORY
                                BLUETOOTH DRIVER           AREA
                                       BUS DRVER
                                       HC DRIVER
                                       USB DRIVER




                           BLUETOOTH LINK CONTROLLERh-81




                                       BLUETOOTH           82
                                           RF
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                                 FIG.8

        BOUNDARY 1

        BOUNDARY 2
                                                            A
        BOUNDARY 3




                      u-21
                                                           (A B 2
                  V



                          N 2
                                                       f             C
                             D                     /        O
                                               M

                                       -1
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                                   FG.9


              DEVICE DSCOVERY
                                          S1 OO


                  HAS COMPLETED          YES
              REGISTRATION OF DEVICE
                    ADDRESS 2


                      HAS
                REQUESTED SETUP
                  CONDITIONS 2
                    YES
              SETUP AND REGISTER OF            ENTRY A NEW DEVICE ADDRESS
              DETECTING CONDITION              AS ONE OF SETUP CONDITIONS



            DEVICE DISCOVERY PROCESS
            SASED ON CONNECTION                S105
            DETECTING CONDITIONS
                                       S106
       NO          DETECTION
               NUMBER OF TIMES OF
                    NOURYCN
                    YES
              INFORMATION PICKUP
              ANDTRANSMT                      S1 O7


                       END
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                                 FG.10
                                    START



                          MONITOR CONNECTION
                                                               S11 O

                                                             S111
                                 HASA LINK
                              pSCONNECTED
                                         YES
                        SPECIFY DEVICE ADDRESS -- S112


                       MONOR CONNECTION STATE
                       BASED ON DISCONNECTIONN-S113
                       SEARCHING CONDITIONS
                                                        S114
                  NO
                                DETECTED
                            NUMBER OF TIMES OF
                           CONNECTION RECUES
                                        <M

                                         YES
                        CONFIRM DSCONNECTION
                        OF A LINK                               S115
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                                         FIG. 12




          CONDITION
          SETUP OBJECT . TERMINAL C v

                                    NOURY ISSUE                  NUMBER-OF-TIMES
       CONNECTION DETECTING         NUMBER OF TIMES
       CONDITIONS SETUP ITEMS       INTERVAL                      S
                                    DETECTION NUMBER
                                    MAINTENANCE TIME              S

                      INQUIRY DETECTION MODE ... O FIXED OVARIABLE
                                 CONNECTION RECQUEST ISSUE       NUMBER-OF-TIMES
      DISCONNECTION DETECTING    NUMBER-OF-TIMES
      CONDITIONS SETUP ITEMS     INTERVAL                        ins

                                 DETECTION NUMBER
                                 MAINTENANCE TIME                ms

          CONNECTION REQUEST DETECTION MODE ... O) FIXED O VARIABLE

                                              REGISTER       CANCEL
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                                                      US 7,184,707 B2
                                  1.                                                                 2
            COMMUNICATION DEVICE AND A                                  a user may prevent the host PC from communicating service
            METHOD FOR CONTROLLING THE                                  information to the peripheral device.
               COMMUNICATION DEVICE                                        Japanese patent application publication No. 11-355279,
                                                                        discloses technology that controls data communication in a
               CROSS REFERENCE TO RELATED                               radio communication system based on a corresponding link
                      APPLICATIONS                                      status of the radio communication system. The link status is
                                                                        determined by monitoring data communication between two
      This application is a continuation of international appli         devices of the radio communication system. Based on the
    cation number PCT/JP01/05570, filed Jun. 28, 2001, and              number of frames corresponding to decoded managing data,
    claims priority to Japanese Patent Application No. 2000        10   the disclosed technology determines whether the communi
    204623, filed Jul. 6, 2000, the contents of which are incor         cation environment is an all data transmittable area, an
   porated herein by reference.                                         asynchronous transmittable area, or a transmission unable
      This application claims the benefit of priority of Interna        area. Identifying the type of communication environment
   tional Application No. PCT/JP01/05370, filed on Jun. 28,             enables the host PC to determine whether the radio com
    2001.                                                          15   munication system has a link possible status, a link impos
                                                                        sible status, or a link possible status for only asynchronous
            TECHNICAL FIELD OF THE INVENTION                            data that are performed during a retransmission process.
                                                                          A host device in a conventional radio communication
      The present invention relates to a communication device           system experiences reduced performance in its communica
    and a method for controlling the communication device, and          tion processes because of the repeated loading and unload
    more particularly to a radio communication device and a             ing of service information, which corresponds to a radio link
    method for control thereof.                                         state of the radio communication system. The technology
                                                                        disclosed in Japanese patent application publication No.
               DESCRIPTION OF RELATED ART                               11-355279 may increase the reliability of data communica
                                                                   25   tion. However, this technology cannot resolve the problem
      In the case where peripheral devices or extension cards           of reduced communication performance attributed to the
   are connected to a personal computer (PC), the PC is loaded          unintentional loading or unloading of service information.
   with suitable driver software for the respective devices so             To overcome the above and other disadvantages of the
   that it may recognize hardware information for the addi              prior art, methods and systems consistent with the present
                                                                   30   invention control a communication device to load or unload
   tional devices. Moreover, the PC may further allocate vari           service information at appropriate timings by flexibly des
   ous resources such as an I/O port, by using plug and play
   technology. In plug and play technology, the driver software         ignating discriminating conditions on a link connection or a
                                                                        link disconnection in order to secure a stable radio commu
   corresponding to the additional devices and other related            nication system.
   service programs are loaded or unloaded. The PC determines      35
   whether to load or unload the device software and source
                                                                                   SUMMARY OF THE INVENTION
   programs by detecting the device connection to the PC
   through a direct bus connection or a cable wired connection.           An embodiment consistent with the present invention
      Recently, radio communication techniques have been put            relates to a radio communication device on a network for
   to practical use in coupling information devices. Radio         40   communicating with a target communication terminal on the
   communication techniques such as “Bluetooth' or Home RF              network. The radio communication device comprises a
   are being used in coupling, for example, a PC and a Personal         memory for storing service information so that perform
   Digital Assistance (PDA); or a PC and a mobile telephone.            predetermined functions can be performed over the network
      Bluetooth is a radio communication interface standard             with the target communication terminal; a judging module
   that uses an Industrial Scientific Medical (ISM) band of 2.4    45   for judging whether predetermined connection conditions
   GHZ, as a carrier frequency and provides a band Zone of 1            with the target communication terminal are satisfied by
   Mbps within a 10 m service area.                                     repeating a target communication terminal discovery pro
      Similar to Bluetooth, Home RF is also a radio commu               cess before establishing radio communications with another
    nication standard for a home application. Home RF uses the          target communication terminal; and a communication con
    same ISM band of 2.4 GHz as a carrier frequency and            50   trol module for executing the predetermined functions with
    communicates through a maximum data transmission speed              the target communication terminal by reading service infor
    of 1.6 Mbps in a service area covering a distance from 50 m         mation associated with the target communication terminal
   to 100 m.                                                            from the service information memory when the predeter
      In the prior art radio communication systems discussed            mined connection conditions are satisfied.
    above, a connection or disconnection between a master          55     Another embodiment consistent with the present inven
    device and a slave device may frequently occur when the             tion also relates to a radio communication device on a
    radio state becomes unstable due to the Surrounding envi            network for communicating with a target communication
    ronment. During each connection or disconnection, a host            terminal on the network. The radio communication device
    PC may experience an increase in loads because of the               comprises a service information memory for storing service
    repetitious loading and unloading, for example, of service     60   information that corresponds to the target communication
    information Such as driver software or service programs.            terminal so that predetermined functions can be performed
    The increased load on the host PC results in a number of            with the target communication terminal over the network; a
   problems that hinder performance. Unintended communica               judging module for judging whether predetermined discon
   tions generated by a user of the host PC due to the unex             nection discriminating conditions are satisfied by repeating
   pected loading of service information, for example, causes      65   a connection process with the target communication termi
   excessive loads on the communication operations of the host          nal before disconnecting radio communication with the
   PC. Further, unintended unloading of service information by          target communication terminal; and a communication con
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                                                      US 7,184,707 B2
                                3                                                                      4
   trol module for invalidating the predetermined functions                Yet a further embodiment consistent with the present
   associated with the service information that corresponds to          invention relates to a communication device comprising a
   the target communication terminal and storing the service            radio communication module for exchanging data with a
   information in the service information memory mechanism              target communication terminal through radio; a service
   when the predetermined disconnection discriminating con              memory for storing service information so that predeter
    ditions are satisfied.                                              mined functions can be performed with the target commu
      A further embodiment consistent with the present inven            nication terminal; a temporary memory for temporarily
   tion relates to a radio communication device in a network for        storing service information used in an established target
   communicating with a target communication terminal in the            communication terminal for communication; a designating
   network. The radio communication device comprises a             10   module for designating communication controlling informa
   service information memory for storing service information           tion in order to define conditions for discriminating between
   so that predetermined functions can be performed with the            a newly established radio communication connection with
   target communication terminal; and a communication con               the target communication terminal or a disconnection of an
   trol module for communicating with the target communica              existing radio communication connection with the target
   tion terminal by using the service information read out from    15   communication terminal; a communication controlling
   the service information memory based on communication                information memory for storing the communication control
   controlling information that defines discriminating condi            ling information designated by the designating module; a
   tions for establishing a new connection with the target              memory for storing the communication controlling informa
   communication terminal or disconnecting an existing con              tion designated by the designating module; a discriminating
   nection with the target communication terminal.                      module for determining whether a status of the radio com
      An additional embodiment consistent with the present              munication connection with a target communication termi
   invention relates to a communication device comprising a             nal is a connection status or a disconnection status based on
   radio communication module for exchanging data with a                the communication controlling information in the commu
   target communication terminal over a network; a service              nication controlling information memory, and transferring
   information memory for storing service information so that      25   the service information from the service memory to the
   predetermined functions can be performed with the target             temporary memory when the status of the radio communi
    communication terminal; a communication control informa             cation connection with the target communication terminal is
   tion designating module for designating communication                the connection status, and transferring the service informa
   conditions for a newly established radio communication               tion from the temporary memory to the service memory
   connection with the target communication terminal or for        30   when the status of the radio communication connection with
   discriminating a disconnection of an existing radio commu            the target communication terminal is the disconnection
   nication connection with the target communication terminal;          status; and a radio communication control module for per
   a memory for storing the designated communication con                forming the predetermined functions with the target com
   trolling information by the communication control informa            munication terminal when the service information is stored
   tion designating module; and a communication control mod        35   in the temporary memory.
   ule for determining whether the radio communication                     Yet an additional embodiment consistent with the present
   connection with the target communication terminal is in a            invention relates to a method for controlling a communica
    connection status or a disconnection status based on the            tion device that exchanges data with a target communication
    communication controlling information stored in the                 terminal over a radio network. The communication device
    memory, and performing communication through the radio         40   has a memory for storing various types of data. The method
    communication module by using service information read              when establishing a new radio communication connection
    from the service information memory in accordance with the          between the communication device and a target communi
    determination result.                                               cation terminal, comprises judging whether predetermined
      Yet another embodiment consistent with the present                connection discriminating conditions are satisfied by repeat
    invention relates to a radio communication device in a         45   ing a target communication terminal discovery process
    network that exchanges service information with a target            before performing the predetermined functions; and per
    communication terminal in the network for performing                forming the predetermined functions through the radio com
    predetermined functions. The radio communication device             munication connection by extracting required service infor
    comprises a service memory for storing the service infor            mation from memory to perform the predetermined
    mation; a temporary memory for temporarily storing the         50   functions between the communication device and the target
    service information used to establish communications with           communication terminal, the required service information is
   the target communication terminal; a first module for trans          stored in the memory by executing the predetermined func
   ferring the service information from the service memory to           tions with the target communication when the predetermined
   the temporary memory when a radio communicating con                  connection conditions are satisfied.
   nection for the target communication terminal has been          55      Still another embodiment consistent with the present
   established, and for transferring the service information            invention relates to a method for controlling a communica
   from the temporary memory to the service memory when the             tion device that exchanges data with a target communication
   radio communication connection with target communication             terminal over a network. The communication device has a
   terminal has been disconnected based on communication                memory for storing various types of data. The method when
   controlling information used for discriminating between a       60   disconnecting radio communication connection established
   newly established radio communication connection with the            between the communication device and a target communi
   target communication terminal and a disconnection of an              cation terminal, comprises judging whether disconnection
   existing radio communication connection with the target              conditions are satisfied by repeating a target communication
    communication terminal; and a radio communication con               terminal connection process; and invalidating the predeter
   trol mechanism for performing the predetermined functions       65   mined functions corresponding to executed service informa
   with the target communication terminal when the service              tion that is stored in memory so that the predetermined
   information is stored in temporary memory.                           functions between the communication device and the target
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                                5                                                                        6
   communication terminal can be performed when the discon                  FIG. 8 is a block diagram illustrating a connection/
   nection discriminating conditions are satisfied.                       disconnection state of a radio link consistent with the present
      Still a further embodiment consistent with the present              invention.
   invention relates to a method for controlling a communica                 FIG. 9 is a flowchart showing a connection judging
   tion device that exchanges data with target communication              process of radio link consistent with the present invention.
   terminal over a network, the communication device having                  FIG. 10 is a flowchart showing a disconnection judging
   a memory mechanism for storing various types of data. The              process of a radio link consistent with the present invention.
   method comprises judging whether a radio communication                    FIG. 11 illustrates an example of a connection/disconnec
   connection between the communication device and a target               tion setup state of a radio link consistent with the present
    communication terminal is in a connection status or in a         10   invention.
    disconnection status, based on communication controlling                 FIG. 12 illustrates an example of user interface screen for
    information that defines conditions for discriminating                designating connection/disconnection conditions for a radio
   between a new radio communication connection established               link consistent with the present invention.
   between the communication device and a new target com             15                DETAILED DESCRIPTION OF THE
    munication terminal, or a disconnection of radio communi                                  EMBODIMENTS
    cation connection established between the communication
   device and the target communication terminal, and perform                Reference will now be made in detail to exemplary
   ing radio communications with the target communication                 embodiments of the invention, which are illustrated in the
   terminal by using service information that executes the                accompanying drawings. Wherever possible, the same ref
   predetermined functions between the communication device               erence numbers will be used throughout the drawings to
   and the target communication terminal, the service informa             refer to the same or like parts.
   tion being stored in memory based on a discrimination                     FIG. 1 illustrates a basic structure of a radio-communi
    result.
                                                                          cation network 100 in accordance with an embodiment of
      Still an additional embodiment consistent with the present     25   the present invention invention. Generally, the radio com
   invention relates to a method for controlling a communica              munication system comprises information process equip
   tion device that exchanges data with a target communication            ment and a mobile apparatus. The information processing
   terminal over a network, the communication device having               equipment may be represented, for example, by a battery
   a memory for storing various types of data. The method                 driven notebook type personal computer (PC 1). The mobile
   comprises storing, in memory, designated communication            30   apparatus may be represented by a mobile telephone 2. PC
   control information that defines discriminating conditions             1 and mobile telephone 2 may communicate information by
   for discriminating between establishing a new radio com                establishing a local radio link. When a radio link is estab
    munication connection between the communication device
    and a target communication terminal, or a disconnecting a             lished between PC 1 and mobile telephone 2, a user may
    radio communication connection established between the
                                                                          perform predetermined service programs on radio commu
                                                                     35   nication network 100. Such as mailing data or exchanging
   communication device and the target communication termi                personal information.
   nal; judging whether the radio communication connection                   PC 1 may establish a radio link between a plurality of
   between the communication device and the target commu                  devices on radio communication network 100 at the same
    nication terminal is in a connection state or a disconnection         time. For example, PC 1 may exploit a multi-point access
    state based on the designated communication control infor        40   technique by connecting to mobile telephone 2 and at least
    mation; and performing radio communication with the target            one other PC device of network 100. In the multi-point
    communication terminal by using service information that              access technique, even if PC 1 is in a radio link state in
    executes the predetermined functions between the commu                which a connection has already been established, PC 1 may
    nication device and the target communication terminal, the            enter one of a number of operational modes. Particularly, PC
    service information being stored in memory based on a            45   1 may enter a station discovery mode to search for a new
    discrimination result.
                                                                          target terminal, a waiting mode for the station discovery, or
          BRIEF DESCRIPTION OF THE DRAWINGS
                                                                          a waiting mode to demand an established connection to a
                                                                          discovered target terminal on the network. Thus, the multi
                                                                          access technique enables a new target terminal to dynami
      FIG. 1 is a block diagram illustrating a general structure     50   cally connect to network 100.
   of a radio-communications system consistent with the                      The station discovery mode enables PC 1 to search for a
   present invention.                                                     target terminal that is located in a communication range of
      FIG. 2 is a block diagram illustrating a general structure          PC 1, and collect information required for connection to the
   of a complete radio-communications system consistent with              target terminal over network 100. In the station discovery
   the present invention.                                            55   mode PC 1 broadcasts a message that indicates a station
      FIG. 3 is a block diagram illustrating a hardware structure         discovery. The waiting mode for a station discovery enables
   of a personal computer used as information processing                  PC 1 to detect a station discovery message transmitted from
   equipment consistent with the present invention.                       a target terminal for a station search. PC 1 transmits a
      FIG. 4 is a block diagram illustrating a software structure         message in response to the station discovery message of the
   of a personal computer consistent with the present invention.     60   target node. The waiting mode for demanding establishment
                                                                          of a connection enables PC 1 to detect a demand for
      FIG. 5 is a block diagram illustrating a hardware structure         connection establishment message transmitted from a target
   of a mobile telephone consistent with the present invention.           terminal. PC 1 performs a process in response to the demand
      FIG. 6 is a block diagram illustrating a software structure         for connection establishment message of the target terminal.
   of a mobile telephone consistent with the present invention.      65      PC 1 executes one of the operational modes mentioned
      FIG. 7 is a block diagram illustrating a structure of a host        above to establish a new radio line to a target terminal on
   and a host controller consistent with the present invention.           network 100. The station discovery mode, waiting for the
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    station discovery mode, and waiting for a demand of con              GHZ radio wave on network 200. Engine unit 15 provides an
    nection establishment mode allow PC 1 to transfer messages           interface to users and other peripheral devices of network
    over a control channel of network 100. However, when                 2OO.
   transmitting or receiving data, PC 1 uses a radio resource              Antenna unit 8 provides an interface to radio communi
   between the control channel and a communication channel.              cation network 200 and exchanges information with mobile
   If PC 1 executes a control process while also communicating           telephone 2 over a 2.45 GHZ radio wave. For illustrative
   with a target device, PC 1 temporarily suspends the com               purposes, antenna unit 8 is assumed to receive a signal over
   munication with the target device. PC 1 dynamically con               radio communication network 200.
   trols execution timings and intervals of control procedures             When antenna unit 8 receives a 2.45 GHZ radio wave, RF
   based on conditions designated by a user. Particularly, PC 1     10   unit 9 is connected to receive the radio wave on its input
   executes station discovery mode, waiting for the station              from antenna unit 8. RF unit 9 is also connected to receive
   discovery mode, and waiting for a demand of connection                an input from crystal oscillation unit 12. RF unit 9 mixes the
   establishment mode for establishing a new radio link on               2.45 GHZ radio wave input from antenna unit 8 and a base
    network 100. PC 1 further executes the station connection            frequency signal input from crystal oscillation unit 12 and
    demand mode to disconnect a radio link with a target device     15   produces an intermediate frequency signal. RF unit 9
    on the network.                                                      decodes the intermediate frequency signal and generates a
      FIG. 2 shows a general structure of a complete radio               digital signal. RF unit 9 outputs the digital signal to an input
    communication network 200 in accordance with an embodi               of baseband unit 10. Alternatively, when antenna unit 8
    ment consistent with the present invention. Radio commu              transmits a 2.45 GHZ radio wave, RF unit 9 is connected to
    nications network 200 includes PC 1, mobile telephone 2, a           receive an input from baseband unit 10 and an input from
    mobile phone base station 3, a public link network 4, and a          crystal oscillation unit 12. RF unit 9 modulates the signal
    Server 5.                                                            received from baseband unit 10 with the base band signal
       PC 1 includes an antenna unit 8 for communicating                 received from crystal oscillation unit 12 to generate a 2.45
    information with mobile telephone 2 over network 200. PC             GHz radio wave. RF unit 9 provides the 2.45 GHZ radio
    1 further includes an LCD (not shown) for displaying data       25   wave on its output to antenna 8.
    and a keyboard for inputting data (not shown).                         When antenna unit 8 receives a 2.45 GHZ radio wave,
      Mobile telephone 2 includes a mobile phone antenna unit            baseband unit 10 is connected to receive an input from RF
    42 for exchanging information with the mobile-phone base             unit 9. Baseband unit 10 includes a clock control unit 24 and
    Station 3 over an 800 MHZ radio wave of network 200.                 a serial interface 16. Using clock control unit 24, baseband
   Mobile telephone 2 further includes a radio antenna unit 34      30   unit 10 changes the data sequences of the digital signals
   for exchanging information with PC 1 over a 2.45 GHZ radio            received on its input. Baseband unit 10 provides the modi
   wave. Mobile telephone 2 also includes a LCD (Liquid                  fied digital signals to MPU 17 on serial interface 16.
   Crystal Display) for displaying data and a key operation unit         Alternatively, when antenna unit 8 transmits a 2.45 GHz
   for inputting data.                                                   radio wave, baseband unit 10 is connected to receive an
      Mobile phone base station 3 represents a predetermined        35   input signal from MPU 17 over serial interface 16. Using
    radio area and facilitates communications from a mobile              clock control unit 24, baseband unit 10 converts the input
   telephone 2 located within the predetermined radio area.              signal to a form that can be processed by RF unit 9.
   Public link network 4 connects mobile phone base station 3            Baseband unit 10 provides the converted signal on its output
   to Server 5.                                                          to RF unit 9.
      Mobile telephone 2 performs transmission and reception        40      Memory unit 11 is connected to receive an input signal
   of sound or data between mobile phone base station 3.                 from baseband unit 10. Memory unit 11 stores the received
   Mobile phone base station 3 constitutes a predetermined               input signal. Alternatively, memory unit 11 may also provide
   radio area, and realizes communication with a portable                the stored information on its output to baseband unit 10.
   telephone 2 within the radio area over the 800 MHZ radio                 Microphone/speaker unit 14 receives or outputs audio
   wave. Mobile phone base station 3 connects to server 5           45   information. When receiving audio information, micro
   through a public link network 4.                                      phone/speaker unit 14 is connected to provide the received
      PC 1 and the mobile telephone 2 are coupled by a radio             audio signal on its output to AD/DA conversion unit 13.
   wave of a specific frequency band different from the radio            When outputting audio information, microphone/speaker
   wave used for communication in the mobile-phone system.               unit 14 is connected to receive an audio signal on its input
   Practically, the Bluetooth system of 2.45 GHz band is used       50   from AD/DA conversion unit 13. Microphone/speaker unit
   for coupling between the PC 1 and the mobile telephone 2.             14 then outputs the received audio signal.
   The Bluetooth system is a short-distance radio-communica                 MPU17 includes among other things a central processing
   tions standard for realizing radio communications around 10           unit (CPU), a memory, and a peripheral control circuit.
   m by using an electric wave of 2.45 GHz band.                         When antenna 8 receives a 2.45 GHZ radio wave, MPU 17
      FIG. 3 is a block diagram illustrating a hardware structure   55   is connected to receive an input from baseband unit 10
    of PC 1 in accordance with an embodiment consistent with             through serial interface 16 and provide an output to at least
   the present invention. PC 1 includes a radio module 7 having          one of HDD 18, LED 19, USB 20, LCD 21, or PCMCIA 23.
   an antenna unit 8, a Radio Frequency (RF) unit 9, a base              Alternatively, when antenna 8 transmits a 2.45 GHZ radio
   band unit 10, a memory unit 11, a crystal oscillation unit 12,        wave, MPU17 is connected to receive an input from one of
   an AD/DA conversion unit 13, and a microphone/speaker            60   HDD 18, USB 20, LCD 21, keyboard 22, or PCMCIA 23.
   unit 14. PC 1 also includes an engine unit 15 having a                MPU17 then provides a signal to baseband unit 10 through
   Mathematical processing unit (MPU) 17, a hard disc drive              serial interface 16. It should be apparent that MPU 17 may
   (HDD) 18, a light emitting diode (LED) 19, a universal                provide an output to at least one of HDD 18, LED 19, USB
   serial bus (USB) 20, a liquid crystal display (LCD) 21, a             20, LCD 21, or PCMCIA 23 regardless of a communication
   keyboard 22, and a personal computer memory card inter           65   state of antenna 8.
   national association (PCMCIA) interface 23. Radio module                 When antenna 8 receives a 2.45 GHZ radio wave over
   7 communicates data with mobile telephone 2 over the 2.45             network 200, HDD 18 is connected to receive a signal from
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   MPU 17. HDD 18 then stores the received signal. Alterna                  Radio protocol stack 30 is configured to control commu
   tively, when antenna 8 transmits a 2.45 GHZ radio wave over           nication over the 2.45 GHz frequency band by storing
   network 200, HDD 18 may provide a signal on its output to             information received through HCI 31. Radio protocol stack
    MPU 17.                                                              30 controls the flow of information between the service
      LED 19 is connected to receive an input from MPU 17.               program 29 and driver software 28 mounted on engine unit
   LED 19 emits a visible colored light based on the input               15 and LMP 25 mounted on radio module 7. Clock control
   received from MPU 17. Particularly, LED 19 is used to                 information 32 is a Sub-component of radio protocol stack
   indicate warnings regarding the operation of PC 1.                    30 and is configured to control the timing of all processes
      USB 20 is connected to receive an input from MPU 17.               input or output from the radio protocol stack 30.
   USB 20 connects peripheral devices (not shown) supporting        10      HCI 31 is configured to receive an input from radio
   the USB standard to PC 1. When directed by MPU17, USB                 protocol stack 30. Alternatively, HCI 31 is also configured to
   20 provides signals on its output to the connected peripheral         provide an input received from the Software components of
   device. Alternatively, USB 20 is connected to receive an              radio module 7 to radio protocol stack 30. HCI 31 provides
   input from a connected peripheral device. USB 20 may                  a serial interface between the software components of radio
   provide signals on its input as an output to MPU 17.             15   module 7.
      LCD 21 is connected to receive an input signal from MPU               FIG. 5 is a block diagram illustrating a hardware structure
   17. LCD 21 provides the input signal as an output so that             of mobile telephone 2 in accordance with an embodiment
   information can be displayed to a user.                               consistent with the present invention.
      Keyboard 23 provides an interface between a user and PC              Mobile telephone 2 includes a radio module unit 33
   1. A user may input information onto keyboard 323 by                  having a radio antenna unit 34, an radio RF unit 35, a radio
   depressing at least one of a plurality of keys (not shown).           base band unit 36, which includes a clock control unit 37 and
   Keyboard 23 provides the signal generated by the depressed            a serial interface 41, a memory unit 38, and a crystal
   keys on its output to MPU 17.                                         oscillation unit 39. Mobile telephone 2 further includes a
      PCMCIA 23 is connected to receive an input signal from             mobile phone engine part 40 having an antenna unit 42, an
   MPU 17. PCMCIA 23 provides an interface for mounting a           25   RE unit 43, a baseband unit 44 that includes a serial interface
   PC card. PCMCIA 23 provides the input signal on its output            520, an LCD 45, a key operation unit 46, an LED 47, and a
   to the mounted PC card. Alternatively, PCMCIA 23 is                   memory unit 48. Mobile telephone unit 2 also includes a
   connected to receive an input signal from a mounted PC                common unit 49 having an AD/DA conversion unit 50, a
   card. PCMCIA 23 provides the input signal on its output to            microphone/speaker unit 51, and a power source 52. Radio
    MPU 17.                                                         30   module unit 33 communicates with PC 1 over radio com
      FIG. 4 is a block diagram illustrating a software structure        munication network 200 using a 2.45 GHz band radio wave.
   of PC 1 in accordance with the present invention. Because             Mobile phone engine part 40 is connected to radio module
   hardware components of PC 1 have been previously dis                  unit 33 through a serial interface and serves as an interface
   cussed, only the software components will be described                to a user or other peripheral devices (not shown). Power unit
   below. PC 1 includes radio module 7 having RF unit 9.
                                                                    35   49 provides an audio interface and a power source for
   baseband unit 10, a Link Management Protocol (LMP) unit               mobile telephone 2.
                                                                           Radio antenna unit 34 is connected to radio communica
   25, and a Host Control Interface (HCI) 26. PC 1 also                  tion network 200 through a radio link (not shown). Radio
   includes engine unit 15 having an operating system (OS) 27.           antenna unit 34 transmits and receives a 2.45 GHZ radio
   driver software 28, a service program 29, a radio protocol       40   wave between PC 1 over the radio link. Radio antenna unit
    stack 30, an HCI 31, and clock control information 32.               34 provides the received radio wave on its output to radio RF
      LMP 25 is configured to monitor an output of baseband              unit 35.
   unit 10. LMP 25 controls a radio link between PC 1 and
   other radio communication equipment of network 200, by                  Radio RF unit 35 is connected to receive an input from
                                                                         radio antenna unit 34. Radio RF unit 35 is also connected to
   analyzing information communicated over the 2.45 GHZ             45   receive baseband signal input from crystal oscillation unit
   radio wave. Through the analysis, LMP 25 determines                   39. Radio RF unit 35 modulates the received radio wave
   whether a radio link between PC 1 and, for example, mobile            from radio antenna unit 34 with the baseband signal received
   telephone 2 exists. LMP25 is further configured to provide            from crystal oscillation unit 39, to convert the radio wave
   results of this analysis to HCI 26.                                   into an intermediate frequency signal. Following the con
      HCI 26 is configured to receive an input from LMP 25.         50   version, radio RF unit 35 demodulates the intermediate
   Alternatively, HCI 26 is also configured to provide an input          signal to generate a digital signal. Radio RF unit 35 provides
   received from the software components of engine unit 15 to            the digital signal on its output to radio baseband unit 36.
   LMP 25. HCI 26 provides a serial interface between the                Alternatively, when mobile telephone 2 desires to transmit a
   software components of engine unit 15 and LMP25.                      radio wave over radio communication network 200, radio
      OS 27 is configured to provide an environment in which        55   RF unit 35 receives a digital signal from radio baseband unit
   various Software processes of engine unit 15 can be                   36. It should be understood that radio RF unit performs the
    executed.                                                            reverse operations as described above, and provides a 2.45
       Driver software 28 is configured to control a number of           GHZ radio wave on its output to radio antenna unit 34.
    peripheral hardware elements of engine unit 15. Such as                 Radio baseband unit 36 is connected to receive a digital
    HDD 18, LED 19, USB 20, LCD 21, keyboard 22, and                60   signal output from radio RF unit 35. Radio baseband unit 36
    PCMCIA 23. Driver software 28 is further configured to               is also connected to receive a signal output from memory
    control word-processing software, spreadsheet Software,              unit 38. Furthermore, radio baseband unit 36 is connected to
    electronic mail software, and system software used for               receive an input from power unit 49. Additionally, radio
    recognizing remote-control operations.                               baseband unit 36 is connected to receive an input from
       Service program 29 is configured to monitor or control       65   engine unit 40. Radio baseband unit 36 includes a clock
    specific functions or hardware components associated with            control unit 37 and a serial interface 41. When sending data
    engine unit 15.                                                      through serial interface 41, radio baseband unit 36 converts
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   the digital signal received from radio RF unit 35 into a data        speaker unit 51. AD/DA conversion unit 50 is also connected
   sequence so that a CPU (not shown) of mobile telephone               to receive a digital signal from radio module unit 33 and
   engine unit 40 may process the data. Clock control unit 37           mobile telephone engine unit 40. AD/DA conversion unit 50
   determines the timing for sending and receiving a data               converts the received analog signal to a digital signal and
   sequence over serial interface 41. On the other hand, radio          provides the digital signal on its output to radio module unit
   baseband unit 36 provides the received digital data on its           33 and mobile telephone engine unit 40. Alternatively,
   output to mobile telephone engine unit 40 and power unit 49.         AD/DA conversion unit 50 converts the received digital
   Alternatively, when mobile telephone unit 2 desires to               signal to analog and provides the analog signal on its output
   transmit a radio wave over radio communication network               to microphone/speaker unit 51.
    200, radio baseband unit 36 receives a data sequence from      10      Microphone/speaker unit 51 receives or outputs audio
    at least one of the power unit 49 or the mobile telephone           information. When receiving analog audio information,
    engine unit 40. Radio baseband unit 36 performs the reverse         microphone/speaker unit 51 is connected to provide the
    of the operations described above, and provides a digital           received analog signal on its output to AD/DA conversion
    signal on its output to radio RF unit 35.                           unit 50. When outputting audio information, microphone/
       The components of mobile telephone engine unit 40 will      15   speaker unit 51 is connected to receive an analog audio
    now be discussed. Mobile phone antenna unit 42 commu                signal on its input from AD/DA conversion unit 50. Micro
    nicates with mobile-phone base station 3. Mobile phone              phone/speaker unit 51 then outputs the received audio
    antenna transmits and receives information over an 800              signal.
    MHz radio wave. Mobile phone antenna unit 42 provides the              Power source 52 is mounted to provide a source of power
    received 800 MHZ radio wave on its output to mobile phone           for allowing mobile telephone 2 to perform the functions as
    RF unit 43.                                                         discussed above.
      Mobile phone RF unit 43 is connected to receive the 800             FIG. 6 shows a block diagram illustrating a software
   MHz radio wave output from mobile phone antenna unit 42.             configuration of mobile telephone 2 in accordance with an
   Mobile phone antenna unit 43 demodulates the received                embodiment of the present invention. Mobile telephone 2
   radio wave to generate a digital signal. Mobile phone RF        25   includes radio module 33 having software elements LMP53
   unit 43 provides the digital signal on its output to mobile          and HCI 54, and mobile phone engine part 40 having
   telephone baseband unit 44. Alternatively, when mobile               software elements mobile telephone protocol stack 55, ser
   telephone unit 2 desires to transmit information to mobile           vice program 56, radio protocol stack 57, and clock control
   phone base station 3, mobile phone RF unit 43 receives a             information 59.
   digital signal output from mobile telephone baseband unit       30     LMP 53 is configured to monitor an output of baseband
   44. It should be understood that mobile phone RF unit 43             unit 37. LMP 53 controls a radio link between mobile
   performs, in reverse order, the operations described above.          telephone 2 and mobile phone base station 3 of radio
   Mobile phone RF unit 43 provides an 800 MHz radio wave               communication network 200, by analyzing information
   on its output to mobile phone antenna unit 42.                       communicated over an 800 MHZ radio wave. Through the
      Mobile telephone baseband unit 44 is connected to            35   analysis, LMP 53 determines whether a radio link exists
   receive an input signal from radio module unit 33 and power          between mobile phone 2 and, for example, mobile phone
   unit 49. Mobile telephone baseband unit 44 is also connected         base station 3. LMP 53 is further configured to provide
   to receive an input from key operation unit 46, LED 47, and          results of this analysis to HCI 54.
   memory unit 48. Mobile telephone baseband unit 44 con                   HCI 54 is configured to receive an input from LMP53.
   trols the flow of information within mobile telephone engine    40   Alternatively, HCI 54 is also configured to provide an input
   unit 40. When mobile telephone unit 2 desires to send the            received from the Software components of mobile engine
   information received by mobile telephone baseband unit 44            unit 40 to LMP 53. HCI 54 provides a serial interface
   to mobile phone base station 3, mobile telephone baseband            between the software components of engine unit 40 and
   unit 44 will provide the received signal on its output to            LMP 53.
   mobile phone RF unit 43. Alternatively, when the received       45     Mobile telephone protocol stack 55 is configured to
   information is targeted to a user, mobile telephone baseband         control communication over the 800 MHz frequency band
   unit 44 may provide the data to at least one of LED 47, LCD          by storing information received through HCI 54. Mobile
   45, radio module unit 33 through serial interface 520, and           telephone protocol stack 55 controls the flow of information
   power unit 49.                                                       between the service program 56 mounted on engine unit 40
      LCD 45 is connected to receive an input from mobile          50   and LMP 53 mounted on radio module 33. Clock control
   telephone baseband unit 44. LCD 45 provides the received             information 59 is configured to control the timing of all
   input signal on its output so that information can be dis            processes input or output from the radio protocol stack 59.
   played to a user.                                                       Service program 56 is configured to monitor or control
      Key operation unit 46 provides an interface for a user.           specific functions or hardware components associated with
   Key operation unit 46 converts the users input into a signal    55   engine unit 40.
   to provide on its output to mobile telephone baseband unit              Radio protocol stack 57 is configured to, control commu
    44.                                                                 nication over the 2.45 GHz frequency band by storing
      LED 47 is connected to receive an input from mobile               information received through HCI 54. Radio protocol stack
   telephone baseband unit 44, LCD 45, key operation unit 46.           57 controls the flow of information between the service
   and memory unit 48. LED 319 is used to indicate warnings        60   program 56 mounted on engine unit 40 and LMP 53
   regarding the operation of mobile telephone unit 2.                  mounted on radio module 33. Clock control information 59
      Memory unit 48 is connected to receive an input from              is configured to control the timing of all processes input or
   mobile telephone baseband unit 44. Memory unit 48 stores             output from the radio protocol stack 59.
   the received input until the mobile telephone baseband unit             HCI 58 is configured to receive an input from mobile
   44 requests the information.                                    65   telephone protocol stack 55 and radio protocol stack 57.
      Turning now to power unit 49, AD/DA conversion unit 50            Alternatively, HCI 58 is also configured to provide an input
   is connected to receive an analog signal from microphone/            received from the software components of radio module 33
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   to mobile telephone protocol stack 55 or radio protocol stack service program 77 and driver software 78. Service manager
   55. HCI 58 provides a serial interface between the software 72 loads the service information read from service program
   components of radio module 33 and either of mobile tele 77 and driver software 78 to temporary memory 85 of host
   phone protocol stack 55 and radio protocol stack 57.           device 70. Service manager 72 may unload the service
      The features of an embodiment consistent with the present 5 information from temporary memory area 85 as needed.
   invention that enables loading and unloading of service          Connection manager 73 connects the temporary memory
   information processes are explained in detail below. In the area 85 and the service information stored in a target device
   discussion that follows it is assumed that Bluetooth is used   (not shown) so that service information can be communi
   as a radio-communications standard using a 2.45 GHZ cated. Communication manager 73 monitors the connection
    frequency band.                                              10 state of a radio link based on communication control infor
      In the Bluetooth system, data transmission is achieved by mation 79.
   a Time-Division Duplex (TDD) packet transmission of 625            FIG. 11 shows a chart illustrating the contents connection
   microseconds per slot. Bluetooth uses a frequency hopping control information 79. Connection control information 79
   technique that changes a frequency for each transmitted includes a device address, a friendly name that is arbitrarily
   packet. By using the same frequency hopping sequence, it 15 defined by a user to identify a device, connection judging
   becomes possible for one master to communicate with a conditions, and disconnection judging conditions. Connec
   maximum of seven slaves at the same time. A radio com           tion judging conditions define conditions for determining
   munication network configured in Such a manner is known whether a host device establishes a radio link with a target
   as a Piconet. Bluetooth further provides an asynchronous device. The connection conditions include a number of times
   data channel (ACL: Asynchronous Connection Less) and a 20 (N) the same device issues Inquiry, an issue interval (Ti) of
   synchronous voice channel (SCO: Synchronous Connection Inquiry, and a number-of-times maintenance time (Tn Nx
   Oriented) for data communications. The SCO can use up to Ti) expires before a response is detected, which is based on
   three channels at once, each channel having a 64 Kbps the Inquiry issue number-of-times (N) and the Inquiry issue
   channel throughput.                                             interval (Ti). Specifically, service manager 72 loads service
      In Bluetooth, when a source terminal requests to commu- 25 information when a response is detected before the prede
   nicate with a target terminal, but does not know an address termined number of times device detection is performed
   of the target terminal, the source terminal performs an (i.e., after the number-of-times the maintenance time (Tn)
   Inquiry for collecting information necessary to establish a ms has expired). If the loading time is shorter than the
   connection. The Inquiry is also referred to as a station detected number-of-times the maintenance time (Tn)
   discovery. While performing the Inquiry, the source terminal 30 expires, then the loading process is determined to be unnec
   may collect all device addresses and clock control informa essary and is omitted. Host PC 1 determines that there is a
   tion on all terminals that respond to the Inquiry. Because of low possibility for communication of the service informa
   the responses, the Source terminal may establish a connec tion by establishing a radio link.
   tion by executing a Page process (demand for connection            The disconnection judging conditions are conditions for
   establishment) based on the information collected from the 35 determining whether host PC 1 disconnects a radio link with
   responding terminals. Further, a remote terminal that is a target device. The disconnection judging conditions
   discovered by the source terminal performs an Inquiry Scan include a number-of-times (M) a connection request for
   (waiting for station discovery) to answer the Inquiry mes recovering the connection is issued after host PC 1 detects
   sage. Furthermore a remote terminal that is in a waiting state a disconnection of a radio link, an issue interval (T) of the
   for a demand for connection establishment mode performs a 40 connection request, and a number-of-times the maintenance
   Page Scan (waiting for a demand for connection establish time (Tm=MXT) expires before a response is detected,
   ment), to respond to the Page of the source terminal.           which is based on the number-of-times (M) a connection
      FIG. 7 illustrates a plurality of functional elements of PC request is made and the connection request issue interval
   1 that enable the Bluetooth system to be mounted in accor (T). Thus, even if host PC 1 disconnects a radio link once,
   dance with an embodiment of the present invention. For 45 it is possible for host PC 1 to re-establish a connection with
   illustrative purposes, we assume that PC 1 is a host device. the radio link when a response to a connection request is
   PC 1 includes an information memory domain 76 having a received within a predetermined number of times before the
   service program 77, driver software 78, connection control maintenance time expires. PC 1 may, therefore, restrain the
    information 79 and clock control information 84. PC 1 also      number of times service information is loaded because of an
   includes a host 70 having a service manager 72, a connection 50 unnecessary radio link disconnection.
   manager 73, a Bluetooth driver 74, a setup program 75, an           FIG. 8 explains a connection/disconnection state of a
   OS 83, and temporary memory 85. PC 1 further includes a radio link between PC 1 and a mobile telephone 2 on
   host controller 71 having a Bluetooth link manager 80 and network 200 using Bluetooth technology. In FIG. 8, a
   a Bluetooth link controller 81, and a Bluetooth RF circuit 82.    boundary 2 designates a range limit of radio waves trans
      The host 70 and information memory domain 76 perma- 55 mitted from the PC 1. A boundary 1 designates an area
   nently reside at host PC 1. Host 70 and host controller 71        outside of the range limit of radio waves transmitted by PC
   communicate in accordance with the protocol set forth by 1. A boundary 3 designates an area inside of the range limit
   HCI 26 and 31. Bluetooth link manager 80 and Bluetooth of radio waves transmitted by PC 1.
   link controller 81 control operations of the Bluetooth RF           In a first example, it is assumed that mobile telephone 2
   circuit 82. The Bluetooth device (non shown) is connected 60 is initially located in an area outside of boundary 1.
   to PC 1 through USB 2.0.                                            When the mobile telephone 2 is located in a location
      Connection control information 79 defines detection con        outside of the boundary 2, a radio link between PC 1 and
   ditions for a link connection state.                              mobile telephone 2 is not established because mobile tele
      Clock control information 84 is used to determine when         phone 2 is unable to answer a device detection (Induiry)
   various operations should be executed.                         65 broadcast by PC 1 over radio communication network 200.
      Service manager 72 accesses information memory Assuming, mobile telephone 2 moves along locus A when
   domain 76 to read stored service information, for example, mobile telephone 2 crosses boundary 2, mobile telephone 2
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                              15                                                                       16
   responds to the device detection (Induiry). After receiving            link is disconnected. PC 1 monitors radio network 200 for
   the response from mobile telephone 2, PC 1 begins a                    response from mobile telephone 2 to determine whether N
   connection judging process of the radio link. If the PC 1              responses are detected within a predetermined maintenance
   detects that the responses corresponding to each Inquiry               time (Tm) ms. If, however, mobile telephone 2 moves in a
    occurs N number of times within a detection maintenance               direction towards PC 1 to a location within boundary 2,
   time (Ti) ms, then PC 1 loads service information, and                 mobile telephone 2 responds to the connection request of PC
   further communicates with mobile telephone 2.                          1. Because PC 1 detects a response within the predetermined
      An analysis of the radio link will now be made assuming             maintenance time, PC 1 maintains the radio link.
   that mobile telephone 2 moves along a locus B. As shown in                FIGS. 9 and 10 show a flow diagram illustrating the
   FIG. 8, when traveling along locus B mobile telephone 2           10   connection judging process and disconnection judging pro
   initially moves toward PC 1, but reverses direction so that it         cess, respectively, in a manner consistent with the present
   moves in a direction away from PC 1. As previously stated,             invention.
   mobile telephone 2 cannot establish a radio link when it is               During the connection judging process shown in the flow
   located outside of boundary 2, because PC 1 cannot receive             chart of FIG. 9, service manager 72 of PC 1 sends an HCI
   a response to the device detection (Induiry). However, PC 1       15   command to host controller 71. Service manager 72 further
   receives a response to the device detection (Inquiry) from             performs an Inquiry so that a device may be discovered on
   mobile telephone 2 and establishes a radio link, when mobile           network 200. Service manager 72 acquires a device address,
   telephone 2 moves in a direction towards PC 1 and crosses              clock control information, and service demand information
   boundary 2. As a result, PC 1 begins a judging process to              from a target device on network 200 (S100). PC 1 then
    determine the connection state of the radio link. However, as         determines whether the detected target device address is
   shown in locus B, while PC 1 judges the radio link, mobile             registered into connection control information 79 of infor
   telephone 2 Suddenly changes directions and moves away                 mation memory domain 76 (S101). If, PC 1 determines that
   from PC 1, until it is located outside of boundary 2. Because          the detected target device address is not registered in con
   mobile telephone 2 cannot respond to the device detection of           nection control information 79, then the connection judging
   PC 1, when a predetermined number of responses to the             25   process moves to S102. On the other hand, if PC 1 deter
   device detection have not occurred within a specified time,            mines that the detected device address is registered in
    PC 1 determines that connection conditions do not exist.              connection control information 79, then the connection
    Therefore, PC 1 does not perform a loading process of                 judging process moves to S105.
    service information.                                                    At S102, because the connection control information
      In contrast, under the conventional process, when a            30   corresponding to the detected target device address is not
   mobile telephone 2 moves into a location within boundary 2,            registered, PC 1 asks a user whether connection conditions
   PC 1 begins loading service information. Moreover, when                and disconnection conditions are required to be setup and
   mobile telephone 2 moves to a location outside of boundary             registered. If a user answers “yes.” PC 1 performs an
   2, PC 1 immediately unloads service information. As a                  appropriate setup/registration processes (S103). If a user
   result, PC 1 performs unnecessary loading and unloading of        35   answers “no, then PC 1 does not perform the setup process
   service information. PC 1 also performs excessive commu                (S104) and default connection/disconnection conditions of
   nications with mobile telephone 2. From the above discus               network 200 are associated with the detected target device
   sion it is apparent that the conventional process decreases            and copied into connection control information 79. This
   communication performance.                                             process is performed so that the newly detected target device
      In a second example, it is assumed that mobile telephone       40   address is associated with at least standard connection
   2 is initially located inside of boundary 3.                           conditions.
      Initially, PC 1 establishes a radio link with mobile tele              The process step performed at S103, is explained in
   phone 2 because mobile telephone 2 is in a location within             further detail in FIG. 12. FIG. 12 illustrates an example of
   boundary 2. Assuming, now that mobile telephone 2 moves                a condition set-up screen as displayed on LCD 21 of PC 1.
   along a locus C, in a direction away from PC 1, when mobile       45   Keyboard 22 enables a user to input the necessary data. A
   telephone 2 crosses boundary 2, PC 1 detects a disconnec               user may optionally input a friendly name of the device as
   tion of the radio link. As a result, PC 1 transmits a connec           an entry in the condition setup object. A user may indicate
   tion request to the mobile telephone 2, indicating that the            connection detecting condition set-up items including a
    radio link is disconnected. PC 1 monitors radio communi               number of times (N) an Inquiry should issue, an issue
   cation network 200, to determine whether N responses are          50   interval (Ti), and a detection number for the maintenance
   detected within a maintenance time (Tm) ms. However,                   time (Tn). A user may also indicate disconnection detecting
   because mobile telephone 2 is located outside of boundary              conditions setup items including a number-of-times a con
   2, PC 1 does not receive N response within the maintenance             nection request should issue request (M), an issue interval
   time. Thus PC 1 disconnects the radio link. At the same time           (T), and a detection number for a maintenance time (Tm).
    PC 1 disconnects the radio link, service manager 72 of PC        55      Furthermore, the condition set-up screen enables a user to
    1 unloads the service information. Before disconnection of            indicate an inquiry detection mode, which allows the con
   the radio link, PC 1 and mobile telephone 2 communicated               nection request inquiry detection interval to be fixed or
   the service information over radio network 200.                        variable. In Bluetooth, a user may also dynamically vary an
      An analysis of the state of the radio link between PC 1 and         issue interval of the inquiry or connection request. When a
   mobile telephone 2 will now be made assuming that mobile          60   user sets a variable inquiry detection mode, thereby giving
   telephone 2 travels in a direction shown by locus D. Initially,        priority to the detection number of the maintenance time of
   because mobile telephone 2 is located within boundary 2, PC            detection number-of-times, a host device may connect or
   1 establishes a radio link with mobile telephone 2. When the           disconnect a radio link even when the number of issued
   mobile telephone 2 moves in a direction away from PC 1 to              inquiries fails to meet the predetermined level. Moreover, a
   a location outside of boundary 2, PC 1 detects a disconnec        65   user may give priority to the inquiry detection mode or the
   tion of the radio link. As a result, PC 1 transmits a connec           connection request detection mode by selecting a fixed state.
   tion request to mobile telephone 2, indicating that the radio          When a user completes the condition setup, a “Registration'
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                                 17                                                                      18
   button may be selected so that an address may be assigned                 As explained above, embodiments consistent with the
   to the previously detected target device. Furthermore, select          present invention enable a user to flexibly setup the con
   ing the “Registration' button saves the condition setup                nection or disconnection judgment conditions of the radio
    information in connection control information 79. If a user           link state. As a result, it is possible to increase communi
   selects a "Cancellation' button, then processing is termi              cations processing performance without increasing the pro
   nated without saving the contents of the condition set up              cessing load of the host device or the communication load
   screen. It is further possible to change the setup items of any        due to a target device.
   devices by selecting a triangle mark in the right column of              In the above embodiment, the connection condition and
                                                                          disconnection condition of the radio link state was deter
   the condition setup object field. This enables a user to select   10   mined based on the number of times of Inquiry and the
   a detection device from a list of friendly names registered to         number of times a connection request are issued within a
   each respective device in connection control information 79.           predetermined time. However, it is also possible to deter
      Returning now to FIG. 9, at S105 the connection judging             mine a radio link state based on an intensity of a radio wave.
    conditions based on the detected device address are read              For example, in an embodiment of the present invention, a
    from connection control information 79, and the device           15   user may setup a power level of the radio wave. In other
    discovery process continues based on the read conditions              words, by gradually changing the power level of the radio
    (S105). At step S106, the host device detects whether the             wave, a user may define the detection range of PC 1 by the
    number of times of inquiry is less than N. When the number            boundaries 1, 2, and 3, as shown in FIG.8. Here, the radio
    of times of Inquiry detection is not less than N, the process         wave detection range of the standard power level 2 is limited
    returns to S105. Alternatively, when the number of times of           to boundary 2.
    Inquiry detection is less than N, processing progresses to               When mobile telephone 2 approaches PC 1 in a direction
    S107. At S107, the host loads information from service                defined by locus A, if PC 1 performs device detection at each
   program 77 or driver software 78 in information memory                 stage from a boundary 1 (power level 1) to a boundary 3
   area 76 that corresponds to the service information                    (power level 3), PC 1 loads the service information by
   demanded from the detected device to temporary memory             25   determining whether mobile telephone 2 desires to establish
   area 85. As a result, the host device may communicate with             a radio link connection to PC 1. On the other hand, when PC
   the detected device side. By performing the above process,             1 does not detect a device between boundary 1 (power level
   PC1 prevents the unexpected loading of service information             1) and boundary 2 (power level 2), as shown by the direction
   when a mobile telephone 2 enters a communication area of               traveled along locus B, PC 1 does not load the service
    PC 1. Furthermore, PC 1 avoids an increase in communi            30   information by determining that mobile telephone 2 has only
    cation loads with mobile telephone 2.                                 temporarily came near to PC 1.
      FIG. 10 shows a flow chart illustration of the disconnec               In another example, when mobile telephone 2 travels in a
   tion judging process. Connection manager 73 of PC 1                    direction away from PC 1 as shown by locus C, PC 1
    monitors the connection state of a radio link with a mobile           determines that the mobile telephone 2 has intentionally
   telephone 2, based on a notice from Bluetooth driver 74           35   separated from PC 1. As a result, PC 1 disconnects the radio
   (S.110). Connection manager 73 determines whether the                  link. Moreover, service manager 72 unloads the service
   radio link has disconnected (S111). When the radio link has            information from temporary memory area 85. When mobile
   disconnected, connection manager returns to S110 in order              telephone unit 2 travels in a direction away from PC 1 to a
   to continue monitoring the connection state of the radio link.         location outside of boundary 2 (locus D), PC 1 determines
    If radio link disconnection is detected, however, connection     40   that the mobile telephone 2 temporarily separated from PC
    manager 73 progresses to S112. At S112, service manger 72             1. As a result, PC 1 does not disconnect the radio link.
    identifies a device address for the disconnected link (S112),            Although an embodiment has been disclosed that includes
    and connection manager 73 monitors a radio link connection            the loading/unloading control of service information as it
    state by reading out the disconnection judging conditions in          relates to PC 1, it should be apparent that this process might
    connection control information 79 associated with the            45   also be applied to mobile telephone 2. Moreover, it should
    device address (S113). When the number of detected con                be understood that this process is not limited to devices such
    nection requests is less than M. connection manager 73                as PC 1 and mobile telephone 2. But the loading/unloading
    returns to S113 in order to continue monitoring the connec            control of service information consistent with the present
   tion state of the radio link. When the number becomes M                invention may be applied to various other electrical devices
   times, the process progresses to a step S114. When the            50   having a radio resource that is exclusively used between a
   number of detected connection requests is not less than M.             communication channel and where a connection is con
   connection manager 73 confirms disconnection of the radio              trolled by inserting a communication channel into a control
   link, because no response was received from a target device.           channel for the devices.
   Service manager 72 unloads service information from tem                   As explained above, embodiments consistent with the
   porary memory area 85(S115). By performing this control,          55   present invention can prevent unnecessary loading and
   PC 1 avoids unnecessary loading or unloading of operations             unloading of service information processes because it is
   of the service information, because connection manager 73              possible to flexibly set up the connection judgment condi
   maintains a radio link connection if mobile telephone 2                tions and disconnection judgment conditions of the host
   sends a response within a predetermined time period. As                device as they relate to the radio link. As a result, commu
    shown in FIG. 8, even if, after the radio link is established,   60   nication-processing performance is improved without
    mobile telephone 2 temporarily moves outside of a commu               increasing the processing load of the host device or the
    nication range of the PC 1, connection manager 73 will                communication load of host device with regards to a target
    maintain a radio link connection if mobile telephone 2 sends          device.
    a response within a predetermined time period. Thus, PC 1                Other embodiments of the invention will be apparent to
    also avoids an increase of processor loads and can further       65   those skilled in the art from consideration of the specifica
    avoid an increase of radio-communications load with a                 tion and practice of the invention disclosed herein. It is
    mobile telephone 2.                                                   intended that the specification and examples be considered
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    as exemplary only, with a true scope and spirit of the                   memory when the status of the radio communication
    invention being indicated by the following claims.                       connection with the target communication terminal is
      What is claimed is:                                                   the connection status, and to transfer the service infor
      1. A communication device, comprising:                                 mation from the temporary memory to the service
      a radio communication module configured to exchange                    memory when the status of the radio communication
         data with a target communication terminal over a                    connection with the target communication terminal is
        network;                                                            the disconnection status; and
      a service information memory configured to store service            a radio communication control module configured to
         information so that predetermined functions can be                 perform the predetermined functions with the target
         performed with the target communication terminal;         10        communication terminal when the service information
      a communication control information designating module                 is stored in the temporary memory.
         configured to designate, by a user of the communica              3. The communication device according to claim 1 or
         tion device, communication conditions for a newly              claim 2, wherein:
        established radio communication connection with the               the communication controlling information includes con
         target communication terminal or for discriminating a     15        nection discriminating conditions based on the number
         disconnection of an existing radio communication con                of times a detecting command for detecting the target
         nection with the target communication terminal;                     communication terminal issues during a predetermined
      a memory configured to store the communication condi                   period and disconnection discriminating conditions
         tions designated by the communication control infor                 based on the number of times a confirming command
         mation designating module; and                                      for confirming the connection to the target communi
      a communication control module configured to determine                 cation terminal issues during the predetermined period.
        whether the radio communication connection with the               4. The communication device according to claim 1 or
        target communication terminal is in a connection status         claim 2, wherein:
        or a disconnection status based on the communication              the communication controlling information includes con
        controlling information stored in the memory, and          25       nection and disconnection discriminating conditions
        performing communication through the radio commu                    that define a variation status of the radio communica
        nication module by using service information read from               tion connection for indicating a communication con
        the service information memory in accordance with the                nection or a disconnection to the target communication
        determination result.                                                terminal, the variation status is designated based on a
      2. A communication device, comprising:                       30        power level of radio waves measured within a prede
      a radio communication module configured to exchange                    termined period.
         data with a target communication terminal through                5. A method for controlling a communication device that
        radio;                                                          exchanges data with a target communication terminal over a
      a service memory configured to store service information          network, the communication device having a memory for
         so that predetermined functions can be performed with     35   storing various types of data, the method comprising:
         the target communication terminal;                               designating, by a user of the communication device,
      a temporary memory configured to temporarily store                     communication control information that defines dis
         service information used in an established target com              criminating conditions for discriminating between
        munication terminal for communication;                              establishing a new radio communication connection
      a designating module configured to designate, through a      40       between the communication device and a target com
         registration interface, communication controlling infor            munication terminal and disconnecting a radio com
         mation defining conditions for discriminating between               munication connection established between the com
         a newly established radio communication connection                  munication device and the target communication
        with the target communication terminal or a discon                  terminal;
         nection of an existing radio communication connection     45     storing, in the memory, the designated communication
        with the target communication terminal;                              control information;
      a communication controlling information memory con                  judging whether the radio communication connection
         figured to store the communication controlling infor               between the communication device and the target com
         mation designated by the designating module:                        munication terminal is in a connection state or a
      a memory configured to store the communication con           50        disconnection state based on the designated communi
        trolling information designated by the designating                   cation control information; and
        module;                                                           performing radio communication with the target commu
      a discriminating module configured to determine whether               nication terminal by using service information that
        a status of the radio communication connection with a               executes predetermined functions between the commu
        target communication terminal is a connection status or    55       nication device and the target communication terminal,
        a disconnection status based on the communication                   the service information being stored in memory based
        controlling information in the communication control                 on a discrimination result.
        ling information memory, to transfer the service infor
        mation from the service memory to the temporary
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                             EXHIBIT 8
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Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 7,184,707 by BMW




                                        BMW Bluetooth
                                    (ConnectedDrive System)




                                                                                                  1
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Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 7,184,707 by BMW




1.   A communication device, comprising:
a radio communication module configured to exchange data with a target communication terminal over a
     network;
a service information memory configured to store service information so that predetermined functions
     can be performed with the target communication terminal;
a communication control information designating module configured to designate, by a user of the
     communication device, communication conditions for a newly established radio communication
     connection with the target communication terminal or for discriminating a disconnection of an
     existing radio communication connection with the target communication terminal;
a memory configured to store the communication conditions designated by the communication control
     information designating module; and
a communication control module configured to determine whether the radio communication connection
     with the target communication terminal is in a connection status or a disconnection status based on
     the communication controlling information stored in the memory, and performing communication
     through the radio communication module by using service information read from the service
     information memory in accordance with the determination result.
                                                                                                           2
             Case 2:20-cv-03537-JAK-JEM Document 1 Filed 04/16/20 Page 137 of 144 Page ID #:137
 Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 7,184,707 by BMW

       Claim 1
                           Source: https://www.youtube.com/watch?v=6gsNB319ltk
                           “Pair Your iPhone Via Bluetooth | BMW Genius How-To”
1. A communication
device, comprising:




                                                                                  https://www.ebay.com/i/26446
                                                                                  6352684
                                                                                  “GENUINE BMW F30 KIT
                                                                                  NBT EVO NAVIGATION”




                                                                                                                 3
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 Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 7,184,707 by BMW

     Claim 1


                                                                                    https://www.team-
a radio                                                                             bhp.com/forum/car-
                                                                                    entertainment/207434-installed-
communication                                                                       apple-carplay-bmw-3gt-f34.html

module
configured to                                                                            Note: Connection “9” is
                                                                                         antenna for “radio
                                                                                         communication
exchange data
                                                                                         module”
with a target
communication
terminal over a
                                                                                  Source:
network;                                                                          https://www.youtube.com/watch?
                                                                                  v=6gsNB319ltk
                                                                                       “Pair Your iPhone Via
                                                                                  Bluetooth | BMW Genius How-
                                                                                  To”




                                                                                                                   4
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Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 7,184,707 by BMW

         Claim 1
                         Source: https://www.almmallofga.com/inventory/used-2018-bmw-x5-xdrive35i-awd-sport-utility-
                         5uxkr0c59j0x98679
a service
information
memory
configured to store
service information
so that
predetermined
functions can be
performed with the
target
communication
terminal;



                                                                                                                       5
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Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 7,184,707 by BMW


          Claim 1
                            Source: https://www.youtube.com/watch?v=6gsNB319ltk
a communication                 “Pair Your iPhone Via Bluetooth | BMW Genius How-To”
control information
designating module
configured to
designate, by a user
of the communication
device,
communication
conditions for a newly
established radio
communication
connection with the
target communication
terminal

                                                                                                   6
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 Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 7,184,707 by BMW

     Claim 1
                      Source: http://www.bavarianmw.com/guide-4548.html
or for
discriminating a
disconnection of
an existing radio
communication
connection with
the target
communication
terminal;




                                                                                                    7
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Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 7,184,707 by BMW

      Claim 1

a memory               Source: https://www.youtube.com/watch?v=6gsNB319ltk
configured to              “Pair Your iPhone Via Bluetooth | BMW Genius How-To”

store the
communication
conditions
designated by
the
communication
control
information
designating
module; and




                                                                                                     8
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Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 7,184,707 by BMW

        Claim 1

a communication             Source: https://www.youtube.com/watch?v=6gsNB319ltk
control module                “Pair Your iPhone Via Bluetooth | BMW Genius How-To”

configured to
determine whether the
radio communication
connection with the
target communication
terminal is in a
connection status or a
disconnection status
based on the
communication
controlling information
stored in the memory


                                                                                                  9
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Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 7,184,707 by BMW

      Claim 1

and performing         Source: https://www.youtube.com/watch?v=6gsNB319ltk
communication            “Pair Your iPhone Via Bluetooth | BMW Genius How-To”

through the radio
communication
module by using
service information
read from the
service information
memory in
accordance with
the determination
result.




                                                                                                  10
